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                                Timothy Ferguson
                                 March 27, 2023
                                                                                   1

               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION
    TIMOTHY FERGUSON,                       )
                       Plaintiff,           )     No. 20 CV 04046
                 vs.                        )     Honorable
    COOK COUNTY, ILLINOIS, a                )     Robert M. Dow, Jr.
    municipal corporation,                  )     Magistrate Gabriel
    THOMAS DART, Sheriff of                 )     A. Fuentes
    Cook County, IL, CITY OF                )
    CHICAGO, a municipal                    )
    corporation, RICHARD                    )
    BEDNAREK, an individual                 )
    and as an employee of the               )
    Chicago Police Department               )
    and an employee of D-BATS,              )
    Inc., JOHN D. BARLOGA,                  )
    individually and as an                  )
    employee of the Cook                    )
    County Sheriff, ABELARDO                )
    MERCADO, individually and               )
    as an employee of the Cook              )
    County Sheriff, EDDIE                   )
    ISHOO, individually and as              )



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                                                 Timothy Ferguson
                                                  March 27, 2023
                                                            2                                                           4
    1     an employee of the Cook )                              1   REPRESENTING THE DEFENDANT, CITY OF CHICAGO:
    2     County Sheriff, and D-BATS )                           2        Mr. Maxwell Lisy
    3     Inc., an Illinois    )                                 3        Mr. William Cook
    4     corporation,         )                                 4        Assistant Corporation Counsels
    5              Defendants.                                   5        City of Chicago, Department of Law
    6                                                            6        2 North LaSalle Street, Suite 420
    7               The videotaped deposition of Timothy         7        Chicago, Illinois 60602
    8     Ferguson in the above-entitled cause, taken before     8        312.742.0305
    9     Izetta White-McGee, a Notary Public, Certified         9        maxwell.lisy@cityofchicago.org
   10     Legal Video Specialist and Certified Shorthand        10        william.Cook@cityofchicaggo.org
   11     Reporter in and for the State of Illinois, located    11
   12     at 2 North LaSalle Street, Suite 420, Chicago,        12
   13     Illinois, held on the 27th day of March, 2023, A.D.   13   REPRESENTING THE DEFENDANTS, SERGEANT JOHN
   14     at the hour of 10:00 a.m.                             14   BARLOGA, ABELARDO MERCADO AND EDDIE ISHOO:
   15                                                           15        Mr. John Coyne
   16                                                           16        Law Offices of John C. Coyne
   17                                                           17        53 West Jackson Blvd.
   18                                                           18        Suite 1750
   19                                                           19        Chicago, Illinois 60604
   20                                                           20        312.583.9500
   21                                                           21        jcc@johnccoynelaw.com
   22                                                           22
   23                                                           23
   24                                                           24


                                                            3                                                           5
    1             APPEARANCES                                    1
    2                                                            2                 INDEX
    3   REPRESENTING THE PLAINTIFF:                              3      WITNESS                   PAGE
    4        Mr. Beau Brindley                                   4       Timothy Ferguson:
    5        Law Offices of Beau B. Brindley                     5        Examination by Mr. Lisy    7
    6        53 West Jackson Boulevard                           6        Examination by Mr. Coyne     199
    7        Suite 1410                                          7        Examination by Mr. Olson    253
    8        Chicago, Illinois 60604                             8        Examination by Mr. Brindley 323
    9        312.765.8878                                        9
   10        bbbrindley@gmail.com                               10      EXHIBITS:
   11                                                           11        Deposition Exhibit No. 1               19
   12                                                           12        Deposition Exhibit No. 2               26
   13   REPRESENTING THE DEFENDANTS, RICHARD BEDNAREK and       13        Deposition Exhibit No. 3               200
   14   D-BATS:                                                 14        Deposition Exhibit No. 4               278
   15        Mr. Thomas J. Olson                                15        Deposition Exhibit No. 5               285
   16        Kopka, Pinkus & Dolin, P.C.                        16        Deposition Exhibit No. 6               288
   17        200 West Adams Street, Suite 1200                  17        Deposition Exhibit No. 7               300
   18        Chicago, IL 60606                                  18        Deposition Exhibit No. 8               321
   19        312.782.9920                                       19
   20        tjolson@kopkalaw.com                               20      Confidential Record                   291-296
   21                                                           21
   22                                                           22      Court Reporter's/
   23                                                           23        Videographer's Certificate             334
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                                           Timothy Ferguson
                                            March 27, 2023
                                                      6                                                        8
    1                                                       1      A Wayne.
    2          THE VIDEOGRAPHER: Today's date is            2      Q How do you spell it?
    3    March 27, 2023. We are going on the video          3      A W-a-y-n-e.
    4    record at 10:15 a.m. We are here for the           4      Q Mr. Ferguson, have you ever been
    5    purpose of taking the videotaped deposition of     5   deposed before?
    6    Timothy Ferguson. We are located at 2 North        6      A I have not.
    7    LaSalle Street, Suite 420, Chicago, Illinois.      7      Q So I'm going to go over some ground
    8             The party on whose behalf the             8   rules and kind of give you a little highlight of
    9    deposition is being taken is the defendant, and    9   what is going to happen here today. We're here
   10    the party at whose instance the deposition is     10   for the purpose of your deposition.
   11    being recorded on an audio-visual device is the   11            It is being recorded by not just
   12    defendant.                                        12   video, but also by a court reporter. So in
   13             This case is instituted in the           13   order to have an accurate transcript, it's
   14    United States District Court for the Northern     14   important that you verbalize your answers as
   15    District of Illinois, Eastern Division. The       15   opposed to just shaking your head, shrugging
   16    Case Number is 20 CV 04046. The case is titled    16   your shoulders, because that's difficult to have
   17    Timothy Ferguson versus Cook County, Illinois.    17   accurately in a transcript. Is that fair?
   18             I will now ask counsel to introduce      18      A Yes.
   19    themselves stating your name and who you          19      Q I'm going to try very hard to not
   20    represent.                                        20   speak over you. So I'll let you finish your
   21          MR. LISY: Maxwell Lisy for Defendant,       21   answer before I ask my next question; and I
   22    City of Chicago, along with my co-counsel,        22   would ask that you let me finish my question
   23    William Cook.                                     23   before you start to answer; is that fair?
   24             Just for the record, it is               24      A Yes.

                                                      7                                                        9
    1    plaintiff's deposition in the matter of Timothy    1        Q If I ask you a question, or if anyone
    2    Ferguson, Case No. 20 CV 04046.                    2   does ask you a question that you don't
    3          THE VIDEOGRAPHER: Thank you.                 3   understand, will you please say so?
    4          MR. OLSON: Thomas Olson for Defendants       4        A Yes.
    5    Richard Bednarek and D-Bats.                       5        Q If you answer a question that is
    6          MR. BRINDLEY: Beau Brindley on behalf        6   asked, I am going to assume that you understood
    7    of Timothy Ferguson, the plaintiff.                7   it; is that fair?
    8          MR. COYNE: John Coyne, C-o-y-n-e, Law        8        A Yes.
    9    Offices of John C. Coyne, on behalf of             9        Q All right. We can take a break at any
   10    Defendants Sergeant John Barloga, Abelardo        10   time; however, I would ask that if there is a
   11    Mercado, and Eddy Ishoo, and Cook County.         11   question pending, so if I have asked you a
   12                     (Witness sworn.)                 12   question or any of the other attorneys, that you
   13                TIMOTHY FERGUSON,                     13   answer that question before we take a break; is
   14    called as a witness herein, having been duly      14   that fair?
   15    sworn on oath, was examined and testified as      15        A Yes.
   16    follows:                                          16        Q Do you understand that you are under
   17                 EXAMINATION                          17   oath today?
   18    BY MR. LISY:                                      18        A Yes.
   19        Q Mr. Ferguson, can you please state and      19        Q And that it's an oath to tell the
   20    spell your name for us?                           20   truth?
   21        A Timothy Ferguson, T-i-m-o-t-h-y,            21        A Yes.
   22    F-e-r-g-u-s-o-n.                                  22        Q Are you taking any medication today
   23        Q Mr. Ferguson, do you have a middle          23   that would affect your ability to understand?
   24    name?                                             24        A No.


                                                                                3 (Pages 6 to 9)
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                                           Timothy Ferguson
                                            March 27, 2023
                                                     10                                                 12
    1        Q Are you taking any medication today          1      A My father.
    2    that would affect your memory?                     2      Q Who is your father?
    3        A No.                                          3      A Terry Ferguson.
    4        Q Are you taking any medication that           4      Q All right. I'm going to ask you just
    5    would affect your ability to testify truthfully    5   some background questions.
    6    here today?                                        6      A Sure.
    7        A No.                                          7      Q What's your date of birth?
    8        Q Have you consumed any alcohol or             8      A September 3, 1985.
    9    illegal substance in the past 24 hours?            9      Q Did you graduate from high school?
   10        A No.                                         10      A I did.
   11        Q Is there anything that would affect         11      Q Go to any college?
   12    your ability to testify truthfully here today?    12      A Took a couple courses at Moraine
   13        A No.                                         13   Valley Community College.
   14        Q Besides the passage of time, is there       14      Q At where?
   15    anything that would affect your memory as you     15      A Moraine Valley Community College.
   16    sit here today?                                   16      Q When was the last time you were in
   17        A No.                                         17   college?
   18        Q What did you do to prepare for your         18      A 2005.
   19    deposition?                                       19      Q When did you graduate from high
   20        A Just came here.                             20   school?
   21        Q I'm sorry. What was that?                   21      A 2004.
   22        A Just came here.                             22      Q Where did you go to high school?
   23        Q Did you meet with your attorney?            23      A Reavis High School.
   24        A I did.                                      24      Q I'm sorry. Repeat that?

                                                     11                                                 13
    1       Q Okay. I'm not going to ask you about          1      A Reavis High School, R-e-a-v-i-s.
    2    the contents of that conversation or those         2      Q Where is that?
    3    conversations, but how many times did you meet     3      A Burbank, Illinois.
    4    with your attorney?                                4         MR. OLSON: Go Rams.
    5       A Once.                                         5         THE WITNESS: Go Rams.
    6       Q When was that?                                6   BY MR. LISY:
    7       A Thursday of last week.                        7      Q All right. Have you had any other
    8       Q Was that in person?                           8   specialized training?
    9       A It was.                                       9      A In terms of what?
   10       Q Was anyone else besides your attorney        10      Q Sure. Have you been trained or
   11    present?                                          11   certified as an electrician or a welder or
   12       A No.                                          12   anything like that?
   13       Q Today you came -- excuse me.                 13      A No.
   14            And that attorney you met with, was       14      Q Done any sort of additional education
   15    that Mr. Brindley?                                15   besides a little bit of college?
   16       A It was.                                      16      A I have in my current career.
   17       Q When you met with Mr. Brindley, did          17      Q What's your current career?
   18    you review or watch any video?                    18      A I work as a claims management for an
   19       A No.                                          19   insurance company.
   20       Q Did you listen to any audio?                 20         MR. OLSON: I'm sorry. Did you say
   21       A No.                                          21   insurance company.
   22       Q Did you review any documents?                22         THE WITNESS: Correct.
   23       A No.                                          23   BY MR. LISY:
   24       Q Today, who did you come with?                24      Q What sort of further education did you


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                                          Timothy Ferguson
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                                                    14                                                     16
    1    have to do for that?                              1       Q All right. Back in -- let's start
    2        A I took fraud -- insurance fraud law;        2   with May of 2019 -- where were you living?
    3    my continuing education for insurance adjuster    3       A 7029 West 72nd Street in Nottingham
    4    licenses when I began the career some 15 years    4   Park, Illinois.
    5    ago-ish; and I have continued to do them every    5       Q Besides --
    6    couple years that the states require.             6           Well, back in May of 2019, were you
    7        Q So you have to be licensed to be an         7   living with your wife?
    8    insurance adjuster?                               8       A I was.
    9        A Correct.                                    9       Q Were you living with your three
   10        Q And you have to do continuing              10   children?
   11    education for your license?                      11       A Two children.
   12        A Correct.                                   12       Q Sorry.
   13        Q How many -- how often do you have to       13       A I'm sorry. I'm trying to --
   14    renew your license?                              14       Q Probably two children.
   15        A Every two years.                           15       A Yes, and my wife was pregnant with --
   16        Q When did you first get your license to     16           Actually, we had just had the baby.
   17    be an insurance adjuster?                        17   Yes, we were living in 2019 together with three
   18        A 2008.                                      18   children.
   19        Q Have you had a current license since       19       Q Were you living with anyone else?
   20    2008 to present?                                 20       A No.
   21        A I have.                                    21       Q In June of 2019, were you still living
   22        Q Has your license ever been revoked?        22   at 7029 West 72nd Street?
   23        A It has not.                                23       A Yes.
   24        Q Has it ever been suspended?                24       Q When did you move from that location?


                                                    15                                                     17
    1       A No.                                          1      A Unfortunately, it was right after this
    2       Q Have you ever been disciplined in any        2   incident. So I believe it was the middle --
    3    way in regards to your license as an insurance    3   probably August 1st-ish of 2019.
    4    adjuster?                                         4      Q Where did you move from --
    5       A No.                                          5            When you moved in August, where did
    6       Q Do you have any military experience?         6   you move to?
    7       A None.                                        7      A To 8756 South 82nd Avenue in Hickory
    8       Q Where do you currently live?                 8   Hills, Illinois.
    9       A Burbank, Illinois.                           9      Q You mentioned that you're an insurance
   10       Q Do you live with anyone?                    10   claims adjuster. Who do you currently work for?
   11       A My wife and children.                       11      A Producers National Corporation, PNC
   12       Q Okay. What's your wife's name?              12   Corporation.
   13       A Larissa Ferguson.                           13      Q What were your duties as an insurance
   14         MR. COYNE: Can you spell that?              14   adjuster?
   15         THE WITNESS: L-a-r-i-s-s-a.                 15      A I'm not -- actually, I'm a claims
   16    BY MR. LISY:                                     16   manager. So currently my job is I have a team
   17       Q How many children do you have?              17   of claims adjusters who work underneath me.
   18       A I have four.                                18      Q How many people then do you --
   19       Q What are their ages?                        19            How many people do you supervise?
   20       A 15, 10, 5 and 1.                            20      A Eight.
   21       Q How long have you been married?             21      Q Do you do any of the insurance
   22       A June it will be 10 years.                   22   adjustment work specifically yourself these
   23       Q Do you rent or own your home?               23   days?
   24       A I own my home.                              24      A That's not my job duties, but of


                                                                           5 (Pages 14 to 17)
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                                           Timothy Ferguson
                                            March 27, 2023
                                                     18                                                    20
    1    course, if somebody is out, I will fill in.        1       Q Did you review this complaint before
    2       Q And when did you become a claims              2   it was filed?
    3    manager?                                           3       A I believe so.
    4       A 2014 -- I'm sorry. 2016.                      4       Q Okay. As you sit here today, are
    5       Q And how long have you been working for        5   there any corrections that need to be made to
    6    your current employer?                             6   the complaint?
    7       A This employer has been almost two             7       A None.
    8    years.                                             8       Q I want to turn your attention to
    9       Q So roughly 2021?                              9   Paragraph 73, which should be on Page 16. Let
   10       A 2021-ish, yes.                               10   me know when you are there.
   11       Q Back in July of 2019, where were you         11       A I'm here.
   12    working?                                          12       Q All right. So I want you to read that
   13       A First Chicago Insurance.                     13   paragraph yourself and then look up at me so I
   14       Q What were you doing for Chicago              14   know you are ready.
   15    Insurance?                                        15               (Whereupon the witness
   16       A I was -- I started there in 2012 as a        16               reads a document.)
   17    claims adjuster; and then by the time I left, I   17       A Paragraph 75: Each of the above --
   18    was a claims manager.                             18       Q Hold -- just read Paragraph 73 just to
   19       Q When you became a claims manager for         19   yourself.
   20    Chicago Insurance?                                20       A Oh, I thought you said 75. I'm sorry.
   21       A 2017 -- the end of 2017.                     21       Q 73, and just let me know when you have
   22       Q At any time that you have worked for         22   had time to look at it.
   23    Chicago Insurance, were you ever disciplined at   23       A Okay.
   24    work?                                             24       Q So looking at Paragraph 73, the second

                                                     19                                                    21
    1       A Never.                                        1   to last line down there starts in part:
    2       Q Ever been suspended by work?                  2   Unwritten policy and custom of special and
    3       A Never.                                        3   preferential treatment, protections and
    4       Q And your current employer, have you           4   cover-ups provided to police officers. Do you
    5    ever been disciplined?                             5   see that?
    6       A Never.                                        6       A I do.
    7       Q All right. So I'm going to pass what          7       Q All right. What facts are you aware
    8    I have got marked as Exhibit 1. I will tell you    8   of that support this part of the allegation?
    9    that this is the complaint in this case.           9       A Research -- on-line research of Mr.
   10              I'm going to ask that you keep the      10   Bednarek.
   11    copy that has a sticker on it and that you        11       Q What research was that?
   12    continue to pass the other two around.            12       A Just typing a name, kind of finding
   13                 (Whereupon Deposition                13   out information directly related to his name.
   14                 Exhibit No. 1 was marked             14       Q All right. So this is all information
   15                 for identification; said             15   regarding an Officer Bednarek?
   16                 exhibit was tendered to              16       A Correct.
   17                 the witness and                      17       Q Okay. And this was information just
   18                 counsels.)                           18   from a Google search of Bednarek's name?
   19              Mr. Ferguson, do you recognize that     19       A Yes.
   20    this is the complaint in this case?               20       Q There is no other facts that you are
   21       A Yes.                                         21   using to support that allegation?
   22       Q Okay. Exhibit 1, this was filed on           22       A Correct.
   23    your behalf?                                      23       Q I want you to look at the next
   24       A It was.                                      24   paragraph there, Paragraph 74, and read that to


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                                           Timothy Ferguson
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                                                     22                                                      24
    1    yourself.                                           1       Q Have you ever worked with Chicago
    2                (Whereupon the witness                  2   Police Department in any way?
    3                examines a document.)                   3       A I have not.
    4       A Okay.                                          4       Q Have you ever volunteered with the
    5       Q And the last clause of that paragraph          5   Chicago Police Department in any way?
    6    says that: Feel that they can act with impunity     6       A Never.
    7    and without fear of reprimand or discipline.        7       Q All right. Do you have any experience
    8             Do you see that?                           8   in training law enforcement?
    9       A I do.                                          9       A None.
   10       Q What facts are you aware of that              10       Q And we'll talk in detail today about
   11    support this part of the allegation?               11   the allegations you made in your complaint and
   12       A The fact that he was still employed as        12   the incident, but is there some sort of specific
   13    a Chicago Police Officer after my research of      13   training that you are alleging Chicago Police
   14    Mr. Bednarek over the years that he has been a     14   Department should have given that would have
   15    Chicago Police Officer.                            15   prevented the incident as you have alleged in
   16       Q Just to be clear, that "he" you are           16   this complaint?
   17    referring to is to Officer Bednarek?               17       A I don't necessarily believe it's
   18       A Correct.                                      18   training that is the issue at hand.
   19       Q And so all of your facts that you're          19       Q What do you believe was -- caused the
   20    aware of are related to or involving Officer       20   issue at hand?
   21    Bednarek?                                          21       A The seriousness of the offenses that
   22       A Correct.                                      22   Mr. Bednarek has done over the course of his
   23       Q All right. And all of the facts that          23   career that shows little to no action taken by
   24    you are aware of are regards to a Google search    24   the Chicago Police Department against him.

                                                     23                                                      25
    1    that you can do of Officer Bednarek?                1      Q So just to make sure I understand,
    2        A Correct.                                      2   your complaint, or what you are complaining
    3        Q Are you also claiming that the City of        3   about is how the Chicago Police Department has
    4    Chicago fails to train its police officers in       4   interacted or reacted to Sergeant Bednarek,
    5    any way?                                            5   right?
    6        A I really haven't made up my mind on           6      A Correct.
    7    that. If you're asking me a yes or no question,     7      Q You are not making any allegations
    8    I would say I do feel that they do not train        8   about any other Chicago Police Officers then?
    9    them well.                                          9      A Correct.
   10        Q What do you know of to support that?         10      Q You are not making any allegations
   11        A Just being a citizen in the City of          11   about any training of any other Chicago Police
   12    Chicago or close to the City of Chicago.           12   Officers?
   13        Q What is your experience or                   13      A Correct.
   14    understanding of Chicago Police Officer            14      Q You are not making any allegations
   15    training?                                          15   regarding any discipline of any other Chicago
   16        A Just it should be detailed. It should        16   Police Officers?
   17    kind of be, you know, understood that they are     17      A Correct.
   18    law enforcement officers; they are here to serve   18      Q You are not making any allegations
   19    and protect; and sometimes I feel like just        19   regarding any supervision of any other Chicago
   20    being an everyday citizen, turning on the news     20   Police Officers?
   21    and stuff, that that's not the case.               21      A Correct.
   22        Q Do you have any specific knowledge of        22      Q All of your complaints are focused on
   23    Chicago Police Officer training?                   23   Officer Bednarek?
   24        A I do not.                                    24      A Correct.


                                                                             7 (Pages 22 to 25)
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                                           Timothy Ferguson
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                                                      26                                                     28
    1        Q So I'm going to hand you what I'm             1   address ring a bell to you?
    2    marking as Exhibit 2; and again, I'm going to       2       A Very much.
    3    pass it over to you and ask that you take the       3       Q Is that in Nottingham?
    4    copy with the sticker that's on there, with the     4       A It is.
    5    exhibit sticker. Why don't you take a look at       5       Q Is is Nottingham Park, Illinois?
    6    that document and make sure that you see what it    6       A Correct.
    7    is.                                                 7       Q So that address is not in Chicago,
    8                (Whereupon Deposition                   8   correct?
    9                Exhibit No. 2 was marked                9       A Correct.
   10                for identification; said               10       Q So how are you familiar with this
   11                exhibit was tendered the               11   property?
   12                witness and counsels.)                 12       A It was my second childhood home. It
   13             Do you recognize Exhibit 2?               13   is directly across the street from my childhood
   14        A I do.                                        14   home; and it was my grandmother's home.
   15        Q All right. Did you recognize that as         15       Q Who is your grandmother?
   16    your answers to interrogatories or some            16       A Ida Cardwell.
   17    questions that the City of Chicago sent you?       17       Q Did you ever live at that property?
   18        A It is.                                       18       A I did stay there for four months, I
   19        Q You recognize on the back there,             19   believe, just between being across the street
   20    second to last page, it's got an electronic        20   with my home with a dispute with my wife. So --
   21    signature for you, Timothy Ferguson. Do you see    21   but to establish full residency and stuff, I did
   22    that?                                              22   not.
   23        A Correct.                                     23       Q When was that four month period you
   24        Q Did you review these and provide these       24   just talked about?


                                                      27                                                     29
    1    answers to these interrogatories?                   1      A I would say probably some time in late
    2        A I did.                                        2   2018, early 2019.
    3        Q Are these still your answers to those         3      Q And you mentioned that was your
    4    interrogatories?                                    4   grandmother's home?
    5        A Without going question by question,           5      A Correct.
    6    it's safe to say yes, they would still be my        6      Q So when did she pass?
    7    answers.                                            7      A December of 2012, I believe.
    8        Q Well, do you have any sort of update          8      Q So then after 2012, do you know who
    9    or changes that you are seeking to make to your     9   owned the property?
   10    interrogatory responses?                           10      A It was left --
   11        A None.                                        11           My understanding, it was to my
   12        Q I did not see a verification page or         12   Uncle Dirk Ferguson.
   13    certification saying that you're answering these   13      Q I'm sorry. Can you repeat that name
   14    under oath. So do you certify under the penalty    14   one more time for me?
   15    of perjury that the foregoing answers to Exhibit   15      A Dirk Ferguson, D-i-r-k.
   16    2 are true and correct?                            16      Q Back in 2000, let's say May of 2019,
   17        A Yes.                                         17   what was your understanding of who owned the
   18        Q And you can set that aside for right         18   property?
   19    now.                                               19      A My father.
   20                (Whereupon the witness                 20      Q And what was your father's name?
   21                complies.)                             21      A Terry Ferguson.
   22             I do have some questions for you.         22      Q In July of 2019, what was your
   23    We are going to talk a lot about the property of   23   understanding of who owned the property?
   24    7038 West 72nd Street. Does that property          24      A My father, Terry Ferguson.


                                                                             8 (Pages 26 to 29)
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    1        Q What is your understanding of how it         1      Q Do you have any contact information
    2    went from Dirk Ferguson to your father Terry       2   Reyna?
    3    Ferguson?                                          3      A I do not.
    4        A Potentially through an estate, a will.       4      Q Do you happen to know if Mr. Halloron
    5        Q So did your uncle Dirk Ferguson die?         5   and Reyna are still together?
    6        A He did.                                      6      A They are not.
    7        Q And when did that happen?                    7      Q Do you know if back in May of 2019, if
    8        A Maybe February of 2018 possibly, I           8   Mr. Halloron had a lease for the -- to live at
    9    believe. I'm not too sure exactly when.            9   the property of 7038?
   10        Q Some time in 2018?                          10      A There was no lease.
   11        A I believe that that's the correct           11      Q How do you know that?
   12    year.                                             12      A It was just an agreement that he was
   13        Q So did you ever own the property?           13   getting -- separating from his wife and had
   14        A I did not.                                  14   nowhere to go and the house was empty; and so he
   15        Q Back in May of 2019, do you remember        15   asked to stay a few months.
   16    if anyone was living at the property?             16      Q Who did he ask that to?
   17        A There was.                                  17      A He asked me, and then I asked my
   18        Q Who was living there?                       18   father.
   19        A Shaun Halloron.                             19      Q So did you tell Mr. Halloron that he
   20        Q How do you spell that?                      20   could live there?
   21        A H-a-l-l-o-r-o-n.                            21      A It was between my father and I both.
   22        Q Do you know how you spell Shaun?            22      Q Ultimately whose decision was it
   23        A S-h-a-u-n.                                  23   whether or not Mr. Halloron could live at that
   24        Q Anyone besides Mr. Halloron living at       24   property?


                                                    31                                                       33
    1    the property to your knowledge?                    1       A My father, Terry Ferguson.
    2        A He had a girlfriend that stayed              2       Q Was that the same living situation at
    3    periodically; maybe more than a few days a week    3   the property in July of 2019, to your knowledge?
    4    with him.                                          4       A By then -- yes, yes, yes.
    5        Q Do you know her name?                        5       Q Specifically, it's 7038 West 72nd
    6        A I knew her as Reyna, R-e-n-a-y -- or         6   Street?
    7    excuse me, R-e-y-n-a.                              7       A Yes.
    8        Q Do you know a last name for Reyna?           8       Q It was still Mr. Halloron and Reyna
    9        A I don't.                                     9   living there off and on?
   10        Q Okay. Do you have any contact               10       A Yes. Mr. Halloron was the occupant.
   11    information for Mr. Halloron?                     11   Reyna was here and there.
   12        A I do.                                       12       Q There was still --
   13        Q Do you know his phone number?               13            There is no lease involved?
   14        A If I could check my cell phone and          14       A None.
   15    obtain the phone number for you.                  15       Q Did you have any specific agreement
   16        Q Sure, yes.                                  16   with Mr. Halloron for how long he was going to
   17               (Whereupon the witness                 17   be allowed to stay at the property?
   18               examines a cell phone.)                18       A He just asked for it until he got
   19        A 708-785-7062.                               19   enough time to get situated with his separation
   20        Q Do you know where Mr. Halloron is           20   and get back on his feet. There was no end
   21    living these days?                                21   date, start date kind of thing.
   22        A In Burbank, Illinois.                       22       Q Do you know if Mr. Halloron was paying
   23        Q Do you know his address?                    23   any rent?
   24        A I don't.                                    24       A He was.


                                                                            9 (Pages 30 to 33)
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     1      Q Do you know how much that was?                 1       Q Have you ever talked to Mr. Halloron
     2      A I'm not -- I don't want to say a               2   about this lawsuit?
     3   number but I know that he was.                      3       A I have not.
     4      Q Do you know who he was paying rent to?         4       Q Have you ever talked to Mr. Halloron
     5      A To my father.                                  5   about being a witness in this lawsuit?
     6      Q Would that have been the same for both         6       A I have not.
     7   May of 2019 and July of 2019?                       7       Q Have you ever talked to Mr. Halloron
     8      A Correct.                                       8   about ever giving a deposition or anything in
     9      Q What was your relationship like with           9   this lawsuit?
    10   Mr. Halloron?                                      10       A I have not.
    11      A Sports parents. His daughter and my           11       Q When was the last time you spoke to
    12   daughter played sports. They're the same age.      12   Mr. Halloron?
    13   They grew up playing the same softball team,       13       A Friday night at De La Salle High
    14   same basketball team.                              14   School.
    15      Q So besides occasions where your               15       Q Was this because you were both present
    16   daughters were both playing sports together, did   16   for a sporting event for your kids?
    17   you ever socialize with Mr. Halloron?              17       A Yes.
    18      A Yes, it started real young and we got         18       Q I believe earlier you said girls
    19   to a point where we became good friends.           19   softball. Was it girls softball?
    20      Q So back in 2019, would you have               20       A It was.
    21   considered him a good friend?                      21       Q So am I correct that your daughter and
    22      A Yes.                                          22   his daughter are on the same softball team?
    23      Q Do you still see Mr. Halloron on a            23       A Correct.
    24   regular basis?                                     24       Q Do you know if Mr. Halloron has any

                                                      35                                                   37
     1       A I do.                                         1   sort of social media?
     2       Q Are your daughters still on sports            2       A I believe he does.
     3   teams together?                                     3      Q Facebook?
     4       A They are.                                     4       A Facebook is -- that's really the only
     5       Q Do your kids go to the same schools?          5   thing I'm on is Facebook. That's all, I guess.
     6       A They do.                                      6   Others I'm not too sure.
     7       Q How often do you see Mr. Halloron?            7      Q Do you know what his name is on
     8       A I would say maybe with softball --            8   Facebook?
     9   high school softball now, every day; but without    9       A I think his name, his first and last
    10   -- outside of the season, maybe couple times a     10   name.
    11   month.                                             11      Q You mentioned Reyna. When was the
    12       Q Has Mr. Halloron been to your house?         12   last time you saw Reyna?
    13       A He has.                                      13       A Probably June, July of 2019.
    14       Q Have you been to Mr. Halloron's              14      Q What was your relationship like with
    15   current residence?                                 15   her?
    16       A I have.                                      16       A Non-existent. I didn't know her from
    17       Q Was Mr. Halloron present on May 9th of       17   the next person.
    18   2019 around the location of 7038 West 72nd         18      Q Did you ever talk to her about this
    19   Street?                                            19   lawsuit?
    20       A He was not.                                  20       A I did not.
    21       Q Was Mr. Halloron ever present to your        21      Q Do you know what the last conversation
    22   knowledge on July 12th of 2019 around the          22   you had with her was?
    23   property of 7038 West 72nd Street?                 23       A I do not.
    24       A He was.                                      24      Q I'm going to ask you some questions


                                                                          10 (Pages 34 to 37)
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     1   about some people, see if you know who they are     1       Q Was that in person?
     2   and hopefully have some information about them.     2       A It was.
     3       A Sure.                                         3       Q Have you ever talked to Mr. Shinstine
     4       Q Does the name Paul Shinstine ring a           4   about what occurred on July 12th of 2019?
     5   bell?                                               5       A No. We were both present at that
     6       A It does.                                      6   time. I have not.
     7       Q Who is that person?                           7       Q Have you ever talked to Mr. Halloron
     8       A That is my best friend for 30 years.          8   about what happened on July 12th of 2019?
     9       Q Did you two go to school together?            9       A No.
    10       A We did.                                      10       Q Do you have a phone number for Mr.
    11       Q Must have been starting in grade             11   Shinstine?
    12   school?                                            12       A Yes.
    13       A Pre-school actually.                         13       Q What would that be?
    14       Q And how do you spell his last name?          14              (Whereupon the witness
    15       A S-h-i-n-s-t-i-n-e.                           15              examines a cell phone.)
    16       Q How does he pronounce his last name?         16       A 708 -- give me one second here --
    17       A Shinstine.                                   17   257-3729.
    18       Q Shinstine. What does Mr. Shinstine do        18       Q Do you know where Mr. Shinstine lives?
    19   for employment?                                    19       A He currently lives in Burbank,
    20       A He's a general --                            20   Illinois.
    21           He owns his own business, a general        21       Q Do you know his address.
    22   contractor.                                        22       A I don't. It's West 84th Street, but I
    23       Q Do you know if Mr. Shinstine was ever        23   don't know the physical address.
    24   present around 7038 West 72nd Street on May 9th    24       Q Do you know if Mr. Shinstine has a

                                                      39                                                    41
     1   of 2019?                                            1   Facebook account?
     2      A No.                                            2       A He does not.
     3      Q Did you ever see Mr. Shinstine around          3       Q Do you know if he has any other social
     4   7038 West 72nd Street on July 12th of 2019?         4   media accounts?
     5      A Yes.                                           5       A He does not.
     6      Q What is your understanding of why he           6       Q Does the name Tabatha Soto ring a bell
     7   was near the property or at the property of 7038    7   to you?
     8   West 72nd Street on July 12th of 2019?              8       A It does.
     9      A He was walking Shaun Halloron's dogs.          9       Q Who is that?
    10      Q Do you have any idea why he was doing         10       A My sister.
    11   that?                                              11       Q Have you ever talked to your sister
    12      A Shaun would just ask him every now and        12   about what happened on May 9th of 2019 around
    13   then to -- if he was going to be gone throughout   13   the property of 7038 West 72nd Street?
    14   the day to swing by.                               14       A I have not.
    15      Q What's your understanding of Mr.              15       Q Have you ever talked to your sister
    16   Shinstine's and Mr. Halloron's relationship?       16   about what occurred on July 12th of 2019 around
    17      A Same as mine. He met Shaun through            17   the property of 7038 West 72nd Street?
    18   me.                                                18       A I have not.
    19      Q Did you ever talk to Mr. Shinstine            19       Q Was your sister present on May 9th or
    20   about this lawsuit?                                20   July 12th of 2019 at the area of 7038 West 72nd
    21      A I have not.                                   21   Street?
    22      Q When was the last time you talked to          22       A On the July -- the July date, she was
    23   Mr. Shinstine?                                     23   present.
    24      A Yesterday.                                    24       Q Okay. Have you ever talked to her


                                                                           11 (Pages 38 to 41)
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     1   about what happened on July 12th of 2019?          1       Q Did you ever talk to either Tabatha
     2      A I have not.                                   2   Soto or Robert Soto about this lawsuit?
     3      Q Have you ever talked to her about this        3       A I have not.
     4   lawsuit?                                           4       Q Do you have a phone number for Mr.
     5      A I have not.                                   5   Soto?
     6      Q What is her phone number?                     6       A I do.
     7             (Whereupon the witness                   7               (Whereupon the witness
     8             examines a cell phone.)                  8               examines a cell phone.)
     9      A 708-541-9614.                                 9            708-541-9779.
    10      Q Where does she currently live?               10       Q To your knowledge, does Mr. Soto live
    11      A In Burbank, Illinois.                        11   with Tabatha Soto?
    12      Q Do you have an address for her?              12       A He does.
    13      A 7738 South Massasoit Avenue.                 13       Q Does the name Frederick Shinstine ring
    14      Q How do you spell that?                       14   a bell to you?
    15      A M-a-s-s-o-s-i-t.                             15       A It does.
    16      Q And do you know if she has a Facebook?       16       Q Who is that?
    17      A She does.                                    17       A That's Paul.
    18      Q Do you know what her name is on              18       Q Is Paul a nickname for him?
    19   Facebook?                                         19       A It's his middle name. He has never --
    20      A Tabatha Soto.                                20   since -- he has always been Paul Shinstine.
    21      Q Do you know if she has any other             21       Q Does the name Jan Kowalski ring a bell
    22   social media?                                     22   to you?
    23      A Instagram.                                   23       A It does.
    24      Q Have you ever talked to Ms. Soto about       24       Q And that last name is spelled

                                                     43                                                     45
     1   how the events of May 9th of 2019 and July 12th    1   K-o-w-a-l-s-k-i?
     2   of 2019 affected you?                              2       A Yes.
     3      A I have not.                                   3       Q And who is that?
     4      Q Does the name Robert Soto ring a bell         4       A She was kind of a family attorney,
     5   to you?                                            5   wanted to be a family attorney. She presented
     6      A It does.                                      6   as an attorney who wanted to kind of be the
     7      Q Who is that?                                  7   family attorney.
     8      A My brother-in-law.                            8       Q Do you mean for your family?
     9      Q Was Mr. Soto present on May 9th of            9       A Correct.
    10   2019 around 7038 West 72nd Street?                10       Q Would that include just your immediate
    11      A He was not.                                  11   family or your extended family as well?
    12      Q Was he present on July 12th of 2019          12       A I would say anybody that would be
    13   around 7038 West 72nd Street?                     13   willing to use her.
    14      A He was.                                      14       Q So did you ever retain her as your
    15      Q Did you ever talk to Mr. Soto about          15   attorney?
    16   what happened on May 9th of 2019?                 16       A Never, like, retained. It was always,
    17      A I have not.                                  17   like, a verbal agreement, I guess. If there was
    18      Q Did you ever talk to Mr. Soto about          18   a need, she would be there.
    19   what happened on July 12th of 2019?               19       Q Did you ever pay her for her services
    20      A I have not.                                  20   as an attorney?
    21      Q Did you ever talk to Mr. Soto about          21       A Never.
    22   how the events of May 9th or July 12th of 2019    22       Q Was she he present on May 9th of 2019
    23   affected you?                                     23   around 7038 West 72nd Street?
    24      A I have not.                                  24       A She was not.


                                                                          12 (Pages 42 to 45)
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     1       Q Do you know if she was present on July      1      A I did not.
     2   12, 2019 around 7038 West 72nd Street?            2      Q Did you ever talk to her about what
     3       A She was.                                    3   happened on May 9th of 2019?
     4       Q Have you ever talked to her about this      4      A I did not.
     5   lawsuit?                                          5      Q Did you ever talk to her about this
     6       A I have not.                                 6   lawsuit?
     7       Q Do you have a phone number for her?         7      A I did not.
     8       A I was trying to look, because I knew        8      Q For Mr. Rosales, did you ever talk to
     9   that was coming, but I don't seem to have one,    9   him --
    10   no.                                              10           Well, was he present, to your
    11       Q Okay. Do you know where her office is      11   knowledge, on May 9th of 2019 around 7038 West
    12   located?                                         12   72nd Street?
    13       A I don't.                                   13      A Maybe inside of his home, but not
    14          MR. BRINDLEY: She's not practicing.       14   present to my face?
    15   There is no office. It's sort of a --            15      Q How about on July 12th of 2019, was he
    16   BY MR. LISY:                                     16   present around the property of 7038 West 72nd
    17       Q Oh, so is she a licensed attorney, to      17   Street?
    18   your knowledge?                                  18      A He was not.
    19          MR. BRINDLEY: Disbarred. She got          19      Q Did you ever talk to him about what
    20   charged in a federal indictment. You may have    20   happened on May 9th of 2019?
    21   that -- I don't know -- but along with Robert    21      A I did not.
    22   Kowalski; and she had her license -- I believe   22      Q Did you ever talk to him about what
    23   it was either suspended or disbarred             23   happened on July 12th of 2019?
    24   immediately.                                     24      A I did not.


                                                    47                                                     49
     1        MR. LISY: Okay.                              1        Q Going to Mr. --
     2        MR. BRINDLEY: Emergency suspension,          2             I apologize. I want to back up a
     3   which is quite unusual, but that is what          3   little bit.
     4   happened to Jan Kowalski.                         4             Going to Mr. Shinstine, did you
     5   BY MR. LISY:                                      5   ever talk to him about how the events of May 9th
     6      Q So you mentioned you don't have a            6   or July 12th of 2019 affected you?
     7   phone number. Do you have a --                    7        A I did not.
     8           Do you know where she lives?              8        Q Did you ever talk to Ms. Kowalski
     9      A LaGrange Park, Illinois, I believe.          9   about how the events of May 9th or July 12th of
    10      Q Do you have the name of a Raul              10   2019 affected you?
    11   Rosales?                                         11        A I did not.
    12      A Yes.                                        12        Q Did you ever talk to Mr. Rosales about
    13      Q Does that name ring a bell?                 13   how the events of May 9th or July 12th of 2019
    14      A Yes, it does.                               14   affected you?
    15      Q Is that last name spelled                   15        A I did not.
    16   R-o-s-a-l-e-s?                                   16        Q Does the name Terry Ferguson, Jr. ring
    17      A Yes.                                        17   a bell to you?
    18      Q Who is that?                                18        A It does.
    19      A That's my -- it was my neighbor at          19        Q Who is that?
    20   7027 West 72nd Street.                           20        A My brother.
    21      Q All right. Did you ever talk to --          21        Q Was your brother present on May 9th of
    22           Let's go back to Ms. Kowalski for a      22   2019 around the area of 7038 West 72nd Street?
    23   second. Did you ever talk to her about what      23        A No.
    24   occurred on July 12th of 2019?                   24        Q Was he present on July 12th of 2019


                                                                         13 (Pages 46 to 49)
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     1   around the same address?                            1      Q Have you ever talked to her about what
     2      A He was.                                        2   happened on either May 9th or July 12th of 2019?
     3      Q All right. Do you have a phone number          3      A I have.
     4   for Mr. Rosales?                                    4      Q What have you told your wife about
     5              (Whereupon the witness                   5   what happened on May 9th of 2019?
     6              examines a cell phone.)                  6      A Exactly what happened; that I was, you
     7      A 708-516-7124.                                  7   know, just at home out in front of house; and
     8      Q Do you know if Mr. Rosales lives at            8   that I was notified that, you know, there was an
     9   7027 West 72nd Street still?                        9   SUV kind of circling the block and kind of, you
    10      A He does.                                      10   know, showed her the video that I had; and we
    11      Q Your brother Terry Ferguson, Jr., did         11   kind of discussed, you know, what was going on
    12   you ever talk to him about what occurred on May    12   and why it was going on, and why that happened
    13   9th of 2019?                                       13   and kind of left it there.
    14      A I did not.                                    14      Q Did you ever talk to her about --
    15      Q Did you ever talk to him about what           15   sorry.
    16   happened on July 12th of 2019?                     16           As far as about what happened on
    17      A I did not.                                    17   May 9th, do you remember what she said to you?
    18      Q Did you ever talk to your brother             18      A I don't remember much of her saying
    19   about how the events of May 9th or July 12, 2019   19   anything other than kind of being in shock, kind
    20   affected you?                                      20   of being fearful, and kind of not understanding
    21      A I did not.                                    21   how, why, where with little information this
    22      Q Did you ever talk to your brother             22   happened.
    23   about this lawsuit?                                23      Q Did you say anything else to her
    24      A I have not.                                   24   besides what you have already said so far?


                                                     51                                                      53
     1      Q So the phone number for your brother?          1      A I did not.
     2             (Whereupon the witness                    2      Q Do you remember where this
     3             examines a cell phone.)                   3   conversation took place?
     4      A 708-897-1799.                                  4      A Inside of our home.
     5      Q Where does your brother currently --           5      Q Was this one conversation or multiple
     6         MR. COYNE: I'm sorry, 91 or 99?               6   conversations?
     7         THE WITNESS: I'm sorry. 708-897-1799.         7      A One conversation.
     8         MR. COYNE: Thanks.                            8      Q Besides your wife, was anyone else
     9   BY MR. LISY:                                        9   present?
    10      Q Where does your brother currently             10      A No.
    11   live?                                              11      Q About how long was this conversation?
    12      A In Burbank, Illinois.                         12      A An hour or so, roughly.
    13      Q Do you have an address?                       13      Q And do you remember when that
    14      A 8001 South Parkside Avenue.                   14   conversation took place?
    15      Q We talked a little bit about --               15      A Immediately. The evening of May -- I
    16           You mentioned your wife Larissa            16   believe it was May the 9th of 2019, that
    17   Ferguson. Have you -- was she ever present on      17   evening.
    18   May 9th of 2019 around --                          18      Q Did you ever talk to her about what
    19      A She was not.                                  19   happened on July 12th of 2019?
    20      Q -- 7038 West 72nd Street?                     20      A I did.
    21      A She was not.                                  21      Q And when did you speak about it?
    22      Q All right. Was she present on July            22      A That same night.
    23   12th of 2019 at the same address?                  23      Q In similar fashion, was this one
    24      A She was not.                                  24   conversation that you had with your wife or was


                                                                           14 (Pages 50 to 53)
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     1   it multiple conversations?                          1            First, you mentioned grandmother's
     2       A It was a long conversation at that            2   house. Whose grandmother are we talking about?
     3   point. One conversation that evening, but a         3       A I call her my grandmother. It's my
     4   very long one.                                      4   wife's grandmother. The Hickory Hills address
     5       Q And what did you tell your wife?              5   is the home of my wife's grandmother.
     6       A I kind of told her what happened. I           6       Q The house that you had on 72nd Street,
     7   explained it to her. We were out to dinner; and     7   did you own that house?
     8   I dropped them off to her grandmother's house;      8       A We did.
     9   and I headed over to the property; and I            9       Q So on July 12th of 2019 after this --
    10   explained it to her and kind of told her exactly   10   the incident was done, where did you go?
    11   what happened, how it happened, why it happened;   11       A To the Hickory Hills -- to my wife's
    12   and that's kind of the discussion we had.          12   grandmother's home where my wife and my children
    13       Q Do you remember what she said to you?        13   were at.
    14       A Well, there was the threat of me             14       Q You mentioned the severity of the
    15   figuring out why this is happening, what is        15   situation. What do you mean by that?
    16   going on with it, what is my involvement in        16       A Being locked up for two, three hours.
    17   this, and ultimately the need for her to remove    17   You know, when I got out and was able to use my
    18   herself and our children from our home at 7029     18   phone, my wife had texted me, called me probably
    19   and to then move to her grandmother's house at     19   100 times wondering where I was at. I wasn't
    20   the 8756, I believe, 82nd Court in Hickory         20   able to respond; she wasn't getting no answers.
    21   Hills.                                             21   So the severity of not knowing what was going
    22       Q When did your wife move?                     22   on, what was going to happen.
    23       A She never returned back to the               23       Q When you say not knowing what was
    24   property -- to the home at 7029 from that night    24   going on or what was going to happen, do you


                                                      55                                                     57
     1   outside of taking some stuff for the kids and       1   just mean from that night?
     2   coming back and getting some items and stuff of     2       A Yes.
     3   hers and the children. She never returned back      3       Q You talked about --
     4   home.                                               4            You mentioned the threat of what
     5       Q Did you go with her?                          5   was happening. What was the threat that you are
     6       A I stayed that night of July 12th. I           6   talking about?
     7   did go back to grandmother's house and stayed       7       A This is the second incident with Mr.
     8   there; and I did stay at the home a few nights      8   Bednarek, two-month span. Living across the
     9   trying to figure out where my life goes.            9   street from the 7038 property, being in close
    10           You know, my wife was threatening          10   proximity to, we are literally right back to
    11   to leave. We had a home here. She was forcing      11   back in a sense.
    12   me to either decide to stay at the house or come   12       Q What -- was there any specific threat
    13   with her to her grandmother's house to remove      13   made against you?
    14   ourselves from the closeness and the severity of   14       A Yes.
    15   this.                                              15       Q What was that threat?
    16         MR. COYNE: Hang on one second, Max.          16       A Basically that, you know, he will do
    17           Can you repeat the last answer,            17   whatever he needs to do to me to prove his
    18   please.                                            18   point; that, you know, he is a Chicago Police
    19              (Whereupon the record was               19   sergeant; and if I wanted to challenge him, I
    20              read as requested.)                     20   could challenge him, but I will lose; that he is
    21         Okay. Can we just get a clarification        21   not going to go away; he is going to continue to
    22   where -- what house he stayed in that night?       22   come back until the property is vacant. You
    23   BY MR. LISY:                                       23   know, I mean, there is a whole list of them in a
    24       Q When you were talking --                     24   sense.


                                                                           15 (Pages 54 to 57)
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     1      Q Well, you say that he was going to do          1       Q Let me clarify. What have you
     2   whatever he had to do. What do you mean by          2   specifically told your wife about how you were
     3   that?                                               3   physically affected by what happened on May 9th
     4      A No idea. That's the threat.                    4   or July 12th of 2019?
     5      Q So did anyone threaten you with                5       A I didn't. I told her nothing.
     6   physical violence?                                  6       Q All right. What have you specifically
     7      A No.                                            7   told your wife about how May 9th of 2019 or July
     8      Q In regards to Mr. -- or Sergeant               8   12th of 2019 affected you mentally or
     9   Bednarek saying that he was going to keep coming    9   emotionally?
    10   back, was that coming back to your home at 7032    10       A I haven't. Nothing.
    11   West 72nd Street?                                  11       Q The name Tammy Ferguson, do you know
    12      A 7029 West 72nd Street.                        12   who that is?
    13      Q Excuse me. 29.                                13       A It's my mother.
    14      A But just in the vicinity, it was my           14       Q Was your mother present on May 9th of
    15   assumption, back to the property at 7038 West      15   2019 or July 12th of 2019 around the area of
    16   72nd Street.                                       16   7038 West 72nd Street?
    17      Q So Mr. Bednarek wasn't threatening to         17       A She was not.
    18   come to your house by any means?                   18       Q Have you ever talked to her about this
    19      A I guess if --                                 19   lawsuit?
    20           When I look at the situation, I            20       A I have not.
    21   wouldn't -- obviously the home at 7038 isn't       21       Q Have you ever talked to her about how
    22   mine, but I have maintained it and cut the grass   22   the events of May 9th or July 12th of 2019
    23   and it's been in my family for however long I've   23   affected you?
    24   been alive. So I consider it as a part of the      24       A I have not.


                                                      59                                                      61
     1   family property. So maybe.                          1       Q Do you have a current phone number for
     2       Q Mr. Bednarek never said anything to           2   your mom?
     3   you that he was going to come to your house; is     3       A 708-979-4010.
     4   that correct?                                       4       Q Where does your mom currently live?
     5       A Correct.                                      5       A At 7738 South Massasoit Avenue in
     6       Q Okay. Have you specifically told your         6   Burbank.
     7   wife about how the events of May 9, 2019 or July    7       Q Excuse me. You came with your father
     8   12th of 2019 affected you?                          8   Terry Ferguson today, right?
     9       A I have.                                       9       A Correct.
    10       Q And what did you tell her?                   10       Q Does he live with your mother?
    11       A You mean, like, as far as emotionally,       11       A He does not.
    12   physically, all of it?                             12       Q Where does your father currently live?
    13       Q Well, let's start with physically.           13       A 8143 Sunset Road, Willowbrook,
    14   What have you told her?                            14   Illinois.
    15       A I was scared, I guess. You know, I           15       Q What is the phone number for your
    16   was in distress. I was stressed about it. I        16   father?
    17   was overwhelmed with it. You know, I didn't        17       A 708-378-3756.
    18   want to leave the house. I had to move. It was     18       Q Was that 3756?
    19   kind of taking a toll on me mentally losing my     19       A Yes. Let me just double-check just
    20   -- potentially, you know, not being with my        20   to --
    21   children. Mentally it's affected me.               21               (Whereupon the witness
    22            I think I kind of clammed up. I           22               examines a cell phone.)
    23   kind of shut down. I didn't leave the house        23             708-378-3756.
    24   much. I didn't do much.                            24       Q Was your father present around 7038


                                                                           16 (Pages 58 to 61)
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     1   West 72nd Street either on May 9th or July 12th     1      A I believe five years-plus ago.
     2   of 2019?                                            2      Q Did you ever talk to her about this
     3       A He was not.                                   3   lawsuit?
     4       Q Did you ever talk to your father about        4      A I have not.
     5   what occurred on May 9th or July 12th of 2019?      5      Q Do you know if your friends with her
     6       A I have not.                                   6   on social media in any way?
     7       Q Have you talked to your father about          7      A No.
     8   this lawsuit?                                       8      Q All right. Let's talk about May 9th
     9       A No.                                           9   of 2019. Do you know if you went to work that
    10       Q You told your father that you were           10   day?
    11   coming for a deposition today?                     11         MR. OLSON: Which day?
    12       A Correct.                                     12         MR. LISY: May 9, 2019.
    13       Q When did you tell him that?                  13         THE WITNESS: Would I be able to check
    14       A Last week. I asked him -- when I             14   the calendar to confirm it being a weekday or a
    15   found out the date I asked him if he could drive   15   weekend, because I hardly ever miss during, you
    16   me.                                                16   know, and I only work during the week, so...
    17       Q Besides asking him if he could drive         17   BY MR. LISY:
    18   you, did you talk about anything else?             18      Q Let's put this way: What is the first
    19       A I did not.                                   19   thing you remember from May 9th of 2019?
    20       Q Have you ever talked to your father          20      A It was kind of a chilly day. It was
    21   about how the events of May 9th or July 12, 2019   21   kind of cloudy. It was overcast. And I
    22   affected you?                                      22   believe, now that I think about it, I did go to
    23       A I have not.                                  23   work.
    24       Q Does the name Vicky Gow, G-o-w, ring a       24      Q I'll represent to you based on the


                                                     63                                                      65
     1   bell?                                               1   calendar in my phone that May 9th --
     2       A She does.                                     2      A It was like a Wednesday, I believe.
     3       Q Who is that?                                  3      Q It was a Thursday.
     4       A My aunt.                                      4      A Thursday. I did go to work.
     5       Q Is she your aunt by blood or by               5      Q If it was a Thursday, would you have
     6   marriage?                                           6   been working?
     7       A By blood.                                     7      A I would have.
     8       Q Was she present, to your knowledge, on        8      Q Okay. Do you remember what your hours
     9   May 9th or July 12, 2019 around the area of 7038    9   would have been roughly around that time?
    10   West 72nd Street?                                  10      A 8:00 to 4:00.
    11       A The May 9th date -- excuse me -- no.         11      Q And at some point, did you go to the
    12   The July 12th date she was.                        12   area of 7038 West 72nd Street?
    13       Q Do you have a current phone number for       13      A I did.
    14   her?                                               14      Q Why?
    15       A I don't.                                     15      A I started -- I was at home right
    16       Q Do you know where she lives?                 16   across the street and my neighbor Raul let me --
    17       A I know she lives in Burbank somewhere,       17   you know, came over and I kind of talked to him
    18   but I have zero contact with her.                  18   over the fence; and he let me know that his Ring
    19       Q After July 12th of 2019, did you ever        19   camera was kind of signaling, showing a vehicle
    20   talk to her about what occurred either on May      20   kind of pulling up and somebody walking up to
    21   9th or July 12th of 2019?                          21   the home and kind of looking in the windows; and
    22       A I have not.                                  22   that the person was in a normal vehicle; and
    23       Q When was the last time you have spoken       23   that they had -- you know, that it appeared he
    24   to her?                                            24   had a gun in his waist side.


                                                                           17 (Pages 62 to 65)
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     1            I just -- I was like I have no             1            And, you know, he's like: Here,
     2   idea. And so then he said that it began             2   you know, this is a 5-day notice that needs to
     3   circling the block. So as I was outside, I          3   be given to, you know, the tenants. They have
     4   noticed that here comes the truck that he           4   five days to get out of there.
     5   ultimately identified; and I stopped the truck;     5            And I was like, "Don't take it.
     6   and it was Mr. Bednarek; and he pulled on -- he     6   I'm not sure who this guy is. He didn't
     7   rolled down his window and he began to talk to      7   identify himself. He didn't tell me who he is,
     8   me.                                                 8   what he's got. He's got a gun in his waist." I
     9            And I asked him, you know, was he          9   said, "just try to close the door" and she's
    10   over at the property and that it's, you know, my   10   like "I'm trying, I'm trying."
    11   grandmother's home; and, you know, nobody is       11            And he kept -- you know, he got his
    12   kind of there right now; and is there something    12   foot wedged in the door so she couldn't close
    13   that he needed, something that he, you know,       13   it. And I said, "Don't take anything from him.
    14   wanted?                                            14   I don't know who he is or what."
    15            And he just, you know, began to           15            And so he just dropped it on there
    16   kind of belittle everything and saying he will     16   and basically, you know, let her close the door
    17   do whatever he wants. You know, he will go to      17   at that point; and then he kind of moved down
    18   the property 100 times and look through all the    18   the driveway.
    19   windows.                                           19       Q Okay. So let me go back and talk
    20            And at that point, I began to video       20   about this incident a little bit. Earlier you
    21   record him; and I asked him -- and I told him,     21   said that you were notified an SUV was circling
    22   if there is something he needed, something he      22   the block. What did you mean by notified?
    23   wanted, something, you know, if -- let me know;    23       A Raul, he just said that he, you know,
    24   and I could, you know, do whatever needed to be    24   noticed -- his window, picture window in his


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     1   done; and he said he will just handle it on his     1   home, leads right into the front door of the
     2   own and do it on his own.                           2   7038 property basically.
     3           And he peeled away from in front of         3      Q Okay. So the time when Raul came to
     4   my house, which is just a couple feet down the      4   talk to you, do you know roughly what time of
     5   road, to pull in front of the home; and he got      5   day that was?
     6   out of the car; I began to walk kind of video       6      A I'd say it's probably, like, right
     7   recording him. I walked to the property; and he     7   after I got -- you know what, it might have been
     8   got out of the car; gun in his waist, some piece    8   when I pulled into the driveway from work. So I
     9   of paper in his hand; went to the door.             9   would say maybe 4:00, 4:15-ish. That's just me
    10           I asked him, you know, what he had,        10   kind of guesstimating.
    11   what is going on? Is there something I can help    11      Q You mentioned that Raul told you that
    12   you with? And, you know, he just said that --      12   his Ring camera was alerting him?
    13   you know, "move, get out of the way." He went      13      A Correct.
    14   to the door, started banging on the door.          14      Q Did he show you any sort of pictures
    15           Reyna answered the door, and I was         15   or video from that?
    16   standing literally right next to him and he        16      A I don't recall. I don't believe so.
    17   basically -- I'm like, "Reyna, you know, I'm not   17      Q Did Raul ever send you any pictures or
    18   sure who this guy is, what his deal is, I don't    18   video from his Ring camera?
    19   know, close the door."                             19      A I don't recall.
    20           So she went to close the door; he          20      Q Did you ever ask him for any pictures
    21   jammed his foot in the door to hold the door       21   or video from his Ring camera?
    22   open from being closed; and he began pushing;      22      A I did not.
    23   and she's trying to close the door; and she's      23      Q The -- so how long did that
    24   yelling to get out.                                24   conversation last with Raul?


                                                                           18 (Pages 66 to 69)
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     1       A 10 minutes or so; 15 minutes or so.           1       Q How many people were inside the truck
     2       Q Was this outside or inside your house?        2   when you got to it?
     3       A It was outside.                               3       A Just one.
     4       Q Was it in your front yard or your back        4       Q And you said that that was Mr.
     5   yard?                                               5   Bednarek?
     6       A Front yard.                                   6       A It was.
     7       Q Was anyone else present besides you           7       Q Did you know who Mr. Bednarek was at
     8   and Raul?                                           8   the time?
     9       A No.                                           9       A I did not know at that time.
    10       Q Was anyone else present in your home         10       Q So you didn't know the person's name
    11   at the time that you would have gotten home from   11   that was in the car?
    12   work?                                              12       A I did not.
    13       A Yes, my wife and children would have         13       Q The truck itself, did that appear to
    14   been home.                                         14   you to be some sort of police vehicle?
    15       Q Do you -- was your wife outside with         15       A It was not.
    16   you at the time of this conversation?              16       Q Were there any markings on the outside
    17       A She was not.                                 17   of the truck?
    18       Q And so did Raul tell you that a black        18       A There was not.
    19   car was -- or truck was driving around, or SUV?    19       Q Was the license plate and M license
    20       A He did.                                      20   plate or anything?
    21       Q Did he tell you that it was a police         21       A It was not.
    22   officer?                                           22       Q Did -- the person that you spoke to,
    23       A He didn't know if it was or wasn't.          23   did that person identify themself as a police
    24       Q Okay. Did he tell you any sort of            24   officer?

                                                     71                                                     73
     1   characteristics of what the person looked like      1       A He did not.
     2   that was walking around the home?                   2       Q Do you remember about how long after
     3       A He just said it was a male.                   3   you first approached the driver --
     4       Q And just to be clear, the home that           4            Or let me back up.
     5   this male was walking around, that was 7038 West    5            Was Mr. Bednarek, was he in the
     6   72nd Street?                                        6   driver seat?
     7       A Correct.                                      7       A He was.
     8       Q And after he told you that, what was          8       Q Okay. Do you remember about how long
     9   the next thing you did, just that next thing.       9   after you approached Mr. Bednarek that you
    10       A I think the truck came coming down the       10   started to record?
    11   street shortly right after that. So I was able     11       A Pretty much as soon as -- maybe like a
    12   to kind of stop it.                                12   minute. I think as soon as he rolled down his
    13       Q Did you ever call 911 after Raul told        13   window and kind of began shouting and so forth.
    14   you this?                                          14   That's kind of when I turned the phone on.
    15       A I did not.                                   15       Q Why did you start recording?
    16       Q Did you ever call Mr. Halloron?              16       A I got told, you know, we have a guy
    17       A I did not.                                   17   that's driving around carrying a gun, looking
    18       Q So the truck comes down the street;          18   through windows of my grandmother's home. I
    19   and this is the truck that you think is the same   19   felt for safety reasons, for an opportunity,
    20   one from Raul's Ring camera?                       20   should I need to call the police, should I need
    21       A Correct.                                     21   to, you know, at some point, you know, contact
    22       Q And then you went up to approach this        22   the police, that I have a picture of the guy, a
    23   truck?                                             23   license plate of the vehicle.
    24       A Correct.                                     24       Q So were you recording. Was that on


                                                                           19 (Pages 70 to 73)
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     1    your phone?                                        1   think I told him in the video that I would call
     2       A It was.                                       2   the police; and he was like "I don't care." And
     3       Q Is that the same phone you have today?        3   then he pulled away and pulled in front of the
     4       A It is not.                                    4   home.
     5       Q What type of phone was it back then?          5       Q Okay. Did Mr. Bednarek, to your
     6       A It was an iPhone, but it's graduated a        6   knowledge, tell you that he was a police officer
     7    couple generations.                                7   during that initial conversation?
     8       Q Do you still have an iPhone now?              8       A He did not.
     9       A I do.                                         9       Q Do you remember if he said anything
    10       Q Do you use the same Apple ID now that        10   else besides what you already told me?
    11    you used back then?                               11       A No, I don't recall.
    12       A I do.                                        12       Q Do you remember if you said anything
    13       Q Do you know if you save things to the        13   else to him?
    14    Apple iCloud?                                     14       A I don't recall.
    15       A Yeah.                                        15       Q Was anyone else present during this
    16       Q It's fair to say you do save pictures        16   conversation besides you and Mr. Bednarek?
    17    and videos to the cloud?                          17       A At the -- I mean, during the process
    18       A I think, yeah, it, you know, updates         18   of it, Reyna entered the conversation and/or the
    19    and saves.                                        19   issue when he began banging on the door and her
    20       Q I apologize. Do you remember if you          20   opening the door.
    21    --                                                21       Q Well, specifically talking about when
    22            Do you remember how many videos you       22   you first approached him at his vehicle.
    23    took that day?                                    23       A Oh, just him and I.
    24       A I think it was one continuous video.         24       Q Okay. And then Mr. Bednarek parks his


                                                      75                                                      77
     1      Q Do you remember if you took any                1   vehicle and goes to 7038 West 72nd Street; is
     2   pictures?                                           2   that correct?
     3      A I did.                                         3      A Correct.
     4      Q Do you remember how many pictures you          4      Q All right. You followed him?
     5   took?                                               5      A I did.
     6      A Maybe three.                                   6      Q And you are video recording at this
     7      Q So while you were in --                        7   point?
     8            While Mr. Bednarek is in the driver        8      A I am.
     9   seat of that car, what did he specifically tell     9      Q And then he goes to -- actually to the
    10   you at that point?                                 10   front door at 7038 West 72nd Street?
    11      A I asked him if there was some -- I            11      A Correct.
    12   began the conversation if there was -- that I      12      Q Okay. Did you ever tell Mr. Bednarek
    13   was told that he was at the property right here;   13   that you own the property?
    14   and I pointed to the property at 7038; and I       14      A I may have said not specifically me,
    15   asked him if there was anything he needed; what    15   but that it's family owned.
    16   was he there for? And he basically just began a    16      Q Why would you say that?
    17   rant that he will go there however often he        17      A Because I believed it to be.
    18   wants. He will do whatever he wants.               18      Q All right. After the incident or the
    19            And I told him, you know, "is there       19   interaction between Mr. Bednarek and Reyna, did
    20   something that you need? You know, what is the     20   you have any more interaction with Mr. Bednarek?
    21   purpose of you? Who are you?" And, you know,       21      A Yes. Basically Reyna contacted the
    22   we got nothing out of it; and then he kind of      22   Cook County Sheriff's and they -- you know,
    23   set out, continued to go to the property.          23   called them and she was crying, I believe, and
    24            And I said okay. I told him -- I          24   kind of frantic; and they sent an officer out;


                                                                           20 (Pages 74 to 77)
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     1   and I waited on the sidewalk while he stood in      1   time the Cook County Sheriffs arrived?
     2   the front of the home, kind of down the ramp and    2       A Five minutes or so; five, ten minutes.
     3   stood there; and he would just make comments        3       Q At any point in time during those five
     4   about my dad who was incarcerated at the time.      4   minutes, did Mr. Bednarek ever tell you that he
     5            You know, "he is never coming home.        5   was a Chicago Police Officer?
     6   How long is he going to be gone?" You know,         6       A During that period, no.
     7   basically just kind of -- I don't know, just        7       Q Did Mr. Bednarek ever threaten you
     8   being who I've come to learn he is.                 8   during that time?
     9      Q Did you say anything in response to            9       A No.
    10   Mr. Bednarek?                                      10       Q So Cook County Sheriff's officer shows
    11      A I don't recall anything more than just        11   up. Then what happens?
    12   not even giving him the time of day of a           12       A That's when I learned his name. He
    13   response to those questions.                       13   identified, I believe -- or he did identify
    14      Q Were you recording at this point?             14   himself to the Cook County Sheriff as Sergeant
    15      A I believe it cut off shortly after she        15   Richard Bednarek with the Chicago Police
    16   was able to close the door and he was walking      16   Department; and he began conversating with the
    17   away. I believe I shut it off.                     17   Sheriff's Office -- or officer and kind of
    18      Q Why did you shut it off then?                 18   telling them, you know, his business there; and
    19      A I believe the police --                       19   that's kind of when I figured out who he was,
    20            Everything that happened was done         20   what he was doing and why he was there.
    21   and that the police were on their way.             21       Q Where did this conversation take
    22      Q Any reason you didn't record any              22   place?
    23   further interaction with the police being          23       A In the street of 72nd Street right at
    24   present?                                           24   the end of the driveway.


                                                      79                                                    81
     1       A No.                                           1      Q Where were you standing for this
     2       Q Did the police arrive?                        2   conversation?
     3       A They did.                                     3      A Right in front of the Cook County
     4       Q Do you remember which police arrived?         4   Sheriff officer.
     5       A Cook County Sheriff's Office.                 5      Q How many feet away were you from the
     6       Q Do you remember how many Cook County          6   Sheriff's officer?
     7   Sheriff's Officers showed up?                       7      A Five feet, if that.
     8       A Just one.                                     8      Q Was there anyone else present besides
     9       Q Do you remember the name of that              9   you, Mr. Bednarek and the Cook County Sheriff's
    10   officer?                                           10   officer?
    11       A I don't remember.                            11      A Upon first, you know, arrival, no; and
    12       Q Man or woman?                                12   then Reyna did come out of the home.
    13       A It was a male.                               13      Q About how many minutes from the time
    14       Q Taller than you? Shorter than you?           14   that this conversation started was it to the
    15       A About my height.                             15   time where Reyna came out of the home?
    16       Q How tall are you?                            16      A About ten minutes or so.
    17       A About five-ten.                              17      Q Let's talk about just the conversation
    18       Q Bigger than you or smaller than you?         18   with you, Mr. Bednarek and the officer before
    19       A Skinnier than me.                            19   Reyna comes out.
    20       Q About how much do you weigh?                 20      A Okay.
    21       A I weigh about 220. So I would say            21      Q Do you remember anything else that Mr.
    22   probably 180, 190.                                 22   Bednarek said during that time?
    23       Q About how long did it take from the          23      A No.
    24   time that Reyna closed the front door to the       24      Q Did you say anything during this


                                                                           21 (Pages 78 to 81)
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     1   conversation?                                       1       A He came back and just basically told
     2      A I did. I told him I had -- basically           2   Mr. Bednarek to leave and me; and I asked him
     3   that, you know, I'm kind of managing the            3   about everything; and he just said he will have
     4   property here. I live across the street. It's       4   a report of it; and that's that, and he left.
     5   my grandmother's home, you know, it's been in       5       Q Did you ask for a copy of that report?
     6   the family.                                         6       A I did not.
     7           I wasn't sure -- I told him that I          7       Q Did you ever ask to file any sort of
     8   was informed that he was driving around and         8   complaint or criminal charges?
     9   looking in the windows, kind of gave him the        9       A I did not.
    10   whole back story of, you know, how this kind of    10       Q Any reason?
    11   came about; and then I showed the officer the      11       A I didn't know what I would be able to
    12   video; and he kind of watched it; and then         12   file against or what would be what.
    13   basically gave my phone back to me.                13       Q So after the Cook County Sheriff
    14           I believe he recorded the video on         14   finished that conversation, what did the Cook
    15   his body cam because he kind of held it out in     15   County Sheriff do from what you could see?
    16   front of him as he was watching it and I believe   16       A He made sure that Mr. Bednarek left
    17   his body cam was active.                           17   and that I walked across the street home; and he
    18      Q Why do you believe his body cam was           18   sat there for 20 minutes or so inside of his
    19   active?                                            19   vehicle, and then he pulled away.
    20      A I saw the green light.                        20       Q I'm sorry. Where were you --
    21      Q It was a green light?                         21            Where did you go after Mr. Bednarek
    22      A It was.                                       22   left?
    23      Q Then --                                       23       A Across street home.
    24           So that all happened before Reyna          24       Q And so for you seeing the Cook County


                                                      83                                                      85
     1    came out; is that right?                           1   Sheriff's officer, was that through the window
     2        A Yes.                                         2   of your house?
     3        Q When Reyna came out, what happened?          3      A It was.
     4        A The officer went to talk to her and          4      Q Is that -- would that be, like, the
     5    kind of took her to the side.                      5   front room of your house?
     6        Q Where did that conversation take             6      A Front room, it would be.
     7    place?                                             7      Q Okay. So your --
     8        A Right in the middle of the driveway.         8            The front of your house looks at
     9        Q Could you hear what Reyna was saying         9   the front of 7038?
    10    to the officer?                                   10      A It does.
    11        A I could not.                                11      Q Your house back then?
    12        Q Could you hear what the officer was         12      A Correct, yes.
    13    saying to Reyna?                                  13      Q Do you remember if Mr. Bednarek said
    14        A I could not.                                14   anything that you could here after the Cook
    15        Q Where was Mr. Bednarek standing when        15   County Sheriff told him to leave?
    16    this conversation was going on?                   16      A No.
    17        A He moved over by the mailbox to the         17      Q Do you remember if the Cook County
    18    back end of where his truck was parked at.        18   Sheriff ever said any specific reason why Mr.
    19        Q Were -- was the farther away from           19   Bednarek would have to leave?
    20    Reyna and the officer than you were?              20      A No.
    21        A It was.                                     21      Q Do you remember hearing anything else
    22        Q Okay. On May 9th --                         22   from Reyna about this incident?
    23             Well, after the officer talked to        23      A No.
    24    Reyna, then what happened?                        24      Q Any other conversation that occurred


                                                                           22 (Pages 82 to 85)
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     1   from about -- during this May 9, 2019 incident      1            Did you hear yourself say, "I own
     2   that we haven't already talked about?               2   the home?"
     3      A No.                                            3       A I did.
     4         MR. COYNE: Could we take five? We             4       Q Why did you say that?
     5   have been going about an hour.                      5       A Again, my thought over the years is
     6         MR. LISY: Hold on, yes.                       6   it's a family property and that, yes, I would
     7         MR. COYNE: Whenever is convenient.            7   have some -- not ownership in it, but some
     8   BY MR. LISY:                                        8   ability to handle the property as I have been
     9      Q Was there anyone else who was ever             9   for 20-plus years.
    10   present for this May 9, 2019 incident besides      10       Q Fair to say you don't -- you didn't
    11   the Cook County Sheriff's officer, Mr. Bednarek,   11   actually own the home?
    12   yourself and Reyna.                                12       A I did not.
    13      A No.                                           13       Q To your knowledge, before May 9th of
    14      Q Okay.                                         14   2019, was there any dispute as to who owned this
    15         MR. LISY: Let's take a ten minute            15   property?
    16   break and then we'll jump in.                      16       A There was.
    17         THE VIDEOGRAPHER: The time is 11:38.         17       Q What was that dispute?
    18   We are going off the record.                       18       A In a will, estate dispute is all I
    19              (Whereupon a recess was                 19   got.
    20              taken after which the                   20       Q What was your understanding of who the
    21              proceedings resumed as                  21   people were that believed they owned the home?
    22              follows:)                               22       A It was my understanding that my father
    23         THE VIDEOGRAPHER: The time is 11:50.         23   had possession and ownership of the home.
    24   We are going back on the record.                   24       Q And who was disputing that, to your


                                                      87                                                      89
     1             Please proceed, Counsel.                  1   knowledge?
     2    BY MR. LISY:                                       2       A My Aunt Vicky Gow.
     3        Q Mr. Ferguson, I turned on this screen        3       Q Do you know if Ms. Gow had ever gone
     4    in the room. Can you see that video screen?        4   to the property before to try and remove tenants
     5        A I could.                                     5   from the property?
     6        Q Okay. I'm going to play for you what         6       A I don't recall.
     7    has been produced to us, or to the City from       7       Q Do you know if Ms. Gow had ever tried
     8    your attorney, as a video file. It's titled        8   to serve an eviction notice on the property
     9    ING_0409 (1.mov). I'm going to play it for you     9   before May 9th of 2019?
    10    and then may stop and ask some questions. If at   10       A I don't recall.
    11    any time you can't see it, please let me know     11       Q Do you know if Mr. Bednarek had ever
    12    and we will reconfigure so that you can.          12   been to the property before May 9th of 2019?
    13               (Whereupon the video was               13       A I don't recall.
    14               played and paused.)                    14       Q And I do just want to stop. I know we
    15             So I am going to stop this at 19         15   haven't finished the entire video. But is this
    16    seconds.                                          16   the video from May 9th of 2019.
    17             Would you agree, Mr. Ferguson, that      17       A This is.
    18    you are seeing the person -- the driver of the    18       Q All right. Is this the only video
    19    vehicle being Mr. Bednarek as you know him?       19   that you took, to your knowledge?
    20        A As I know him now, yes.                     20       A To my knowledge, it is, yes.
    21        Q And there is a voice that you are           21       Q I'm going to play some more of the
    22    hearing in the video, is that your voice?         22   video starting at 19 seconds.
    23        A It is.                                      23              (Whereupon the video was
    24        Q Did you see --                              24              played and paused.)


                                                                           23 (Pages 86 to 89)
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     1           I'm going to stop it here at 45             1              played and paused.)
     2   seconds.                                            2           I am going to pause it here at
     3           Do you see Mr. Bednarek in the              3   1:33.
     4   video at the moment?                                4            Do you see a woman in the video
     5       A I do.                                         5   that I have stopped it at?
     6       Q And you see you are looking at his            6      A I do.
     7   back basically?                                     7      Q And who is that?
     8       A Correct.                                      8      A That's Reyna.
     9       Q What do you see on Mr. Bednarek?              9      Q Keep playing.
    10       A Street clothes, plain clothes.               10              (Whereupon the video was
    11       Q Fair to say he is not in a Chicago           11              played and paused.)
    12   Police Officer uniform?                            12            Mr. Ferguson, at any point in that
    13       A Correct.                                     13   video, did you hear Mr. Bednarek say that he was
    14       Q Did you hear yourself on the video say       14   a Chicago Police Officer?
    15   that you are the owner of the property, and that   15      A No.
    16   you are trespassing?                               16      Q Did you hear yourself telling Reyna to
    17       A Correct.                                     17   close the door?
    18       Q Why did you say that Mr. Bednarek was        18      A I did.
    19   trespassing?                                       19      Q Why did you tell her that?
    20       A I mean, he is on the property without        20      A I have no idea who this man is. As
    21   knowledge of who he is, what he is doing. You      21   you can see in the video, he is carrying a gun;
    22   know, my father had possession of the property     22   she is in the home by herself. You can see the
    23   at that point. He was incarcerated.                23   hostility of the man. I mean, it's clear as day
    24           I was tasked to maintain the               24   why I would tell her to close the door and stand


                                                     91                                                       93
     1   property and kind of be in charge of the            1   back. She is not the person who was ultimately
     2   property during this time. And trying to get an     2   given the property to be a tenant of, and I --
     3   answer of who this man is and his needs and         3             (Whereupon the
     4   wants for a property that, again, has been like     4             videographer addresses a
     5   my second home all my life.                         5             technical issue.)
     6       Q But again, fair to say, you weren't           6         THE VIDEOGRAPHER: I'm sorry. The time
     7   the owner of the property?                          7   is 11:58. We are going off the record.
     8       A Correct.                                      8             (Whereupon a recess was
     9       Q And you understood that at this point         9             taken after which the
    10   there was a dispute over who owned it?             10             proceedings resumed as
    11       A Yes. I wouldn't say --                       11             follows:)
    12            I don't know the details -- details       12         THE VIDEOGRAPHER: The time is 12:01.
    13   of the dispute, but, yeah, I believe she made a    13   We are going back on the record.
    14   claim against my father having possession and      14           Please proceed.
    15   ownership of it; and at this point it was, you     15         MR. LISY: Ms. Court Reporter, could
    16   know, going through the process, I guess.          16   you read back his answer to the extent you have
    17       Q Was that a court process?                    17   it?
    18       A It was.                                      18             (Whereupon the record was
    19       Q Had you ever participated in any part        19             read as requested.)
    20   of that court process?                             20   BY MR. LISY:
    21       A None.                                        21       Q Mr. Ferguson, to the extent you have
    22       Q So I am going to keep playing the            22   any more to add to that, was there any reason
    23   video.                                             23   you were telling Reyna to close the door?
    24               (Whereupon the video was               24       A Nothing more.


                                                                            24 (Pages 90 to 93)
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     1       Q Okay. What was the --                         1       Q What does it stand for?
     2           Did you hear yourself in the video          2       A I believe it's the name -- the first
     3   tell Reyna not to accept whatever the piece of      3   names or the last names of the business partners
     4   paper was?                                          4   that he has.
     5       A I did.                                        5       Q Have you ever worked for KMF
     6       Q Okay. Why did you tell her that?              6   Properties in official capacity?
     7       A Didn't know, again, what the paper was        7       A Never.
     8   until he mentioned it. Didn't know his ability      8       Q In your previous experience serving a
     9   to do what he was claiming to do; and just          9   5-day notice, were you officially made a process
    10   ultimately her not being the -- kind of the        10   server in any way?
    11   person that would take it and be responsible for   11       A No.
    12   a true 5-day notice.                               12       Q Any sort of court appointment or
    13       Q What do you mean, a true 5-day notice?       13   licensure?
    14       A I don't know the process of how it           14       A Nope.
    15   works, but ultimately my guess would be that it    15       Q Why did you serve the 5-day notice for
    16   would be served upon the person who has the        16   KMF Properties?
    17   agreement of the property and not just anybody;    17       A My father was incarcerated.
    18   and I knew she was kind of in and out and wasn't   18       Q Who asked you to serve that notice?
    19   a true tenant of the home.                         19       A The company itself.
    20       Q Where does that understanding of yours       20       Q Do you remember who; specifically the
    21   come from?                                         21   person's name who asked you?
    22       A I guess just a thought of mine.              22       A I think Christina.
    23       Q Have you ever had any experience in          23       Q Do you know Christina's last name?
    24   serving a 5-day notice?                            24       A I don't.


                                                     95                                                      97
     1      A I do.                                          1       Q Where is that apartment located or the
     2      Q As in have you served one or been the          2   building located?
     3   recipient of one?                                   3       A 78th and Harlem Avenue in Bridgeview,
     4      A I have served one, yes.                        4   Illinois.
     5      Q When was that?                                 5       Q That video that we just watched, is
     6      A I don't know. I have probably served           6   that the entirety of the recording that you
     7   several of them to an apartment building that's     7   took?
     8   owned in the family.                                8       A I believe so.
     9      Q When was the last time you served a            9       Q And no other recordings or anything
    10   5-day notice on someone?                           10   else captured; is that fair?
    11      A Probably in 2018.                             11       A That's fair to say; to the best of my
    12      Q Those apartment buildings, do you own         12   knowledge, yes.
    13   any of them by name?                               13       Q At any point in time, did you hear Mr.
    14      A I don't.                                      14   Bednarek threaten you?
    15      Q You say that they are in the family.          15       A No.
    16   Do you know who owns them?                         16       Q Fair to say Mr. Bednarek was not
    17      A It's a business of my father's.               17   wearing any police uniform in that video?
    18      Q What is that business?                        18       A Correct.
    19      A KM&F Properties.                              19       Q Did he remain in those same clothes
    20      Q Sorry. Could you repeat that again?           20   throughout the entire incident on May 9th of
    21      A K, like kite; M, like Mary; F like            21   2019?
    22   Ferguson -- excuse me -- Properties.               22       A He does.
    23      Q Does that stand for something?                23       Q The vehicle that you saw in that video
    24      A It does.                                      24   that Officer -- excuse me -- that Mr. Bednarek


                                                                           25 (Pages 94 to 97)
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     1    got out of, did that have any sort of markings    1   on that vehicle that identifies it as a City of
     2    that it was an official vehicle in any way?       2   Chicago vehicle?
     3       A It did not.                                  3      A No.
     4       Q Any markings that it was a Chicago           4      Q Why did you take that picture?
     5    Police Department vehicle?                        5      A For my records to be sure that I could
     6       A None.                                        6   have knew who it was if I needed to, turn this
     7       Q Or a City of Chicago vehicle?                7   into the police and/or find out information on
     8       A None.                                        8   who this person was.
     9       Q At any point in time on May 9th of           9      Q I'm going to show you what has been
    10    2019, did Mr. Bednarek tell you that he was      10   produced by plaintiff as Unnamed1.jpg.
    11    working on behalf of the Chicago Police          11              (Whereupon said document
    12    Department?                                      12              was screen shared with
    13       A No.                                         13              the witness.)
    14       Q Did Mr. Bednarek tell you that he was       14            Do you see this photograph on the
    15    working on behalf of the City of Chicago?        15   screen?
    16       A No.                                         16      A I do.
    17       Q Did Mr. Bednarek ever tell you that he      17      Q Do you recognize that photograph?
    18    was conducting police business?                  18      A I do.
    19       A No.                                         19      Q Did you take that photograph?
    20       Q So I'm going to show you some               20      A I did.
    21    photographs that were produced to us.            21      Q And what is it a picture of?
    22           MR. COYNE: Is that going to be marked     22      A Apparently a 5-day notice.
    23    as Exhibit 3, this video?                        23      Q Was this the same piece of paper that
    24           MR. LISY: I am not going to make an       24   Mr. Bednarek had put, or dropped through the


                                                     99                                                   101
     1    exhibit. I just identified it.                    1   door?
     2           MR. COYNE: I just want to get a copy       2      A It was.
     3    of it, so just make sure I have a copy. We can    3      Q Okay. So how did you get that piece
     4    resolve that later.                               4   of paper?
     5                 (Whereupon said document             5      A Reyna gave it to me.
     6                 was screen shared with               6      Q At what point --
     7                 the witness.)                        7            Well, let me back up.
     8    BY MR. LISY:                                      8            Was this picture taken on May 9th
     9        Q I am showing you what has been              9   of 2019?
    10    produced by plaintiff titled Unnamed2.jpg. Do    10      A I believe it was.
    11    you see the picture that I'm showing you?        11      Q And at what point during this
    12        A I do.                                      12   intersection did you take this picture?
    13        Q Did you take that picture?                 13      A I believe at the very end.
    14        A I did.                                     14      Q And the same for the photograph you
    15        Q What is that a picture of?                 15   took of the back of the vehicle, at what point
    16        A The license plate of the vehicle.          16   did you take that picture?
    17        Q Is that the vehicle that Mr. Bednarek      17      A That might have been taken as I walked
    18    was driving?                                     18   up or -- and after everything and he was
    19        A It was.                                    19   leaving.
    20        Q Is there anything in that picture on       20      Q Would you agree that -- with me that
    21    that vehicle that identifies it as a Chicago     21   --
    22    Police Department vehicle?                       22            It might be hard to see with the
    23        A No.                                        23   chairs. Feel free to stand up.
    24        Q Is there anything in that picture or       24            (Continuing).


                                                                        26 (Pages 98 to 101)
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     1             -- that towards the bottom               1   about July 12th of 2019.
     2    right-hand portion of the paper, there appears    2            Do you remember if you worked that
     3    to be a signature?                                3   day?
     4        A There does.                                 4      A I did not. I believe it was --
     5        Q Do you know whose signature that is?        5            I believe it was a Saturday or a
     6        A I don't.                                    6   Friday night or a Saturday.
     7        Q Any reason that the picture you             7      Q If I represented to you that,
     8    took --                                           8   according to the calendar on my phone, July 12,
     9             Let me back up.                          9   2019 was a Friday, does that sound about right?
    10             Would you agree with me that this       10      A It does.
    11    piece of paper is folded?                        11      Q Okay. At some point, you end up
    12        A Yes.                                       12   around the area of 7038 West 72nd Street; is
    13        Q Right? It's not a full sheet of paper      13   that right?
    14    in the picture?                                  14      A Correct.
    15        A Correct.                                   15      Q Okay. How does that work out?
    16        Q Any reason you only took a picture of      16      A I lived across the street from there
    17    the -- of it as it was folded as opposed to      17   for one; but for two, I was out to dinner with
    18    unfolding it?                                    18   my wife and my children in the early evening of
    19        A I believe there is nothing below the       19   July 12th of 2019.
    20    signature. It's just the bottom half of empty    20            Then I got a phone call from Paul
    21    paper.                                           21   Shinstine letting me know that there was
    22        Q Do you know who signed that?               22   somebody over here -- over at that property who
    23        A I believe Mr. Bednarek did this. He        23   was basically harassing him and telling him he's
    24    indicated in the video.                          24   going to go to jail and telling him he's


                                                   103                                                     105
     1       Q Okay. Do you remember if you took any        1   trespassing, and asked me if I could arrive at
     2   other pictures from the May 9th of 2019            2   the property.
     3   incident?                                          3       Q So at the time you got this phone
     4       A That picture I know, the video, the          4   call, where were you? You said out to dinner,
     5   license plate. I don't believe I took any more,    5   but where?
     6   to the best of my knowledge.                       6       A We were actually headed home from --
     7       Q Fair to say you don't believe you took       7           We were actually heading to her
     8   any more video, right?                             8   grandmother's house in Hickory Hills.
     9       A Correct.                                     9       Q Did you have this phone call on
    10       Q Okay. At any point in time on May 9th       10   speaker phone?
    11   of 2019, were you placed in handcuffs?            11       A I did not.
    12       A No.                                         12       Q And when you say heading to
    13       Q Were you placed in the back of a            13   grandmother's house, that's your wife's
    14   police car?                                       14   grandmother?
    15       A No.                                         15       A My wife's grandmother, correct.
    16       Q Did anyone ask for or want to have you      16       Q What time roughly did you get this
    17   arrested?                                         17   phone call?
    18       A No.                                         18       A 7:00-ish maybe; 7:00 p.m.-ish.
    19       Q Is there anything else you remember         19       Q So what did you do after you got this
    20   now after viewing this video or viewing these     20   phone call from Mr. Shinstine?
    21   pictures that occurred on May 9th of 2019 that    21       A I told him that I would be there
    22   we haven't already talked about?                  22   shortly; that I would then drop my wife and
    23       A No.                                         23   children off at her grandmother's house and come
    24       Q So I want to ask you some questions         24   over and head over there.


                                                                      27 (Pages 102 to 105)
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     1       Q How far from -- how far is your home          1   Chicago Police Department uniform?
     2   from your wife's grandmother's house?               2      A Correct.
     3       A Probably, like, five minutes or so.           3      Q The vehicle that he drove in, was this
     4       Q So do you eventually --                       4   the same vehicle that he was in on May 9th of
     5           Do you drop your wife and your kids         5   2019?
     6   off?                                                6      A Correct.
     7       A I do.                                         7      Q Had you had any other interaction with
     8       Q Do you make your way back to 7038 West        8   Mr. Bednarek between May 9th of 2019 and July
     9   72nd Street?                                        9   12th of 2019?
    10       A I do.                                        10      A I did not.
    11       Q What happens when you get there?             11      Q Had you had any intersection with your
    12       A I pull up, I parked in the driveway of       12   Aunt Vicky Gow between May 9th of 2019 and July
    13   the neighbor of 7038, and got out; and it was      13   12th of 2019?
    14   completely dark. And I saw Paul's truck was in     14      A I did not.
    15   the driveway.                                      15      Q Had you come to learn of any
    16           I saw Mr. Bednarek had his vehicle         16   additional information regarding the property at
    17   blocking the driveway so Paul would not be able    17   7038 West 72nd Street between May 9th of 2019
    18   to leave. I walked up and I recognized that it     18   and July 12th of 2019?
    19   was Mr. Bednarek again. And he said that "I'm      19      A I did not.
    20   going to have everybody arrested for               20      Q When you saw this landlord's 5-day
    21   trespassing. I'm calling the cops right now."      21   notice paper that -- on May 9th of 2019, did you
    22   He gets on the phone.                              22   call anybody to figure out what this paper was
    23           My knowledge or my thought was is          23   about?
    24   he had made a phone call, not to 911 or            24      A I did. I asked my dad about what


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     1   non-emergency because the conversation he had       1   basically the 5-day notice that he gave, but
     2   was, "can you send me through?" And that was        2   ultimately was advised that, you know, he has
     3   his words; and then he had somebody on the line,    3   ownership of the home and not to worry about it.
     4   then says "I'm over here now. Can you come          4      Q Your dad -- excuse me. Terry
     5   now?"                                               5   Ferguson, your father, told you that he, Terry
     6           And he ended the call and didn't            6   Ferguson, owned the home. Don't worry about it?
     7   give an address, didn't -- I don't believe he       7      A Correct.
     8   gave an address. I don't believe he gave            8      Q Did you ever speak to anyone besides
     9   anything other than the officer showing up a        9   your father?
    10   couple minutes later.                              10      A I did not.
    11      Q Okay. So when you get to 7038 West            11      Q Was your father incarcerated at the
    12   72nd Street, Mr. Shinstine is there?               12   time?
    13      A Shinstine.                                    13      A He was.
    14      Q Shinstine, excuse me. Shinstine is            14      Q Did you ever speak to Vicky Gow about
    15   there; Mr. Bednarek is there. Is anybody else      15   this?
    16   present?                                           16      A I did not.
    17      A Nobody else.                                  17      Q So July 12th of 2019, Mr. Bednarek
    18      Q What was Mr. Bednarek wearing?                18   says that he's going to have everyone arrested
    19      A He was wearing a -- the blue, I               19   for trespassing; is that right?
    20   believe it's what it's termed as, shirt tucked     20      A Correct.
    21   into his jeans with his gun in his waist and the   21      Q He didn't tell you he was a Chicago
    22   Chicago Police star with the "save the blue"       22   Police Officer at the time?
    23   shirt that he was wearing.                         23      A Correct.
    24      Q Fair to say he wasn't wearing a               24      Q And then at some point, the Cook


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     1   County Sheriff's officers show up?                  1   the officer, "Why am I being arrested? Why am I
     2      A Correct.                                       2   in handcuffs?" And I was just kind of led to
     3      Q They show up about, would you say five         3   the squad car.
     4   minutes after he made a phone call?                 4       Q SO at this point how many Cook County
     5      A I would say, yeah, less than five              5   Sheriffs arrived in the beginning?
     6   minutes.                                            6       A There was just one.
     7      Q Fair to say you don't know what number         7       Q Do you remember male or female?
     8   he dialed? Mr. Bednarek, I'm talking about.         8       A It was a male.
     9      A Correct.                                       9       Q Do you remember this person's name?
    10      Q What happens when the Cook County             10       A I believe it was Officer Mercado, but
    11   Sheriff's show up?                                 11   again, I could be wrong, but I believe staring
    12      A Before he gets there, you know, like I        12   at his name tag as I was, you know, being placed
    13   said, I walked up; Mr. Bednarek said he was        13   in handcuffs, I believe it was Officer Mercado.
    14   going to have everybody arrested for               14       Q So you said that you felt that you
    15   trespassing. Mr. Shinstine said well, "I'm         15   were caught in the middle of a family dispute;
    16   trying to leave but you are blocking me in," and   16   is that right?
    17   he says "I'm not letting anybody leave."           17       A Correct.
    18            And then so he couldn't -- Paul           18       Q So was -- what was that dispute, to
    19   could not leave; I stood on the sidewalk; Mr.      19   your knowledge?
    20   Bednarek stood right on the porch and made the     20       A Who was the rightful owner of the
    21   phone call. Then the Cook County Sheriff's         21   property, I guess.
    22   officer comes; he pulls up; he parks kind of in    22       Q So was there a concern in your mind
    23   the opposite direction of traffic, kind of right   23   that you weren't sure who the rightful owner of
    24   in front of the home.                              24   the property was?


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     1           He gets out and that's -- Mr.               1       A When this began in May and then
     2   Bednarek says, "I want him arrested for             2   continued on and happened again in July, yes, I
     3   trespassing." The Cook County Sheriff grabbed       3   wasn't sure. I wasn't involved in any of the
     4   my hand; Mr. Bednarek put his hands on me,          4   proceedings. I wasn't involved in the family
     5   turned me around and I was placed in handcuffs.     5   dispute of that. I just simply, at that point,
     6      Q Did Mr. Bednarek say anything else at          6   knew something -- I had no answers to it.
     7   that point?                                         7       Q Is it fair to say that you didn't know
     8      A I mean, he said so much stuff I                8   whether Mr. Bednarek was supposed to be serving
     9   couldn't even recall, to be honest with you.        9   that 5-day notice back on May 9th of 2019?
    10      Q What did you say in response -- if            10       A Correct.
    11   anything, in response to what Mr. Bednarek said?   11       Q Fair to say that you didn't know
    12      A I asked how was I trespassing? I              12   whether Mr. Bednarek was supposed to be serving
    13   basically begged to talk it out, figure out what   13   that 5-day notice on July 12th of 2019?
    14   needed to be done; that I would be willing to do   14       A I didn't -- yes, correct.
    15   whatever, you know, was right.                     15       Q You didn't know one way or the other?
    16           I felt like I was caught in the            16       A Correct.
    17   middle of a family dispute of the property. I      17       Q Do you know, as you sit here today,
    18   didn't know who was coming, who was going in a     18   if --
    19   sense.                                             19           You said that you were placed in
    20           And I just basically -- as I was           20   handcuffs. Do you know whose handcuffs those
    21   being led to the car, just kind of begged to,      21   were?
    22   you know, to not be arrested for trespassing,      22       A The Cook County officer.
    23   which I didn't think I was trespassing, but        23       Q The Cook County Sheriff?
    24   ultimately, you know, just kind of kept begging    24       A Correct.


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     1      Q Did Mr. Bednarek ever place handcuffs          1   the time -- between the time that you're first
     2   on you?                                             2   put in the car until the time that Mr. Bednarek
     3      A No.                                            3   spoke to you?
     4      Q At this point that you are saying that         4      A They basically told me if I don't get
     5   you get taken to a police car; is that right?       5   the tenant here that I'm going to jail, you
     6      A Correct.                                       6   know, that I will be charged with trespassing;
     7      Q Are you ever taken to Mr. Bednarek's           7   then I will have to post bond. Do I want to get
     8   car?                                                8   the tenant here and get him out now?
     9      A No.                                            9            Basically just telling me that I --
    10      Q So you get to the police car and what         10   in order to get away from this and/or to stop
    11   happens?                                           11   this, I need to have the tenant come and
    12      A I'm put in the back there and then            12   basically move out that day.
    13   they are standing in the front of the car          13      Q And it was the Cook County Sheriffs
    14   talking to each other; and then another Cook       14   that told you this?
    15   County Sheriff officer responds; and then          15      A It was a combination of Mr. Bednarek
    16   shortly after a third.                             16   and the Sheriffs kind of back and forth
    17      Q So when you are in the back of this           17   conversating.
    18   police car, do you kind of have a conversation     18      Q So you're in the back of the police
    19   with anyone at any point?                          19   car; Mr. Bednarek has this conversation with you
    20      A Yes, Mr. Bednarek opens the door, you         20   and you have this -- you talked to the Cook
    21   know, and kind of starts belittling me and         21   County Sheriffs; then what happens?
    22   berating me and yelling, you know, that they       22      A I'm just sitting there and then they
    23   need to get out of the property.                   23   are in the front of the car that I'm sitting in
    24           I'm not -- he is going to have me          24   and, you know, I could hear the conversation.


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     1   arrested for trespassing. He is going to sign       1   And they're basically asking him what right does
     2   all the paperwork showing -- you know, saying       2   he have to charge, you know, to want to press
     3   that he wants me arrested. I need to get the        3   charges for trespassing?
     4   tenants out of the home; and just kind of, you      4            And he's, you know, going on about
     5   know, just screaming through the door.              5   how he was the process server, but that he's
     6       Q What, if anything, do you say in              6   dating the, you know, potential heir of the
     7   response?                                           7   estate, my aunt.
     8       A I told him, "I'll do whatever I need          8            And they're telling him, you know,
     9   to do. I don't want to be in this situation. I      9   basically that we'll have him arrested, but you
    10   don't -- you know, I'm not involved in anything    10   know, for trespassing if he'll sign the
    11   that is going on between that. I was simply        11   complaint; and then you just basically hear him,
    12   doing what I have been doing for years. I will     12   like, "I want him arrested;" and they're saying
    13   do whatever I need to do to avoid this."           13   okay.
    14       Q Did Mr. Bednarek say anything else to        14            And then, you know, they kind of
    15   you when you were sitting in the back of the       15   kept changing the story about whether he was
    16   police car?                                        16   rightful to be able to press charges for
    17       A No.                                          17   trespassing.
    18       Q Did any of the Cook County Sheriffs          18      Q All right. When you're saying they
    19   say anything to you that you remember sitting in   19   are asking him, do you mean "they" being the
    20   the back of the police car?                        20   Cook County Sheriffs?
    21       A Not direct --                                21      A All three of the Cook County Sheriffs,
    22            I mean, if you're talking the whole       22   correct.
    23   thing, or are we going to eventually get there.    23      Q And the "him," do you mean Mr.
    24       Q Well, let's start from right now, from       24   Bednarek?


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     1       A Correct.                                      1   movies with his daughter, and, you know, I
     2       Q You said -- when you are talking about        2   begged him. I said, "you know, I hate to do
     3   that Mr. Bednarek was saying that he wanted you     3   this to you, man. I know you're spending time
     4   arrested, at any point in time did Mr. Bednarek     4   with your family, but the only way they are not
     5   tell you, "I'm placing you under arrest?"           5   going to arrest me for trespassing is if you
     6       A No.                                           6   come and accept this 5-day notice."
     7       Q So what happens after you hear this           7            And, you know, much to his dismay,
     8   conversation between the Cook County Sheriffs       8   he didn't want to because he was in the middle
     9   and Mr. Bednarek?                                   9   of a movie with his daughter at the show, but he
    10       A I just continued -- the conversation,        10   did agree to come; and basically they put me
    11   just continued that, you know, Mr. Bednarek said   11   back into the squad car until he came. It took
    12   he was just trying to scare me. At some point,     12   him some time to get there; and then basically
    13   I believe they may have, you know, not shown       13   that's kind of where -- not where we ended, but
    14   that he has the ability to do that.                14   where we're at.
    15            He was in his truck searching for         15       Q Okay. So let's talk about a couple
    16   paperwork in the box. He was providing             16   things. You mentioned police code. What did
    17   paperwork to them; and they were just kind of      17   you mean by that?
    18   talking; and ultimately then they would open the   18       A That I just feel like they, you know,
    19   door; and say "Hey, the only way he's letting      19   like they were -- be like, you know, I just want
    20   you go and he is not signing a complaint against   20   to scare him. They kind of knew that maybe I
    21   you is if you get the, you know, the tenant here   21   did nothing wrong or he didn't have the ability
    22   to accept the 5-day notice."                       22   to, but once, you know, he basically was arguing
    23            And I told them, I said, "I will do       23   his position that he had the right to, and they
    24   whatever I need to do;" and then they would        24   were disputing it.


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     1   close the door and go back and talking and it       1            He then went ahead to say he just
     2   just continued.                                     2   wanted to scare me, if they could help him out;
     3            They'd come back and say, "Are you         3   and so they agreed to it and basically left me
     4   going to get him here?" And I told them, like,      4   there.
     5   "I'm in handcuffs. How do you want me to get        5       Q When you were in the back of this
     6   the guy here? Are you going to let me call him?     6   police car, where were the Cook County Sheriffs
     7   Are you going to let me do that?"                   7   and Mr. Bednarek standing when they were
     8            And then they would close the door         8   talking?
     9   and they would go talk again; and Mr. Bednarek      9       A Right on the hood of the car that I
    10   would just say, you know, "I'm just trying to      10   was in.
    11   scare him."                                        11       Q All right. Were the windows down or
    12            You know, that's what -- basically,       12   up?
    13   like, talking in, I would say police code, like    13       A The passenger's side window, I
    14   basically telling them, you know, thank you for,   14   believe, was cracked slightly.
    15   you know, letting me scare him. If we get the      15       Q So you could hear what the officers --
    16   tenant here, this will allow me to get him out     16   what the Sheriffs were saying?
    17   faster. The only thing I want is the tenant --     17       A I heard everything, yes.
    18   I want him out of here.                            18       Q And you could hear what Mr. Bednarek
    19            And so then it ultimately led to          19   was saying?
    20   after several -- a couple hours of being, you      20       A Absolutely.
    21   know, in the backseat of the car, that they        21       Q Was anyone besides --
    22   allowed me to get out and make a phone call to     22            You said three Cook County
    23   Mr. Halloron.                                      23   Sheriffs. Was there anyone besides three Cook
    24            And I told him -- he was at the           24   County Sheriffs and Mr. Bednarek as part of


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     1   these conversations?                                1      Q Any other video footage that you are
     2      A A part of those conversations, no, but         2   aware of from this incident?
     3   shortly in the midst of all that, Paul did          3      A Not that I am aware of.
     4   contact my sister and my brother, who did show      4      Q Do you know if any of your family,
     5   up at the property and did witness, ultimately,     5   your sister, your brother-in-law or your brother
     6   Mr. Bednarek opening the door, you know, kind of    6   who arrived, if they took any video or photos?
     7   yelling and stuff, and, you know, they were --      7      A I don't believe so.
     8   the officers would go over and talk to them; and    8      Q Do you know if Mr. Halloron or Mr.
     9   you could hear them kind of -- not screaming,       9   Shinstine took any video or photos?
    10   but like how is he able to do this? It was kind    10      A They did not.
    11   of all just right outside the squad car in a       11      Q Do you know if Reyna took any video or
    12   sense.                                             12   photos?
    13      Q So did you --                                 13      A Not that I know of.
    14            So were you inside the Cook County        14      Q Do you know if Reyna took any video or
    15   Sheriff's vehicle when you saw your brother and    15   photos from May 9th of 2019?
    16   your sister?                                       16      A No.
    17      A When I saw them arrive, yes.                  17      Q Have you ever posted any videos or
    18      Q Was that Tabatha Soto?                        18   photographs from either May 9, 2019 or July 12,
    19      A It was.                                       19   2019 on any website?
    20      Q And it was your sister who arrived?           20      A No.
    21      A Correct.                                      21      Q So you're in the back of this police
    22      Q Was that Robert Soto, your brother,           22   vehicle; you call Mr. Shinstine. What happens
    23   who arrived?                                       23   then?
    24      A My brother-in-law, correct.                   24      A I called Mr. Halloron.

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     1       Q At what point did Terry Ferguson, Jr.         1      Q I'm sorry. Mr. Halloron.
     2   arrive?                                             2      A Mr. Shinstine is present.
     3       A All at the same time. They all came           3      Q I apologize.
     4   at the same time. I believe they drove              4            Mr. Halloron, you call him; then
     5   together.                                           5   what happens?
     6       Q Did you see Terry Ferguson when you           6      A He comes to the -- he, you know, like
     7   were sitting in the back of that police car?        7   I said, out of dismay, he does come to try to
     8       A I did.                                        8   help me out, of course. He pulls in the
     9       Q Did you ever see Vicky Gow on July            9   driveway; and immediately Mr. Bednarek heads
    10   12th of 2019?                                      10   over to his truck; and you can see that there is
    11       A Towards the end of the night, I did.         11   kind of some type of verbal disagreement and/or
    12       Q Okay. So -- oh, have you ever watched        12   argument that kind of ensues just by their body
    13   any video that depicted what happened on July      13   language that I was able to see kind of from the
    14   12th of 2019?                                      14   back, because I wasn't too far from where he
    15       A I did.                                       15   pulled in the driveway at.
    16       Q When was the last time you watched           16      Q I'm sorry if I missed this.
    17   that video?                                        17            Were you still inside the police
    18       A Couple years ago probably, I would           18   vehicle at the time?
    19   say. I think I got the body camera footage some    19      A I was.
    20   time mid-September of '19, maybe, I think they     20      Q All right. Could you hear anything
    21   gave it to me. So some time around then.           21   that Mr. Bednarek said to Mr. Halloron?
    22       Q You mentioned body camera footage. Do        22      A I could not.
    23   you know whose body camera it was?                 23      Q Could you hear anything that Mr.
    24       A The Cook County Sheriffs.                    24   Halloron said to Mr. Bednarek?


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     1       A I could not.                                  1   about?
     2       Q Could you see if there was any                2       A No.
     3   exchange of any documents or things?                3       Q Did you have any conversation with
     4       A I believe he gave him his ID. I               4   Reyna besides what we have already talked about
     5   believe Mr. Halloron presented what looked to me    5   for July 12th of 2019?
     6   like him handing him his ID.                        6       A She wasn't present but, no, I had no
     7       Q Halloron handed Bednarek an ID?               7   conversation with her.
     8       A Yes.                                          8       Q Did you have any conversation with Mr.
     9       Q Okay. So you see this interaction             9   Shinstine besides what we have already talked
    10   between Mr. Bednarek and Mr. Halloron. Then        10   about?
    11   what happens?                                      11       A No.
    12       A They have a conversation. It appears         12       Q Did you talk to your sister, brother
    13   that all of them are talking, and then             13   or brother-in-law at any point?
    14   ultimately that 30 minutes or so goes by, I        14       A They did come over after kind of
    15   believe it was, and ultimately then they let me    15   everything cleared up. They walked across the
    16   -- they come and they, you know, take me out of    16   street; we stayed in the driveway; and we just
    17   the vehicle.                                       17   kind of watched everybody disperse.
    18       Q Who takes you out of the vehicle?            18             And at that point, my wife was
    19       A The Cook County Sheriffs.                    19   still calling and calling; and I answered; and I
    20       Q What happens after you are taken out         20   immediately left after everybody -- all the
    21   of the vehicle?                                    21   officers dispersed and, you know, my aunt and
    22       A I was basically told that he accepted        22   Mr. Bednarek and stuff. I got in my truck; and
    23   the 5-day notice; and that they were going to --   23   I went back to where my children and my wife
    24   you know, he was going to move out, and that       24   were at her grandmother's house.


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     1   everything went kind of as they wanted it to go;    1       Q Did you talk about the incident at all
     2   and I was free to go.                               2   with your brother, brother-in-law, or your
     3       Q So when you say "he accepted the 5-day        3   sister in your driveway after the incident?
     4   notice," is that Mr. Halloron?                      4       A No. There was no real conversation.
     5       A Correct.                                      5   It was along the lines of, you know, basically
     6       Q And was it your understanding then            6   get home, go get back to Larissa, my wife, and
     7   that no one was pressing charges against you        7   the kids and, you know, they saw everything and
     8   anymore?                                            8   kind of knew everything.
     9       A Correct.                                      9       Q Do you remember having any
    10       Q And after being told you were free to        10   conversation with Vicky Gow on July 12th of
    11   go, what did you do?                               11   2019?
    12       A I went home right across the street.         12       A I think I walked past her. She was
    13   I walked home right across the street.             13   parked on the opposite side of the street on the
    14       Q Did you have any further conversation        14   side of my home, in front of my home, and when I
    15   with any of the Cook County officers besides       15   was kind of let go I walked past her. And I
    16   what you already told us here today?               16   simply said to her, I said, "I would do whatever
    17       A I did not.                                   17   I needed to figure this out;" and she said,
    18       Q Did you have any further conversation        18   "fuck you," you know, "you are not my nephew,"
    19   with Mr. Bednarek besides what we have already     19   blah-blah-blah.
    20   talked about here today?                           20             So I told her the same thing back
    21       A I did not.                                   21   basically; and then she yells real loud, "Rich,
    22       Q Did you have any further conversation        22   get him, Rich. Get him, lock him back up,
    23   -- did you have any conversation with Mr.          23   Rich." And I just continued into my driveway
    24   Halloron besides the phone call that you talked    24   and kind of up, you know, the middle of the


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     1   driveway and just stood there, and that was the    1      A Outside of telling the Cook County
     2   end of that.                                       2   Sheriffs he was a Chicago Police sergeant, no.
     3      Q What is your understanding of Mr.             3      Q Besides identifying himself as a
     4   Bednarek's connection, if at all, to Ms. Gow?      4   Chicago Police sergeant, did he ever say that he
     5      A Well, I now know that they have a             5   was there to conduct work on behalf of the City
     6   romantic relationship; that they're significant    6   of Chicago?
     7   others; they apparently reside together and        7      A No.
     8   that's the nature of it.                           8      Q Did he say or tell anyone that you
     9      Q Do you know when that relationship            9   heard that he, Mr. Bednarek, was there
    10   started?                                          10   conducting police business?
    11      A I don't.                                     11      A No.
    12      Q Do you know when they started living         12      Q I'm going to show you some of the
    13   together?                                         13   video that has been produced to us in this case,
    14      A I don't.                                     14   and some of it is dark so I am going to turn off
    15      Q Did you take any video on July 12th of       15   the lights real quick.
    16   2019?                                             16      A Sure.
    17      A I did not.                                   17      Q And if you need to move, please let me
    18      Q Did you take any pictures on July 12th       18   know.
    19   of 2019?                                          19      A Absolutely.
    20      A I did not.                                   20         THE VIDEOGRAPHER: I need to change the
    21      Q Did you take any recordings at all of        21   media file.
    22   what was going on around 7038 West 72nd Street    22         MR. LISY: Great, let's take a five
    23   on July 12th of 2019?                             23   minute break then.
    24      A I did not.                                   24         THE VIDEOGRAPHER: The time is 12:39.


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     1      Q Is it fair to say Mr. Bednarek was            1   We have reached the conclusion of Media File No.
     2   wearing street clothes?                            2   1. We are going off the record.
     3      A Sure.                                         3               (Whereupon a recess was
     4      Q Wasn't police uniform, right?                 4               taken after which the
     5      A Correct.                                      5               proceedings resumed as
     6      Q Wasn't driving a City of Chicago              6               follows:)
     7   vehicle as far as you could tell?                  7          THE VIDEOGRAPHER: The time is 12:44.
     8      A Correct.                                      8   This is Media File No. 2. We are continuing the
     9      Q Wasn't driving a Chicago Police               9   deposition of Timothy Ferguson.
    10   Department vehicle as far as you could tell?      10            Please proceed, Counsel.
    11      A Correct.                                     11   BY MR. LISY:
    12      Q At any point on July 12th of 2019, did       12      Q Mr. Ferguson, just so I can
    13   Mr. Bednarek tell you that he was working on      13   understand, how long was it from the time that
    14   behalf of the Chicago Police Department?          14   the Cook County Sheriff showed up to the time
    15      A No.                                          15   that you were put into the back of one of their
    16      Q Did Mr. Bednarek ever tell you that he       16   cars?
    17   was working on behalf of the City of Chicago?     17      A Can you repeat the question?
    18      A No.                                          18      Q Sure. I'm trying to understand how
    19      Q Did Mr. Bednarek ever tell you that he       19   long was it, you know, from the time that the
    20   was conducting police business?                   20   Cook County Sheriff's officers first showed up
    21      A No.                                          21   until the time you got put in the back of a car?
    22      Q Did you hear Mr. Bednarek ever tell          22      A Two minutes.
    23   anyone that he was conducting work on behalf of   23      Q And then how long were you in that
    24   the Chicago Police Department?                    24   vehicle until you were released?


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     1        A Felt like 10 hours, but I would say         1   screen, who is that?
     2    probably a couple hours.                          2        A Vicky Gow.
     3       Q And then how long was it from the time       3        Q And then the person on the right, can
     4    you were released to the time that the Cook       4   you tell who that is?
     5    County Sheriffs left?                             5        A It's a Cook County Sheriff's officer.
     6        A 20 minutes or so.                           6        Q I'm going to show you what has been
     7       Q Did Mr. Bednarek leave before the Cook       7   produced to us as Unwanted_subject-4. I stopped
     8    County Sheriffs?                                  8   it here at 1:02.
     9        A I don't recall.                             9                (Whereupon the video was
    10       Q So how long do you think it was in          10                played and paused.)
    11    total from the time that you first got to 7038   11              Do you see a person on the screen?
    12    West 72nd Street to the time that you were       12        A Barely, but I do.
    13    released back and went back to your driveway.    13        Q Can you tell who that person is?
    14        A Two to three hours.                        14        A I would say by the size of the person,
    15       Q Okay. So I'm showing you what has           15   it would be my brother.
    16    been produced to us. It is a video file titled   16        Q Is that Terry Ferguson, Jr.?
    17    Unwanted_subject.mp4, and I have stopped it at   17        A It would be.
    18    51 seconds into the video.                       18        Q I am going to go back and play a
    19               (Whereupon the video was              19   little bit of it. I'll go back to 52 seconds
    20               played and paused.)                   20   and I'll hit play.
    21             Would you agree that there is a         21                (Whereupon the video was
    22    white Chevy Silverado on the screen and two      22                played and paused.)
    23    people?                                          23              All right. I stopped it at 1:05.
    24        A Correct.                                   24              Now, did you have the opportunity


                                                   135                                                    137
     1        Q Okay. Do you recognize who those two        1   to see who that was?
     2    people are?                                       2       A I did.
     3        A I do.                                       3       Q And who is that?
     4        Q Who is the person on the left of the        4       A My brother, Terry Ferguson, Jr.
     5    screen?                                           5       Q All right.
     6        A Robert Soto, my brother-in-law.             6         MR. BRINDLEY: I am going to step out
     7        Q Who is the person on the right of the       7   for two seconds. I'll be right back.
     8    screen?                                           8         MR. LISY: I'll hold off on asking any
     9        A Tabatha Soto, my sister.                    9   questions until you return.
    10        Q Mr. Ferguson, I'm going to show you a      10         MR. BRINDLEY: Thank you.
    11    still shot from a video that has been produced   11         THE VIDEOGRAPHER: Do you want to go
    12    to us titled Unwanted_subject-3.mp4. I have      12   off the record?
    13    stopped the video at 23 seconds in.              13         MR. LISY: No, I think he will be right
    14                 (Whereupon said document            14   back. Let's stay on the record for now.
    15                 was screen shared with              15   BY MR. LISY:
    16                 the witness.)                       16       Q Mr. Ferguson, what I have pulled up on
    17              Do you see --                          17   the screen has been produced to us and titled
    18              Would you agree with me there are      18   Unwanted_subject-5. I'm going to play a little
    19    three people on that screen?                     19   bit of this for you.
    20        A There is.                                  20               (Whereupon the video was
    21        Q Okay. Let's start all the way with         21               played and paused.)
    22    the person on the left. Who is that?             22            So I'm going to stop the video here
    23        A Richard Bednarek.                          23   at 1:03. Do you see yourself?
    24        Q The person in the middle of the            24       A I do.


                                                                      35 (Pages 134 to 137)
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     1       Q Where are you in this video?                  1      A I did.
     2       A I believe standing on the sidewalk.           2      Q Okay. What were the other times that
     3       Q Well, at least as it appears in the           3   you were talking about.
     4   video, are you on the right side of the video?      4      A It was just a number I threw out. I
     5       A The right side, yes.                          5   guess thinking in the moment this would be,
     6       Q All right. What color shirt are you           6   like, the second time or I would guess I could
     7   wearing?                                            7   say the third time considering the first time
     8       A Purple.                                       8   was when my neighbor Raul advised me he was at
     9       Q Play it from -- starting from 1:03.           9   the property. That would be one; May 9, 2019
    10              (Whereupon the video was                10   would be two; this would be three. So off by
    11              played and paused.)                     11   one number, but three times I would say.
    12           I am going to stop here at 1:27.           12      Q Is the "they" you are referring to Mr.
    13           Did you hear yourself say that your        13   Bednarek?
    14   father had possession of the home?                 14      A Correct.
    15       A Correct.                                     15      Q Are you referring to anybody else when
    16       Q What did you mean by possession?             16   you say "they?"
    17       A He did everything. He paid the taxes         17      A No.
    18   every year. He -- there was water main breaks      18      Q So I'm going to start back over from
    19   in the home when it was unoccupied he had fixed.   19   1:20.
    20   The maintenance, lawn maintenance, the roof. I     20               (Whereupon the video was
    21   mean, the list goes on of all the things that      21               played and paused.)
    22   ultimately he had done to the home since it's      22            I stopped it at 1:28.
    23   kind of been sat vacant prior to a tenant          23            Did you hear yourself say that the
    24   occupying it.                                      24   tenants were suing you?


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     1       Q All right.                                    1      A I said "they."
     2       A That's kind of when my uncle passed           2      Q Who is the they you are referring to
     3   away through those kind of years that he            3   were suing?
     4   maintained the property and everything, and that    4      A I believe it would be Mr. Halloron,
     5   was my assumption.                                  5   correct.
     6       Q Did you agree that with me that you           6      Q Where was that lawsuit filed?
     7   didn't say that your father owned the home,         7      A There was never one ultimately filed.
     8   right?                                              8   There was an agreement made that ultimately he
     9       A Correct.                                      9   wouldn't pursue any action and ultimately
    10       Q So is there, in your mind, a                 10   resided in the house per the word that he was
    11   difference between possession and ownership?       11   given that my father had ownership possession of
    12       A I guess at the time this was going           12   the home and he was legally able to be there.
    13   through, there would be a difference because one   13      Q So back on July 12th of 2019, were you
    14   was saying he didn't own it, the other was         14   being sued by Mr. Halloron?
    15   saying he did. But when having possession of       15      A I was not.
    16   it, I felt the difference between the two, that    16      Q Why did you think you were being sued
    17   they would be different.                           17   by Mr. Halloron?
    18       Q And I apologize, I am going to back up       18      A There was discussions of that.
    19   just a second and replay a part.                   19      Q So did Mr. Halloron threaten to sue
    20                (Whereupon the video was              20   you?
    21                played and paused.)                   21      A Not me directly, but I guess, my
    22             I just played from about 1:20 to         22   father indirectly through me maybe, of --
    23   1:24. Did you hear yourself say that this is       23      Q So no one was suing you. Mr. Halloron
    24   the fourth time they have been here?               24   was not suing you as of July 12th of 2019?


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     1       A He was not, no.                               1       A The Cook County Sheriffs.
     2       Q Mr. Halloron never sued you as the            2       Q Mr. Ferguson, I am showing you what
     3   result of what occurred at 7038 West 72nd           3   has been produced to us as Unwanted_subject-6.
     4   Street?                                             4   It's another video file and I have it stopped
     5       A Correct.                                      5   here at 4:39 into the video.
     6       Q You said that there was an agreement          6              (Whereupon the video was
     7   that was made in lieu of a lawsuit?                 7              played and paused.)
     8       A Well, ultimately from the May 9th             8            Do you see a person on the screen
     9   incident, you know, he had made mention of          9   there?
    10   potentially suing, but ultimately after clearing   10       A I do.
    11   -- you know, speaking with my father and kind of   11       Q Can you identify who that is?
    12   having him reassure that he had possession of      12       A Frederick Paul Shinstine.
    13   the home, and that ultimately he was in his        13       Q I'm going to back it up and start
    14   ability to rent the home, that was relayed to      14   playing from about 5:05; and I am going to ask
    15   Mr. Halloron and Mr. Halloron took the word        15   you a question about who somebody is in the
    16   that, in fact, there was the -- you know, the      16   video.
    17   ability for him to rent there, and that he isn't   17              (Whereupon the video was
    18   doing anything illegal as the 5-day notice he      18              played and paused.)
    19   was given that says he was illegally, you know,    19            So that's -- I stopped it at 5:12.
    20   basically occupying the home.                      20   There is a person roughly in the middle of the
    21       Q Was there any exchange or                    21   video with a white shirt and a baseball hat on.
    22   consideration made? Did you ever give Mr.          22   Who is that?
    23   Halloron anything so that he wouldn't sue you?     23       A That's my brother Terry Ferguson, Jr.
    24       A Other than my word, no.                      24       Q Mr. Ferguson, I'm showing you what has


                                                    143                                                    145
     1      Q So I'm going to start playing from             1   been produced to us as Unwanted_subject-7. It's
     2   about 2:20 into the video.                          2   another video file. I have stopped it at 24:42
     3              (Whereupon the video was                 3   into the video.
     4              played and paused.)                      4               (Whereupon the video was
     5            All right. So I'm stopping --              5               played and paused.)
     6            Actually, I apologize. Let me keep         6            Do you see a person on screen?
     7   playing the video.                                  7       A I do.
     8              (Whereupon the video was                 8       Q Who is that?
     9              played and paused.)                      9       A That's Jan Kowalski.
    10            All right. I stopped the video at         10       Q And is that --
    11   2:42. Do you see yourself placed in handcuffs?     11            She's wearing, like, a purple
    12      A I do.                                         12   shirt?
    13      Q Would you agree that a Cook County            13       A Yes.
    14   Sheriff placed you in handcuffs?                   14          MR. LISY: Let me turn the lights back
    15      A No.                                           15   on.
    16      Q Did you ever see in that video Mr.            16            Ms. Court Reporter, is your video
    17   Bednarek place handcuffs on you?                   17   still good to go since I changed the lighting.
    18      A No.                                           18          THE VIDEOGRAPHER: Yes, it adjusts
    19      Q Did you ever at any point on July 12th        19   accordingly.
    20   of 2019 see Mr. Bednarek -- excuse me -- see Mr.   20   BY MR. LISY:
    21   Bednarek place handcuffs on you?                   21       Q So Mr. Ferguson, were you ever
    22      A No.                                           22   arrested on July 12th of 2019?
    23      Q As far as you know, who put handcuffs         23       A I'm not sure.
    24   on you?                                            24       Q Okay. Were you --


                                                                       37 (Pages 142 to 145)
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     1             Let's put it this way: Were you            1       A It did.
     2    ever taken to the police station?                   2       Q How long did it take for the swelling
     3        A I was not.                                    3   to go down?
     4       Q You were released and let -- told to           4       A I applied some ice to it; and I would
     5    go back home or you went back home?                 5   say probably within the next 24 hours or so we
     6        A I was.                                        6   were -- you know, it was getting back to normal.
     7       Q You said that you went and you met             7       Q Besides ice, did you do anything else
     8    with -- or excuse me, you talked to your            8   to treat your thumb?
     9    brother, your brother-in-law and your sister.       9       A Took an ibuprofen, two of them.
    10    Did you ever talk to Mr. Shinstine after you       10       Q Did you just take those ibuprofen
    11    were released?                                     11   once?
    12        A I did not.                                   12       A No, a couple times. I would say like
    13       Q Did you ever talk to Mr. Halloron             13   maybe three or four times in that period of
    14    after you were released?                           14   time.
    15        A I did not.                                   15       Q In that 24-hour period?
    16       Q Did you ever talk to Ms. Kowalski             16       A In that 24-hour period, yes.
    17    after you were released?                           17       Q Do you have full use of your right
    18        A No.                                          18   thumb as you sit here today?
    19       Q Mr. Ferguson, are you alleging that           19       A I do.
    20    you suffered any physical injuries on May 9th of   20       Q Did having that swelling in your right
    21    2019?                                              21   thumb impact you from being able to do anything
    22        A On May 9th, no.                              22   for that 24-hour period?
    23       Q Are you alleging that you suffered any        23       A No.
    24    sort of emotional injuries or mental damages       24       Q Any other physical injuries besides


                                                     147                                                     149
     1   from May 9th of 2019?                                1   the swollen thumb on the right hand?
     2      A Yes.                                            2      A No.
     3      Q Okay. Are you alleging that you                 3      Q Besides ice and ibuprofen, did you do
     4   suffered any physical injuries on July 12th of       4   anything else to treat your thumb?
     5   2019?                                                5      A I did not.
     6      A Yes.                                            6      Q Did you talk to anyone or obtain any
     7      Q What were your physical injuries from           7   opinion from anybody on what you should do
     8   July 12th of 2019?                                   8   regarding your thumb?
     9      A A swollen, purple thumb and thumb               9      A I did not.
    10   area, I guess, on my right hand.                    10      Q Have you ever had any previous
    11      Q Do you have any belief as to how that          11   injuries to your right thumb?
    12   was caused?                                         12      A I have not.
    13      A The handcuffs.                                 13      Q Have you had any injuries after July
    14      Q What is your belief on how the                 14   12th of 2019 to your right thumb?
    15   handcuffs caused your thumb to swell on your        15      A I have not.
    16   right hand?                                         16      Q I know we haven't talked about any
    17      A The sitting -- well, the tightness of          17   emotional or mental injuries yet, but are there
    18   them, one; and then sitting kind of on them in      18   any other injuries that you suffered, physical
    19   the back of the cop car for the period of time I    19   injuries, from May 9th or July 12th of 2019 that
    20   was unable to move around and maneuver.             20   we haven't already talked about?
    21      Q Did you ever seek any medical                  21      A No.
    22   treatment for the thumb on your right hand?         22      Q Okay. Any other conversations from
    23      A I did not.                                     23   May 9th of 2019 that we haven't already talked
    24      Q Did that swelling ever go down?                24   about?


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     1      A No.                                            1   whole, yes.
     2      Q Any other conversations from July 12th         2       Q What do you mean --
     3   of 2019 that we haven't already talked about?       3            When you say as a whole, do you
     4      A No.                                            4   mean as a result of what happened on May 9, 2019
     5      Q Are you claiming any sort of                   5   and July 12th of 2019?
     6   out-of-pocket costs or expenses as a result of      6       A Correct.
     7   what happened on May 9th of 2019?                   7       Q You look at them as on incident in
     8      A Of May 9th, no.                                8   regards to your emotional and mental injuries?
     9      Q Are you claiming any sort of                   9       A Correct.
    10   out-of-pocket costs or expenses as a result of     10       Q What sort of emotional or
    11   July 12th of 2019?                                 11   psychological injuries are you claiming?
    12      A Yes.                                          12       A I mean, there's all kinds of them. I
    13      Q What are the out-of-pocket costs or           13   almost lost my wife, my children, you know, the
    14   expenses that you are claiming?                    14   stress, the anxiety, the emotional distress, the
    15      A The amount or the nature of them?             15   -- you know, being paranoid, marriage problems,
    16      Q What is the nature of them?                   16   marital issues, intimacy issues.
    17      A The counselor/therapist bills that I          17         MR. COYNE: I'm sorry. What's the last
    18   have I have co-pays and deductibles to be met.     18   one?
    19      Q Any other out-of-pocket costs in              19         THE WITNESS: Intimacy issues, fear,
    20   relation to what occurred on July 12th of 2019?    20   uneasy, you know, life hasn't really been the
    21      A No.                                           21   same.
    22      Q And I'm correct, you are not claiming         22   BY MR. LISY:
    23   any sort of lost wages as a result of either of    23       Q Any other manifestations or symptoms
    24   these incidents; is that right?                    24   of these injuries that you are claiming?


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     1        A No.                                          1      A I mean, I think I have hopefully put
     2       Q Is there --                                   2   them all in the same bucket, but no.
     3             Did your swollen right thumb              3      Q So let's talk about -- I apologize.
     4    prevent you from working that next week at all?    4   We are going to talk about these injuries --
     5        A It did not.                                  5      A Sure.
     6       Q I apologize. And to be clear, from            6      Q If you need to take a break at any
     7    July 12th of 2019, the following work?             7   time, then please let me know and we will take a
     8        A Correct, no.                                 8   break.
     9           MR. OLSON: Can you clarify? Just you        9      A Sure.
    10    asked if you are claiming any lost wages; and I   10      Q You talked about issues in regards to
    11    think the answer was no; and I feel like there    11   your marriage, of almost losing your wife and
    12    was a double negative in there.                   12   children. What do you mean by that?
    13    BY MR. LISY:                                      13      A Yes, I mean, it just stems from the
    14       Q Are you claiming any lost wages in           14   July -- you know, the July -- the July 12th
    15    this lawsuit?                                     15   date, you know, asking me to determine -- decide
    16        A No.                                         16   between the home at 72nd Street and/or moving
    17       Q All right.                                   17   with her and my children to her grandmother's
    18           MR. OLSON: Thanks.                         18   house, giving up the home we had and kind of
    19    BY MR. LISY:                                      19   having to start all over.
    20       Q As to emotional or psychological             20            You know, there was the threat of
    21    injuries, do you have -- are you claiming any     21   basically losing my wife and children if I chose
    22    emotional or psychological injuries as a result   22   to and/or, you know, having to make that
    23    of what happened on May 9, 2019 specifically?     23   decision.
    24        A As a whole. I could put them as a           24      Q When you say losing them, do you just


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     1   mean physically living with them?                   1       Q You mentioned intimacy issues. What
     2      A Maybe, you know, divorce. But yes, I           2   do you mean by that?
     3   mean, you know, physically having everyday life     3       A I just don't -- it just kind of
     4   with them and with my wife and, you know, so        4   stopped being a thing for us. I kind of closed
     5   forth.                                              5   down. I kind of just shoved everybody away. I
     6      Q Did your wife file for divorce at any          6   kind of just kept to myself. I had no interest
     7   time?                                               7   in it.
     8      A She never filed for divorce because I          8            I had no interest in, you know, a
     9   had to make the decision to give up our home and    9   romantic relationship with my wife any longer
    10   go live with them.                                 10   outside of, you know, here and there, but we
    11      Q When you say "give up our home," what         11   were very, you know, in love and romantic and
    12   do you mean by that?                               12   intimate. And, you know, just the stress and
    13      A Just became unoccupied. It was our            13   the anxiety and everything kind of just led me
    14   home that we had our first, you know, two          14   down a bad path; and it kind of just went little
    15   children in and first, you know, several years     15   to none almost.
    16   of marriage, and, you know, it was ultimately      16       Q So when did you first start
    17   then time to move on.                              17   experiencing marriage problems, for lack of a
    18      Q Do you still own that home?                   18   better word?
    19      A We do.                                        19       A Right around this time. I mean, right
    20      Q Did you rent that home?                       20   around the July date is kind of when, you know,
    21      A We do.                                        21   decisions had to be made, where we were going in
    22      Q When did you start renting that home?         22   our marriage and our life, where we were going
    23      A Immediately. I think September first          23   to live at, where our kids were going to reside.
    24   of 2019 I believe it was.                          24            And if I chose to stay in the house


                                                    155                                                     157
     1      Q Have you had consistent tenants in             1   and she moved on, you know, who is going to get
     2   that home since you left?                           2   the back and forth of the kids; and who is going
     3      A I have had the same one.                       3   to have custody of them; and, you know,
     4      Q Does the rent for the property make up         4   everything that comes with it.
     5   any of the cost of the property to you?             5       Q When was the first time you started
     6      A It doesn't.                                    6   experiencing intimacy issues as you described
     7      Q And what would the difference be in            7   them?
     8   the cost of the property to you versus the rent?    8       A I think everything kind of really
     9      A I think it kind of evens itself out.           9   started to take a toll on me mentally and kind
    10   The money that I take in is ultimately the         10   of everything right around -- I think it was my
    11   mortgage and stuff on the home. So there is no     11   34th birthday on September the 3rd. So that
    12   advantage or disadvantage at that point.           12   weekend I kind of just shut down.
    13      Q The rent covers the mortgage?                 13            I think that was kind of last --
    14      A Correct.                                      14   some time, I would say, August, September; late
    15      Q Does the tenant pay for utilities?            15   August or early September of '19.
    16      A They do.                                      16       Q Has the marriage issues changed in any
    17      Q Are there any other costs on that             17   way from how it was in September of 2019 to
    18   property to you besides the mortgage?              18   today?
    19      A Outside of, like, you know, something         19       A No. I mean, they ultimately are still
    20   like just a couple -- last two months ago or       20   -- I think we are working together. She has
    21   three months ago the furnace went out. That's      21   been supportive of, you know, this going on and
    22   my cost outside of the upkeep.                     22   me seeing a therapist and a counselor; and, you
    23      Q Nothing besides upkeep then?                  23   know, I think we are getting to a spot where we
    24      A Correct.                                      24   could be good and not have the divorce


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     1   discussions and, you know, those kinds of           1   Chicago unfortunately since this out of fear,
     2   things.                                             2   out of fear of retaliation. You know, he is a
     3       Q Have the intimacy issues changed in           3   sergeant. He has been on the force a long time.
     4   any way since September of 2019 to today?           4   Unfortunately the Chicago Police don't have a
     5       A I would say they -- you know, they are        5   good name.
     6   getting better. I think having the therapy and      6            I have never been one to down them
     7   seeing the therapist that I see constantly, it's    7   or, you know, talk bad about them, but I just
     8   allowed me to kind of open back up and kind of      8   know that my common sense or knowledge would
     9   reengage myself into my family life.                9   tell me that I probably had no business for some
    10       Q You mentioned fear. What do you mean         10   time to be in the City.
    11   by that?                                           11       Q Why are you afraid of retaliation from
    12       A Did you see the video? You know, the         12   the Chicago Police Department?
    13   guy is walking around with a gun. He's like a      13       A Mr. Bednarek is a sergeant and, you
    14   loose cannon, and just by his demeanor. I mean,    14   know, being notified of a lawsuit, you know,
    15   you can see how he was yelling at me when I was    15   that is pending against him could drive
    16   being arrested by this Cook County officer as if   16   retaliation. Again, I go by his demeanor and by
    17   he was the -- you know, giving lawful orders as    17   what he -- you know, how he acts and stuff.
    18   if -- he is just supposed to be just a normal      18            I have seen those kind of people in
    19   citizen, right?                                    19   life; and I know from my own sake of how they
    20             I mean, that's fear. You know, the       20   can retaliate and how they would retaliate; and
    21   guy -- searching him up, the fact that he is a     21   whether it be pulling me over just because they
    22   police officer, he can find me wherever he         22   can do it, you know, having me arrested like he
    23   wanted, whenever he wanted.                        23   tried to here. There is a lot of fear and
    24             You know, obviously I'm not too          24   anguish in that.


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     1   privy to how they use -- what systems they use,     1       Q Have you experienced any retaliation
     2   but I mean, any police officer can find anybody     2   by any Chicago Police officers since July 12th
     3   they want. And the fear of that came because of     3   of 2019?
     4   the May 9th and then this one; and it has           4       A I couldn't tell you. I have probably
     5   ultimately left me kind of looking over my          5   been in the City, this being one, maybe a
     6   shoulder every day.                                 6   handful of times. So I've done my best to be
     7       Q Have you seen Mr. Bednarek since July         7   sure that that couldn't happen, but no.
     8   12th of 2019?                                       8       Q So you have not been retaliated
     9       A I have seen him twice, but I don't            9   against by the Chicago Police Department?
    10   think he saw me.                                   10       A Correct.
    11       Q Where did you see Mr. Bednarek?              11       Q As far as you know?
    12       A I seen him at Burbank Gas getting gas        12       A Correct.
    13   as I was in the little White Hen -- old White      13       Q Have you experienced any sort of
    14   Hen convenience store next door to it; and then    14   retaliation from any Cook County Sheriffs?
    15   I seen him at an auto parts store. He was          15       A No.
    16   leaving the auto parts store in Burbank as I was   16       Q Do you ever suffer any sort of panic
    17   pulling in.                                        17   attacks?
    18       Q Have you had any interaction with Mr.        18       A Yes.
    19   Bednarek since July 12th of 2019?                  19       Q When did you start suffering panic
    20       A No face-to-face or direct interaction,       20   attacks?
    21   no.                                                21       A August of 2019, I believe. To be the
    22       Q Have you had any interaction with            22   exact date of what I have come to know as a
    23   Chicago Police officers since July 12th of 2019?   23   panic attack, and that's the beginning of them
    24       A I have stayed out of the City of             24   was August 11th of 2019 driving home from work,


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     1   I believe. I was on Cicero Avenue.                  1   experiencing any sort of stress from these
     2       Q How many panic attacks do you believe         2   incidents?
     3   you have had since August of 2019?                  3      A Yes.
     4       A A bunch.                                      4      Q In regards to any sort of depression,
     5       Q How often do you have panic attacks?          5   have you ever been diagnosed with depression?
     6       A I would say a couple of times -- maybe        6      A Never diagnosed with depression, no.
     7   a couple of times a week.                           7   Well, actually I guess, yes. I guess, yes. I
     8       Q And is that the same frequency back in        8   would say yes, yes. My doctor, Dr. Guzman, did,
     9   2019 as it is today?                                9   yes.
    10       A No.                                          10         MR. OLSON: I'm sorry, doctor who?
    11       Q So let's say in 2022, how often were         11         THE WITNESS: Guzman.
    12   you having panic attacks?                          12   BY MR. LISY:
    13       A A couple times a month.                      13      Q How do you spell that?
    14       Q And so far in 2023, how many panic           14      A G-u-z-m-a-n.
    15   attacks do you think you have had?                 15      Q Dr. Guzman diagnosed you with
    16       A Probably say the same, a couple times        16   depression?
    17   a month.                                           17      A Correct.
    18       Q Is there anything that specifically          18      Q When was that?
    19   triggers your panic attacks?                       19      A I believe it was 20 --
    20       A Law enforcement.                             20            I'm going on a guess here but 2020,
    21       Q Any law enforcement?                         21   2021 maybe.
    22       A Any law enforcement.                         22      Q We'll talk about Dr. Guzman in just a
    23       Q We talked about stress. What sort of         23   second. But in regards to sleeplessness, are
    24   --                                                 24   you still experiencing sleeplessness?


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     1            What do you mean by stress as a            1      A I am.
     2   result of the incident in May and July of 2019?     2      Q And how often do you experience
     3      A I guess it could kind of tie into,             3   sleeplessness now?
     4   like, the fear. The stress -- there is so much      4      A Every day.
     5   fear is causing so much stress in my daily life     5      Q And how does the sleeplessness affect
     6   from it, from, you know, not wanting to be out      6   you?
     7   and about, not wanting to come into the City.       7      A It just leaves me, you know, unable --
     8   You know, that kind of stress is because before     8   the inability to want to do things; kind of want
     9   I was, you know, down here riding the train and     9   to sleep when I can. You know, I wake up
    10   bringing my kids down here.                        10   groggy, tired in the mornings and workdays suck
    11            So the stress ultimately kind of          11   most of the times.
    12   compiles with the fear, I guess, of, you know,     12      Q How many hours a night do you sleep?
    13   not knowing of retaliation, where I'm going to     13      A Maybe four on a good night.
    14   be, who I am going to be with. Am I going to       14      Q Did you say that you have a
    15   have somebody to kind of, you know, be a witness   15   one-year-old at home?
    16   to something. So the stress of making sure I       16      A I do.
    17   was never by myself; just kind of all those        17      Q How many times a night does your
    18   stressors.                                         18   one-year-old wake up?
    19      Q Has the stress gotten better as it has        19      A None.
    20   gotten farther away from the incidents of May      20      Q Prior to your one-year-old turning
    21   and July of 2019?                                  21   one, did your -- as a newborn baby, did you take
    22      A Absolutely. Counseling and therapy            22   care of your child?
    23   have gone a long way for me.                       23      A My wife did. She's home and stayed
    24      Q Do you feel that you are still                24   home and stuff. So she was on that while I


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     1    would try to sleep for work.                       1   potentially -- I haven't gone to anything like
     2        Q So did you get up and do any feedings        2   that. So I have more or less removed myself
     3    in the middle of the night with your newborn?      3   from the possibility.
     4        A None.                                        4       Q Do you feel like this has gotten
     5        Q Has the issue of sleeplessness gotten        5   better the longer or farther away from July 2019
     6    better as it has gotten farther away from July     6   has gone?
     7    of 2019?                                           7       A I do.
     8        A It has.                                      8       Q Were there any other emotional or
     9        Q How often do you have issues falling         9   mental injuries that you feel you suffered as a
    10    asleep?                                           10   result of May and July of 2019 that we haven't
    11        A I mean, daily. It's just become the         11   already discussed?
    12    norm.                                             12       A I think we've covered them all.
    13        Q Do you take any medication for any          13       Q Okay. You mentioned seeing a
    14    sleep issues?                                     14   therapist or a counselor?
    15        A I don't.                                    15       A Correct.
    16        Q Do you have any issues regarding            16       Q Who is this?
    17    excessive anger?                                  17       A Dr. Joseph Siegel.
    18        A No.                                         18       Q How do you spell Siegel?
    19        Q Did you have any issues regarding           19       A I think he spells it S-i-e-g-a-l.
    20    excessive anger back in -- after 2019?            20       Q Do you know where Dr. Siegel's office
    21        A No.                                         21   is?
    22        Q Any issues with edginess?                   22       A In the Little Company of Mary building
    23        A Yes.                                        23   in Evergreen Park at 95th Street and California
    24        Q What does edginess mean to you?             24   maybe.


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     1       A Kind of just on edge, kind of unsure,         1      Q What sort of doctor is Dr. Siegel?
     2   uneasy, kind of uneasy feelings; certain            2      A He is a psychologist, therapist,
     3   situations kind of puts me on edge, kind of         3   counselor. I guess kind of doubles as all of
     4   either leads me to remove from the situation or     4   them maybe. I'm not too sure exactly.
     5   kind of backtrack and assess it.                    5      Q When did you start seeing Dr. Siegel?
     6       Q Is that the same as nervousness to            6      A I have been seeing him for a couple
     7   you?                                                7   years now. 2020 -- end of 2020, I believe I
     8       A Yes.                                          8   started seeing him. Yeah, I tried to get in --
     9       Q How often do you experience edginess          9   well, maybe -- we're in 2023. So I have seen
    10   or nervousness?                                    10   him for I think maybe to years now, a year or
    11       A Periodically. I would say a few              11   so, two year. But --
    12   times. It all depends on what situations I put     12      Q Why did you start seeing Dr. Siegel?
    13   myself in. You know, if I'm going to a big         13      A I needed the help. I needed
    14   event or something where that could be something   14   something. I tried for months and months and
    15   that kind of puts me on edge.                      15   months to get in, but COVID was kind of going
    16       Q Why would going to a big event put you       16   on, and nobody was taking in-person patients or
    17   on edge?                                           17   new patients at that time.
    18       A A lot of police officers, a lot of law       18            And I just continued to push, but I
    19   enforcement officers, stuff like that.             19   continued to need the help; and so I was able to
    20       Q What sort of big events are you --           20   get Dr. Siegel to open up an appointment. They
    21   come to mind when you say that?                    21   finally called and had an opening for me to come
    22       A Could be, like, a parade like, you           22   in; and so then I began seeing him.
    23   know, St. Patrick's Day parade, stuff like that,   23      Q What is Dr. Siegel treating you for?
    24   that would kind of put me on edge. And             24      A PTSD, depression, and basically


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     1   anxiety panic disorder.                             1   his tests and/or his ability to determine kind
     2      Q To your knowledge --                           2   of what is going on, but no direct test.
     3      A And trauma. I'm sorry. And trauma.             3      Q Has anyone told you that you were
     4      Q To your knowledge, have you been               4   being examined for a specific diagnosis or
     5   diagnosed with PTSD?                                5   reason?
     6      A I don't think he has ever -- I guess           6      A Dr. Guzman did.
     7   --                                                  7      Q Okay. Let's talk about Dr. Guzman.
     8            I don't know if they ever diagnose         8            Why did you see Dr. Guzman?
     9   you directly other than listening to you and        9      A For depression, for anxiety and
    10   helping you. I am not sure. So no, I would say     10   basically panic attacks and so forth.
    11   no, he's never told me directly.                   11      Q What sort of doctor is Dr. Guzman, to
    12      Q Just to be clear, PTSD meaning                12   you knowledge?
    13   post-traumatic stress disorder?                    13      A Family doctor.
    14      A Correct.                                      14      Q How long has he been your doctor?
    15      Q Okay. For this PTSD, depression,              15      A For, like, five years-plus; maybe ten
    16   anxiety and trauma, is this all related or         16   years.
    17   stemming from May 9th of 2019 and July 12th of     17      Q And what is your understanding of what
    18   2019.                                              18   diagnosis Dr. Guzman has made regarding you?
    19      A It is.                                        19      A Mild depression, anxiety; and those
    20      Q Is there any other incident or event          20   two are basically the two that he began treating
    21   in your life besides what occurred on May 9th of   21   me for.
    22   2019 and July 12th of 2019 that Dr. Joseph         22      Q And was that back in 2020 or 2021?
    23   Siegel is treating you for?                        23      A I believe so, yes.
    24      A No.                                           24      Q Were you prescribed any sort of


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     1      Q Is there any sort of other event in            1   medication from these diagnoses?
     2   your life that has caused you trauma?               2      A I was.
     3      A No.                                            3      Q What is the medication?
     4      Q Any other event in your life, again            4      A I was -- I knew you were going to ask,
     5   besides May 9th or July 12th of 2019, that have     5   I was trying to think. I think it's called
     6   caused you anxiety?                                 6   Sertraline, S-e-r-a-t-i-l-e, I believe, and it
     7      A No.                                            7   treats anxiety and depression.
     8      Q Any other events in your life besides          8      Q Are you currently taking this
     9   May 9th or July 12th of 2019 that cause you to      9   medication?
    10   be depressed?                                      10      A I have stopped.
    11      A No.                                           11      Q When did you stop?
    12      Q Any other events in your life besides         12      A Like three -- maybe, like, five months
    13   May 9th of 2019 and July 12th of 2019 that have    13   ago. I think the end of summer of -- maybe
    14   caused you post-traumatic stress?                  14   longer than that now because we're in -- oh, no.
    15      A No.                                           15   So like the end of summer of 2022.
    16      Q Have you been given any sort                  16      Q Why did you stop?
    17   medication or prescribed any medication by Dr.     17      A I felt that I needed to not -- I
    18   Siegel?                                            18   didn't want to be on pills. I didn't want to be
    19      A Not Dr. Siegel, no.                           19   on -- I was trying to find, and Dr. Siegel was
    20      Q Have you taken any sort of tests or           20   helping me find ways to cope without medicine.
    21   evaluations in your treatment by Dr. Siegel?       21   It was at his suggestion that I stop.
    22      A Outside of, like, questions and kind          22      Q It was Dr. Siegel's suggestion that
    23   of reactions and stuff that we would do in the     23   you stop taking the medication?
    24   office at the visits, I believe maybe those are    24      A Correct. After seeing him and kind of


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     1   working through abilities to cope on my own.        1      A I did a phone interview with Palos
     2      Q When you were taking the medication,           2   Behavioral -- Palos Mental, but it was nothing.
     3   were the emotional issues that we've talked         3   That was when I was trying to get in through the
     4   about earlier, did those get better?                4   COVID days and they asked to do -- if they had a
     5      A They did. Pretty much most of them             5   spot, they would call me.
     6   did.                                                6            They called me, but they weren't
     7      Q Since you have stopped taking the              7   able to bring me in and stuff. So we didn't
     8   medication, have any of those symptoms returned?    8   talk about anything other than that. But no
     9      A They were -- I mean, they remained,            9   other doctors at all.
    10   but I have an ability now to kind of cope with     10      Q When was that?
    11   them by doing certain, you know, breathing         11      A 20 -- I think October -- let me see.
    12   exercises and kind of deterrences and so forth.    12   October, November, December. February of 2020.
    13      Q Where does Dr. Guzman work out of?            13   February of 2020.
    14      A I think he --                                 14      Q So that interview, was that with a
    15            It's out of Advocate on 63rd Street       15   doctor or was that --
    16   and Kolin Avenue in Chicago. I don't know, I       16      A It was -- I don't even know who she
    17   guess it might be Stickney, Illinois.              17   was. It was a phone interview and kind of
    18      Q Besides the Sertraline, were you ever         18   talking to me and asking about the insurance and
    19   prescribed anything else?                          19   stuff like that; and then they weren't able to
    20      A Blood pressure medicine, which he tied        20   get me in. I don't know. I believe it was that
    21   to stress and so forth.                            21   the insurance wasn't paying for it.
    22      Q Are you still taking the blood                22      Q Is insurance covering your visits to
    23   pressure medication?                               23   Dr. Joseph Siegel?
    24      A I'm off it now with it being good now.        24      A They are now, and I think that's why


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     1      Q So does your --                                1   they didn't take me before because my prior
     2           Did you have blood pressure issues          2   insurance didn't pay for any therapy; and they
     3   before July of 2019?                                3   wanted it to be paid out of pocket and stuff,
     4      A I did not.                                     4   and unfortunately I didn't have the money.
     5      Q When did your blood pressure issue             5            And then when I switched jobs in
     6   start?                                              6   2020 -- late 2020, 2021, they now cover it. So
     7      A When I went to first see him from this         7   that's why I was able to have the insurance pay
     8   incident was when I was notified that I had, you    8   for it, correct.
     9   know, super high blood pressure.                    9      Q Did insurance cover your medication,
    10      Q And when you say "him," you mean Dr.          10   your Sertraline and your blood pressure
    11   Guzman?                                            11   medications?
    12      A Correct.                                      12      A Outside of a co-pay they did.
    13      Q And you now don't have blood pressure         13      Q And then did that cover your --
    14   issues?                                            14            Did insurance cover your visit to
    15      A I don't have as high blood pressure,          15   Dr. Guzman?
    16   no.                                                16      A Outside of a co-payment they have,
    17      Q Besides Dr. Guzman and --                     17   yes.
    18           I apologize. Do you know Dr.               18      Q Do you know how much your co-pay was?
    19   Guzman's first name?                               19      A I think it was like 30 bucks and,
    20      A Maurice, M-a-u-r-i-c-e.                       20   like, 8 bucks, I think on the two medicine each.
    21      Q Besides Dr. Guzman and Dr. Siegel,            21      Q When was the last time you saw Dr.
    22   have you seen any other medical professional for   22   Siegel?
    23   any injuries you claim were the result of May      23      A February 18th, I think it was.
    24   and July of 2019?                                  24            No, February 15th, the day after


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     1   Valentine's Day.                                    1       Q How about mentally?
     2      Q How often do you see Dr. Siegel?               2       A Like I said, I don't have the utmost
     3      A I do see him once a month. At this             3   faith in retaliation still to this day. I try
     4   point, one a month.                                 4   to stay away from the City as much as I can.
     5      Q I'm sorry. When did you start seeing           5   You know, I'm starting to open back up a little
     6   Dr. Siegel?                                         6   bit more in my social life. That's been
     7      A 2021, I believe it was. Mid-2021, I            7   non-existent.
     8   believe it was.                                     8            You know, I haven't attended many
     9      Q Have you always seen him once a month?         9   family events, parties, stuff like that. So I
    10      A No. I started out going once a week           10   would say the inability to socialize and kind of
    11   for I think it was, like, six or seven months;     11   just be stress free is where I want to be and
    12   then we went to twice a week for the same kind     12   I'm not there.
    13   of term; and then we moved to once a month and     13       Q Is there anyone besides the people
    14   we have been on once a month since.                14   we've already talked about today at your
    15      Q Do you know if you have any other             15   deposition that you have spoken to about what
    16   projected decrease in your visitation to Dr.       16   took place on May 9th or July 12th of 2019?
    17   Siegel in plan?                                    17       A Outside of Dr. Siegel and Dr. Guzman
    18      A That is his plan. His plan is to get          18   and then the others we've spoken about, no.
    19   to a point where if I need him, to call him and    19       Q Is there anyone besides the people
    20   make an appointment versus having scheduled        20   we've already talked about today that you spoke
    21   every month.                                       21   to about this lawsuit?
    22      Q Do you know when that is expected to          22       A No.
    23   take effect or the goal for that?                  23       Q You have a Facebook account; is that
    24      A It's been, I think, every six months          24   right?


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     1   or so he changed the time frame. So my guess        1      A I do.
     2   would be maybe in that same kind of time frame,     2      Q What's your name on Facebook?
     3   we would move on to that.                           3      A Veteran Ferguson.
     4      Q Is Dr. Guzman -- he is your family             4      Q Why did you make that name?
     5   doctor; is that right?                              5      A That's a nickname I have had since my
     6      A Correct. Well, I mean, he's my                 6   old days being younger. Everybody -- I played a
     7   doctor. He is like a family practice doctor.        7   bunch of sports; I coached a bunch of sports.
     8   He doesn't see, like, my wife and kids and stuff    8   They say I've been around. So they use the
     9   like that. He's -- I just call him a family         9   veteran term, like --
    10   doctor because, I guess, that's what they call     10          MR. COYNE: Veteran as in military?
    11   him.                                               11          THE WITNESS: Correct, but no military
    12      Q Or I guess it's the right thing to            12   affiliation.
    13   say. He's your primary care physician?             13   BY MR. LISY:
    14      A Primary care physician. There you go.         14      Q Do you still coach sports?
    15      Q Beside your, you know, usual or               15      A I do.
    16   standard appointments, do you see him for any      16      Q What do you coach?
    17   other reason?                                      17      A Like, help out with my son's baseball
    18      A I don't.                                      18   team. We're about to get back to it.
    19      Q All right. Is there anything that you         19      Q I see it's March. When does baseball
    20   could do let's say before July 12th of 2019 that   20   start up again?
    21   you can no longer do today?                        21      A April first. So...
    22      A Physically, mentally, or...                   22      Q Have you ever posted about what took
    23      Q Well, let's talk physically first?            23   place on May or July of 2019 on any sort of
    24      A Physically, no.                               24   social media or website?


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     1      A I have not.                                   1            I mean, I was -- I came down to
     2      Q Have you ever posted on any sort of           2   your office.
     3   social media or website about the Chicago          3          MR. BRINDLEY: He didn't --
     4   Police?                                            4            Maybe I can help.
     5      A I would say no, I have not. I can't           5            He didn't technically get arrested.
     6   recall, but I have never been one to do that.      6   He was able to just come in and appear before
     7      Q Ever make any posts about your                7   the Federal Court voluntarily. So it wasn't a
     8   feelings of what occurred on May 9th or July       8   --
     9   12th of 2019 on any sort of website?               9            He would have been processed by the
    10      A No.                                          10   US Marshals after his initial appearance, but he
    11      Q So I'm going to ask you some questions       11   did not get arrested like we would normally use
    12   about your criminal history.                      12   that term. He wasn't taken into custody and
    13      A Sure.                                        13   processed that way.
    14      Q Have you ever been arrested before           14   BY MR. LISY:
    15   July 12th of 2019?                                15      Q So in 2018, what happened?
    16      A Yes.                                         16      A Somebody got a subpoena on my father,
    17      Q How many times have you been arrested?       17   and they showed it to me and we talked about it,
    18      A Twice.                                       18   and I told him that he should get a lawyer
    19      Q All right. When was the first time?          19   probably before he went to the Grand Jury on the
    20      A 2009, I believe it was in Cincinnati,        20   subpoena. And then apparently he --
    21   Ohio. Hold on one second. I don't know. It        21            They asked why he didn't show up or
    22   has to be, like, maybe '11, 2011 maybe.           22   what, I believe, is the nature of it; and he
    23      Q So an arrest in Cincinnati, Ohio?            23   said that we discussed it; and we were talking
    24      A Correct.                                     24   about it; and so they basically came and it was


                                                   183                                                     185
     1       Q What was that for?                           1   obstruction of a court document because
     2       A Obstruction of official business.            2   apparently you are not supposed to talk about
     3       Q Do you know if you were convicted in         3   those.
     4   that?                                              4      Q How did you find out that you were
     5       A Yes, I had a $300 -- I pled guilty,          5   being accused of obstruction of a court
     6   like no contest and paid 300 bucks.                6   document?
     7       Q So you just had to pay a fine?               7      A When I was called basically on the
     8       A Correct.                                     8   phone and asked to turn myself in to the Federal
     9       Q Did you testify at all or make any           9   Building downtown to the US Marshals.
    10   statements in court?                              10      Q Who called you?
    11       A I did not.                                  11      A One of the US Marshals.
    12       Q Did you get a lawyer for yourself?          12      Q So then did you go to the Federal
    13       A I did.                                      13   Building and turn yourself in to the US
    14       Q Do you remember your lawyer's name?         14   Marshals?
    15       A I don't. I found him on-line.               15      A I went to the lawyer's office first;
    16       Q You said there were two times. So           16   and we walked over to the Federal Building; and
    17   this is one in 2009 or 2011. What was the other   17   then I had my first initial court appearance.
    18   time?                                             18      Q Who is your lawyer for that?
    19       A 2018.                                       19      A Vadim Glozman.
    20       Q What happened in 2018?                      20      Q Can you spell the last name?
    21       A Obstruction of a court document.            21         THE WITNESS: What's his last name?
    22       Q When -- I'm sorry. Where was this           22         MR. BRINDLEY: G-l-o-z-m-a-n, I
    23   arrest?                                           23   believe.
    24          THE WITNESS: (Addressing Mr. Brindley:     24         THE COURT REPORTER: How do you spell


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     1   the last name?                                      1      Q Did it have any impact on your
     2         MR. BRINDLEY: V-a-d-i-m.                      2   anxiety?
     3         THE COURT REPORTER: Thank you.                3      A During the time away, yes.
     4   BY MR. LISY:                                        4      Q Do you have any lasting effects,
     5      Q And did you have any sort --                   5   things that still bother you from your time that
     6            Did you have any conviction in that        6   you spent in jail?
     7   instance?                                           7      A No.
     8      A I did. I pled guilty to a misdemeanor          8      Q You were talking about your father
     9   of obstruction of a court document.                 9   being incarcerated. When was your father
    10      Q And do you remember what your sentence        10   incarcerated?
    11   was?                                               11      A October -- he was in and out. I'm not
    12      A 30 days in MCC.                               12   sure. It's been several times he has been
    13      Q Do you remember when you were                 13   incarcerated.
    14   released?                                          14      Q Has he been incarcerated since July of
    15      A Yes. November 4th of 2018. I don't            15   2019?
    16   know -- I'm sorry. November 4th of 20 -- I         16      A Has he been incarcerated since then?
    17   think 2018. I think, yes. I believe so.            17      Q Uhm-uhm.
    18      Q Have you been arrested since July 12th        18      A No.
    19   of 2019?                                           19      Q Was he --
    20      A I have not.                                   20            So at any point after July of 2019,
    21      Q Have you been convicted of any crime          21   did he spend time in jail or prison?
    22   since July 12th of 2019?                           22      A Yes, yes. He was incarcerated at the
    23      A I have not.                                   23   incident date; and I believe he came home maybe
    24      Q Have you ever been convicted of a             24   some time in October -- September, October, I


                                                    187                                                     189
     1   felony?                                             1   believe. I'm not too sure to be honest with
     2       A No.                                           2   you.
     3       Q Have you ever spent --                        3      Q October of 2019?
     4            Have you ever been sentenced to            4      A Yes.
     5   jail or prison for a term exceeding one year?       5      Q Has -- what he was --
     6       A No.                                           6            Do you know what your father was
     7       Q The 30-day sentence, did you have to          7   incarcerated for?
     8   serve the full 30 days?                             8      A No, I don't. There is a slew of stuff
     9       A Yes.                                          9   that's said, but I don't really have that
    10       Q Okay. Was that the first time you had        10   relationship with him.
    11   ever been to jail or prison?                       11      Q Do you know whether your father has
    12       A Yes.                                         12   been convicted of any crimes?
    13       Q How did that affect you?                     13      A No.
    14       A I owned it. I knew I made a mistake.         14      Q When you say don't really have that
    15   That is why I pleaded guilty to it without a       15   sort of relationship with him, what do you mean?
    16   trial and stuff; and so it didn't really have an   16      A I mean, you know, like I got -- he has
    17   effect on me. I'm -- yes, I would say it didn't    17   got his own stuff. He has got other kids. He
    18   really have too much of an effect.                 18   lives -- got another wife. You know, I got my
    19       Q Being in jail didn't have any impact         19   own family, my mom, you know, that we kind of
    20   on your mental health?                             20   separate.
    21       A You could say maybe, but I don't             21            So I don't have the -- like I don't
    22   believe so, no.                                    22   go asking for information and/or, you know, what
    23       Q Did it have any impact on your stress?       23   is what and how is it going and stuff like that.
    24       A During the time being away, yes.             24   So I just kind of -- you know, he is dealing


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     1   with his own stuff in life, and I got my own        1      A I have had none.
     2   stuff in life.                                      2      Q So prior to July of 2019 and besides
     3      Q Was -- is that what your father --             3   Mr. Bednarek, your interactions with Chicago
     4   what your relationship is like with your father     4   Police officers has been good?
     5   today?                                              5      A Good.
     6      A No. I mean, we have a good father/son          6      Q Aside from this case, have you filed
     7   relationship, but I don't get into his business     7   any other lawsuits?
     8   like that. That's, you know, being in and out       8      A I haven't.
     9   of jail and, you know, stuff like that. That's      9      Q Have you ever filed a lawsuit against
    10   --                                                 10   the City of Chicago before?
    11            I don't want my kids to be involved       11      A Never.
    12   in that. I don't want my wife to be involved       12      Q In regards to --
    13   with that, myself. But, I mean, I have a good      13            Have you ever made a complaint
    14   father/son relationship with him as him being my   14   about a Chicago Police officer before?
    15   dad and a grandfather to my kids, but his          15      A I have.
    16   personal, you know, stuff like that, that's        16      Q How many times?
    17   nothing we -- I get involved in.                   17      A Three, I believe.
    18      Q Do you share what is going on, you            18      Q All right. Were any of those
    19   know, with your personal goings with your          19   connected to Mr. Bednarek and what happened on
    20   father?                                            20   May 9th or July 12th of 2019?
    21      A Not really, no.                               21      A They were.
    22      Q Why did you ask your father to drive          22      Q Were all three of them?
    23   you today?                                         23      A They were.
    24      A Just I didn't want to take the train.         24      Q When did you make these complaints?


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     1   You know, I told you I kind of stay away. I         1       A Some time shortly after each incident.
     2   didn't want to drive. It goes into the fear of      2       Q Did you ever speak to anyone from
     3   being down here.                                    3   either the --
     4           You know, if I'm driving myself, my         4            Well, let me back up.
     5   license plate to show my name, you know, stuff      5            Do you know if those complaints
     6   like that. So I asked him to drive me.              6   were made or what agency those complaints were
     7       Q Did you ask anyone else before asking         7   made to?
     8   your father?                                        8       A I believe I made them to the Attorney
     9       A My wife, but we didn't have a                 9   General's Office and to COPA.
    10   babysitter for our daughter -- our children,       10       Q COPA being the Civilian Office of
    11   so...                                              11   Police Accountability?
    12       Q Have you had any other interactions          12       A Correct.
    13   with Chicago Police officers besides Mr.           13       Q Did you ever make any complaints about
    14   Bednarek?                                          14   Mr. Bednarek directly to the Chicago Police
    15       A In life?                                     15   Department?
    16       Q Yes, in life.                                16       A I don't believe so.
    17       A I have had good ones. That's kind of         17       Q Did you ever walk into a police
    18   where this takes a turn. I have had no bad         18   station and say -- into a Chicago Police station
    19   experiences outside of Officer Bednarek.           19   and say, "I want to make a complaint about this
    20       Q Since July of 2019, have you had any         20   officer?"
    21   good interactions with Chicago Police officers?    21       A No.
    22       A I have had none.                             22       Q In regards to the complaint that you
    23       Q Have you had any bad interactions with       23   made to COPA, to the Civilian Office of Police
    24   Chicago Police officers?                           24   Accountability, do you remember what your


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     1   complaint was?                                      1   had where you met at the Starbucks. Do you
     2      A It was surrounding the video of the            2   remember, was this speaking to COPA or to some
     3   May incident, and then the same thing with the      3   other agency?
     4   July incident.                                      4      A This was COPA. This was COPA.
     5      Q Did you ever speak to anyone from              5      Q And is this you gave a statement to
     6   COPA?                                               6   COPA?
     7      A I did. I don't recall their names.             7      A I believe, yes. I believe I did, yes.
     8   There was two female officers, or I believed        8      Q Was this --
     9   them to be officers. They were wearing street       9            And when did this occur?
    10   clothes, but with bullet proof vests and had       10      A I'm not -- I don't recall.
    11   identified -- you know, their name on the vest.    11      Q Do you have any idea of what the
    12            I met them in the McDonald's              12   outcome of any of that was?
    13   parking lot -- I'm sorry. I met them in the        13      A It's -- I'm -- we're still trying to
    14   Starbucks parking lot on 79th and Harlem.          14   figure it out, I guess.
    15      Q And this was --                               15      Q Besides Mr. Bednarek, have you ever
    16      A Actually, this was the second one.            16   made any complaints against any other Chicago
    17   The first time, I met and dropped the complaint    17   Police officers?
    18   against Mr. Bednarek and met with two female       18      A No.
    19   officers, and they basically talked to me and,     19      Q What is your opinion of the Chicago
    20   you know, kind of I explained to them and they     20   Police Department aside from Mr. Bednarek?
    21   asked me if I wanted to withdraw it; and at that   21      A My old opinion was is that they are
    22   point, I did because I didn't have anymore         22   doing their job and, you know, that they serve
    23   interactions and/or anything with Mr. Bednarek.    23   and protect. My new opinion is we still have
    24            So I just was going let it go; and        24   some of the old --


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     1   then we refiled another; and then met with a        1            I believe the way Mr. Bednarek acts
     2   bunch of investigators, or -- I'm not sure who      2   and kind of has acted, that we still have some
     3   they are -- at Starbucks in Burbank. And that       3   old, you know, the old Sergeant Burge and kind
     4   is where they presented a photo line up and         4   of the stuff that he did.
     5   asked me to, you know, pick Mr. Bednarek out of     5            It kind of makes me feel -- this is
     6   a photo line up, which I did, and then we just      6   just my opinion, but makes me go down the lines
     7   kind of began discussions of, you know,             7   of that's how he operates, the same way that
     8   everything that kind of happened.                   8   that officer and sergeant did, which is now
     9      Q Does that -- excuse me.                        9   coming to light, but they seem to be maybe the
    10           So one complaint you said you              10   same person or act the same way.
    11   dropped?                                           11      Q Why do you connect Mr. Bednarek to
    12      A Correct.                                      12   Burge?
    13      Q Was this after July 12th of 2019?             13      A I mean, look at his criminal history,
    14      A It was before.                                14   how, you know, if I as a normal citizen was on
    15      Q So you dropped a complaint against Mr.        15   multiple domestic violence cases, I sure
    16   Bednarek before your interaction with him on       16   couldn't carry a gun and he's been toting around
    17   July 12th of 2019?                                 17   a gun for how long.
    18      A Right. From -- I believe the                  18            I mean, it's public record. Like I
    19   complaint was made a day or two after the May      19   said, that's kind of how I found out all about
    20   9th incident. I made the complaint and then a      20   this. Doesn't seem to have much disciplinary
    21   few weeks later is when I dropped it. So some      21   action.
    22   time at the end of May.                            22            He was, you know, sued as an
    23      Q And then you mentioned a second               23   officer for firing at somebody. I mean, that's
    24   complaint. Was the second complaint that you       24   why, because he's got nothing to show that he


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     1   has been reprimanded for anything he has done in    1   the Sheriff defendants you and I agree I'll be
     2   his however many years he has been on the force.    2   referring to Sergeant John Barloga, officer Abel
     3   He has got some pretty serious allegations          3   Mercado and Officer Eddie Ishoo?
     4   against him. That's public record.                  4       A Correct.
     5            And the Chicago Police Department          5       Q So we can move things along, you will
     6   has not fired him, has not done anything to him     6   understand that?
     7   and, you know, he is out private investigating      7       A Yes, sir.
     8   and that's why.                                     8       Q Okay. And you understand you sued
     9      Q So is it your understanding that Mr.           9   those three individuals as part of your lawsuit,
    10   Bednarek has never been disciplined by the         10   correct?
    11   Chicago Police Department?                         11       A Correct.
    12      A I think it's public record, is it not?        12       Q And those three individuals were named
    13      Q If you came to find out that Mr.              13   as defendants in this case; is that your
    14   Bednarek had been disciplined by the Chicago       14   understanding?
    15   Police Department, would that have an impact on    15       A It is.
    16   your opinions?                                     16       Q Sheriff Dart is no longer a defendant
    17      A No.                                           17   in this case based upon motion practices; is
    18         MR. LISY: Let's take a ten minute            18   that your understanding?
    19   break and I should be --                           19       A That's right.
    20         MR. COYNE: How about 15 because. I've        20       Q Okay, fair enough. This document, why
    21   got to address a few office issues.                21   don't we mark this. The next exhibit is No. 3,
    22         THE VIDEOGRAPHER: The time is 1:58.          22   correct?
    23   We are going off the record.                       23         MR. LISY: Yes.
    24              (Whereupon a recess was                 24              (Whereupon Deposition

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     1              taken after which the                    1                Exhibit No. 3 was marked
     2              proceedings resumed as                   2                for identification; said
     3              follows:)                                3                exhibit was tendered to
     4         THE VIDEOGRAPHER: The time is 2:20.           4                the witness.)
     5   We are going back on the record.                    5   BY MR. COYNE:
     6            Please proceed.                            6      Q So Mr. Ferguson, Exhibit 3,
     7         MR. LISY: Mr. Ferguson, thank you very        7   plaintiff's response or plaintiff's answers to
     8   much for your time. I have no further questions     8   defendant's interrogatories of the Cook County
     9   for you. Some of the other attorneys                9   Sheriff defendants, you have a copy of that in
    10   representing other parties may have some           10   your hand, correct?
    11   questions for you.                                 11      A I do.
    12         THE WITNESS: Thank you.                      12      Q As I understand it, you had an
    13                EXAMINATION                           13   opportunity to review this document cover to
    14   BY MR. COYNE:                                      14   cover during the break; is that true?
    15       Q Mr. Ferguson, my name is John Coyne.         15      A It's true.
    16   I represent the Cook County Sheriff defendants     16      Q Is it fair to say you participated in
    17   in this matter. I am going to ask you some         17   composing this document with counsel some time
    18   questions as well. In order to move things         18   back?
    19   along, I ask your counsel to show you the          19      A It is.
    20   interrogatory replies that you created in          20      Q Okay. And having had a chance to
    21   response to the Sheriff defendants' request. Do    21   review this document, let me just ask you: Is
    22   you have those in front of you?                    22   the document true and accurate to the best of
    23       A I do.                                        23   your knowledge and belief?
    24       Q All right. When I -- if I refer to           24      A To the best of my knowledge, it is.


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     1       Q All right. And the answers that you           1   alleged against Sergeant John Barloga and
     2   set forth within the entirety of this document      2   Officers Mercado and Ishoo, those allegations
     3   between No. 1 and No. 24, those answers to those    3   pertain entirely to the date July 12, 2019,
     4   questions are true and accurate to the best of      4   true?
     5   your knowledge and belief; is that true?            5       A True.
     6       A That's true.                                  6       Q Okay. Have you ever seen either --
     7       Q And you hold that opinion as true here        7   any of those three officers before July 12,
     8   today and when you created the document itself;     8   2019?
     9   is that fair?                                       9       A Never.
    10       A I do.                                        10       Q And to the best of your knowledge,
    11       Q All right. Now, you did testify --           11   none of those three officers were present at the
    12             In fairness, you did testify to          12   subject home on May 9, 2019; is that fair?
    13   some treatment you have received from Dr. Guzman   13       A That's fair.
    14   and Dr. Siegel. Those two doctors, to the best     14       Q And when I say subject home, can we
    15   of my knowledge, do not appear on that document;   15   agree I will be referring to 7038 West 76th
    16   is that true?                                      16   Street in Chicago, Cook County, is that fair?
    17       A Correct.                                     17       A It was 72nd Street.
    18       Q And is that because at the time you          18       Q West 72nd Street.
    19   signed this document, you had not yet seen those   19       A Nottingham Park, Illinois.
    20   physicians for treatment related to this           20       Q Got you. And you said Nottingham
    21   incident?                                          21   Park?
    22       A I would believe that to be correct.          22       A Correct.
    23       Q All right. Did you --                        23       Q Is that a neighborhood in the City of
    24             By the way, did you ever create a        24   Chicago or is that a suburb?

                                                    203                                                     205
     1   verification page, a signed verification page in    1       A No. They kind of double between
     2   the process of answering these interrogatories,     2   Stickney, Nottingham Park and Bedford Park.
     3   if you know?                                        3   They kind of sit in an unincorporated area of
     4       A I believe I did, yes.                         4   Cook County.
     5       Q Fair enough. We haven't received it.          5       Q Got you. So 7038 West 72nd Street,
     6   That's the reason I ask.                            6   that was the street that you lived across from
     7       A Is it for, like, the e-signature              7   -- that was the house you lived across from on
     8   thing?                                              8   July 12, 2019?
     9       Q Just a signature that states that you         9       A Correct.
    10   have reviewed the document, and the answers are    10       Q So when I refer to the subject
    11   true and accurate to the best of your knowledge    11   location, you will know I'm referring to 7038
    12   and belief.                                        12   West 76th?
    13       A I believe I have.                            13       A 72nd.
    14       Q All right, fair enough. At the time          14       Q 72nd. I'm sorry.
    15   of --                                              15       A Street. True.
    16             Most of my questions are going to        16       Q And then when I refer to subject date,
    17   pertain to the July 12, 2019 incident. As I        17   I will be referring to July 12, 2019; is that
    18   understand the complaint that was filed against    18   fair?
    19   the Cook County defendants, your allegations       19       A Fair.
    20   against those defendants pertain to the July 12,   20       Q To move things along. Prior to July
    21   2019 incident and not the May 9, 2019 incident;    21   12, 2019, had you ever seen Sergeant John
    22   is that true?                                      22   Barloga before?
    23       A That's true.                                 23       A No.
    24       Q Okay. So as far as what you have             24       Q Prior to July 12, 2019, had you ever


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     1   seen Officer Mercado before?                        1       Q So just to clarify, the individual
     2       A Never.                                        2   that Officer -- Mr. Bednarek was talking to at
     3       Q Prior to July 12, 2019, had you ever          3   that time, you don't know who that was, correct?
     4   seen Officer Ishoo before?                          4       A Correct.
     5       A Never.                                        5       Q Okay. Do you have any evidence at all
     6       Q Have you seen any of those three              6   or any reason to believe that Mr. Bednarek spoke
     7   officers since July 12, 2019?                       7   to any of those three Cook County officers at
     8       A I have not.                                   8   any time before the first officer arrived at the
     9       Q To the best of your knowledge, did            9   subject location on the subject date?
    10   Sergeant Barloga have any interaction whatsoever   10       A No.
    11   with Mr. Bednarek prior to July 12, 2019?          11       Q Now, at the time -- and if necessary
    12       A To my knowledge, no.                         12   we can with go to the videos. Mr. Lisy showed
    13       Q Same question for Officer Ishoo and          13   you some videos; and if necessary to make your
    14   Mr. Bednarek?                                      14   answer as thorough as possible, just let me know
    15       A To my knowledge, no.                         15   and we can go to the video.
    16       Q Same question for Officer Mercado and        16       A Sure.
    17   Mr. Bednarek?                                      17       Q But I think we can crystalize this.
    18       A To my knowledge, no.                         18   At the time the first Cook County Sheriff's
    19       Q Okay. So to the best of your                 19   officer arrived, whether it was Officer Mercado
    20   knowledge, they have never met each other before   20   or Officer Ishoo, on the subject date, at that
    21   that date; they never saw each other and never     21   time Vicky Gow was present, correct?
    22   talked to each other, true?                        22       A She was.
    23       A True.                                        23       Q Okay. And she was standing in close
    24       Q Okay. Your testimony earlier was that        24   proximity to Mr. Bednarek at the time the first


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     1   on July 12, 2019, Mr. Bednarek had made a           1   Cook County Sheriff's officer arrived, true?
     2   statement: They're here -- words were, "they're     2       A True.
     3   here, come on over." Do you remember that           3       Q Okay. At the time, Mr. Bednarek
     4   testimony?                                          4   identified himself as an agent of the owner of
     5       A I do.                                         5   the subject home, true?
     6       Q At that time, who do you believe, if          6       A True.
     7   anyone, Mr. Bednarek was talking to?                7       Q Okay. And do you understand that at
     8       A I believe -- I mean, I believe now            8   some point, he identified himself as an agent of
     9   that it was Officer Mercado.                        9   Vicky Gow?
    10       Q And what is the basis for your belief        10       A Yes.
    11   of that?                                           11       Q Okay. And at that time, Vicky Gow had
    12       A Three minutes after he said, "they're        12   a legal right to the property, true?
    13   here, come on over," Officer Mercado pulled up.    13       A I'm not sure at that time. I still
    14       Q Okay. And I recall your testimony --         14   don't know the answer to that.
    15   correct me if I'm wrong -- your testimony was      15       Q Fair enough.
    16   that you're not sure if it was Officer Mercado     16            So who had ownership status of the
    17   that arrived first or another officer; is that     17   subject home, 7038 West 76th -- 72nd Street?
    18   true?                                              18       A Correct.
    19       A That's true, correct.                        19       Q As to who had title and ownership of
    20       Q Okay. So as to whether Bednarek was          20   the home on the subject date of July 12, 2019,
    21   talking to Mercado, Ishoo or Barloga or his        21   that's a matter that you have not successfully
    22   neighbor or someone else at all, can you speak     22   investigated; is that true?
    23   to that directly or no?                            23       A Correct.
    24       A I know -- no.                                24       Q Therefore you don't know, true?


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     1       A True.                                         1   ownership interest in the home, correct?
     2       Q Okay. Would you agree that whoever            2       A No.
     3   did have ownership status of the subject home on    3       Q You don't know one way or the other,
     4   July 19th -- strike that -- July 12, 2019,          4   fair?
     5   whoever did have ownership of the home, that        5       A Correct.
     6   person would have the right to file trespassing     6       Q Fair enough.
     7   charges against persons who did not have an         7             I want to crystalize something.
     8   ownership interest?                                 8   Between May 9, 2019 and July 12, 2019, you did
     9       A Where I was at on the property, no. I         9   realize there was an ownership dispute as to the
    10   was on the City sidewalk.                          10   subject property, correct?
    11       Q Okay. Was there ever a time on July          11       A Correct.
    12   12, 2019, when you were physically on the          12       Q The ownership dispute would be among
    13   property of the subject home, if you know?         13   at least the following individuals: Your
    14       A Yes, I was.                                  14   father, correct?
    15       Q Okay. So on July 12, 2019, we can            15       A Correct.
    16   agree that you were physically present on the      16       Q The estate of Ms. Caldwell, your
    17   property of the subject home, correct?             17   grandmother, correct?
    18       A Correct.                                     18       A Correct.
    19       Q Okay. And you would agree, because           19       Q And Vicky Gow, correct?
    20   previously you had accused Mr. Bednarek of         20       A Correct.
    21   trespassing there, correct?                        21       Q All right. Did you physically,
    22       A Correct.                                     22   yourself, do anything to investigate the
    23       Q So you and I can agree that a person         23   ownership status of that home between May 9,
    24   who is not legally permitted to be on the          24   2019 and July 12, 2019?


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     1   premises is subject to a trespass charge. You       1       A I did not.
     2   know that for a fact, correct?                      2       Q There was a Cook County Sheriff's
     3       A Correct.                                      3   officer that appeared at the subject home on May
     4       Q Okay. And when you accused Mr.                4   12, 2019 -- strike that -- May 9, 2019, correct?
     5   Bednarek of trespassing on May 9, 2019, that was    5       A Correct.
     6   because you believed he did not have a legal        6       Q Do you know the name of that Cook
     7   right to be on the premises, correct?               7   County Sheriff's officer?
     8       A Correct.                                      8       A I don't.
     9       Q You believed at that time that you            9       Q That Cook County Sheriff's officer,
    10   did, correct?                                      10   you never filed any complaint of any sort
    11       A Correct.                                     11   against that officer, did you?
    12       Q Okay. Now, when Vicky Gow was --             12       A I did not.
    13   strike that.                                       13       Q Other than this lawsuit, did you file
    14            Vicky Gow was present when Bednarek       14   any complaint against Sergeant John Barloga?
    15   asked that you be arrested for trespassing,        15       A I did not.
    16   correct?                                           16       Q Other than this lawsuit, did you file
    17       A Correct.                                     17   any complaint against Officer Mercado for any
    18       Q And to the best of your knowledge, she       18   reason?
    19   had a clear and unobstructed view of the officer   19       A I take that back. I believe we did
    20   placing you in custody for the arrest for          20   file with the Attorney General's Office a
    21   trespassing, correct?                              21   complaint regarding this, if I'm correct.
    22       A Correct.                                     22       Q Okay. When you say "we," who do you
    23       Q All right. And you understood at that        23   mean?
    24   time that she may -- at least may have had an      24       A My counsel and I.


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     1       Q Mr. Brindley or another lawyer?                1   filed against Officer Ishoo?
     2       A Another lawyer.                                2       A No.
     3       Q Okay. So it was a complaint with the           3       Q Can we agree that at the time Sergeant
     4    Attorney General's Office against an officer in     4   Barloga first arrived on the scene at the
     5    particular or officers plural or just the           5   subject home on July 12, 2019, you were already
     6    Sheriff's Office?                                   6   in the squad car, correct?
     7       A I don't recall.                                7       A Correct.
     8       Q Okay. What was the complaint for?              8       Q That was a Sheriff squad car, correct?
     9       A I don't -- I don't recall it.                  9       A Correct.
    10       Q Do you recall signing a document in           10       Q And at that point neither Officer
    11    furtherance of submitting that complaint against   11   Ishoo or Officer Mercado had taken you into
    12    the person or entity?                              12   custody and placed you in the squad car,
    13       A I don't.                                      13   correct?
    14       Q Do you know what the outcome of that          14       A Correct.
    15    complaint was?                                     15       Q So at the time you were actually
    16       A I don't.                                      16   physically placed in the squad car on July 12,
    17       Q Did you ever appear in any                    17   2019, that was by one Cook County Sheriff
    18    administrative hearing or any proceeding with      18   officer acting individually, true?
    19    respect to any complaint filed against the         19       A True.
    20    Sheriff defendants in this case?                   20       Q And there was no other Cook County
    21       A I did not.                                    21   Sheriff officer present other than the arresting
    22       Q As to what happened to the complaint          22   Cook County Sheriff's officer, true?
    23    or what the status is presently, you have no       23       A True.
    24    knowledge?                                         24       Q Were you on bond for any offense at


                                                     215                                                     217
     1       A I have no knowledge.                           1   the time of July 12, 2019?
     2       Q Have you ever received any paperwork           2      A I was.
     3   or do you possess any paperwork that would           3      Q What were you on bond for?
     4   reflect the status of the complaint or the           4      A For the obstruction of a court
     5   filing of the complaint?                             5   document.
     6       A No.                                            6         MR. BRINDLEY: To clarify, he pled to
     7       Q All right. And it sounds like you              7   the misdemeanor obstruction of a court document.
     8   don't know who -- what the name of the person or     8   I don't know if he recalls the original charge
     9   persons the complaint was filed against; is that     9   because it only ended up as a misdemeanor.
    10   true?                                               10         MR. COYNE: What?
    11       A Correct.                                      11         MR. BRINDLEY: It ultimately ended up
    12       Q So other than this complaint you are          12   as a misdemeanor. So I don't think he remembers
    13   referring to, were there any other complaints       13   what it started out as. An unusual situation,
    14   you filed against Sergeant John Barloga?            14   they pled the misdemeanor Federal interference
    15       A No.                                           15   with an official document.
    16       Q Okay. And I know you're not saying            16         MR. COYNE: Okay.
    17   you filed a complaint against Barloga because       17   BY MR. COYNE:
    18   you made clear you don't know who the complaint     18      Q And in fact, you made a statement to
    19   was filed against, true?                            19   that effect on video that you were on bond,
    20       A True.                                         20   correct?
    21       Q Okay. Have you filed, other than the          21      A Correct.
    22   lawsuit, any complaints against Officer Mercado?    22      Q Were you on bond with respect to a
    23       A No.                                           23   Federal case?
    24       Q Other than the lawsuit, any complaints        24      A Correct.


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     1      Q Okay. And did you --                           1       Q When you were placed in the back of
     2            Actually, were you in possession of        2   the squad car the first time after you were
     3   your bond slip at that time?                        3   taken into custody, you were aware at that time
     4      A No.                                            4   that you had been arrested for an alleged
     5      Q Were there any restrictions of your            5   trespass, correct?
     6   bond that you were made aware of in the Federal     6       A Correct.
     7   Court case?                                         7       Q Okay. There was no doubt in your mind
     8      A No, no.                                        8   as to why you were arrested, correct?
     9      Q Were you permitted to travel outside           9       A There was a doubt.
    10   the State of Illinois?                             10       Q Well, as far as the charge that you
    11      A Yes.                                          11   were arrested for, that you understood?
    12      Q Okay. In response, if you can turn to         12       A Correct.
    13   your interrogatory Response No. 3, do you see      13       Q That was trespassing?
    14   that answer?                                       14       A Correct.
    15      A Yes.                                          15       Q And do you have any knowledge right
    16      Q So it says: Plaintiff was arrested in         16   now, as you sit here now, whether or not
    17   December of 2018 by Federal officers in the        17   Bednarek was authorized to act on behalf of the
    18   Northern District of Illinois for obstruction of   18   owner of the subject property when he complained
    19   a court document. You pled guilty and served 30    19   against you for trespassing?
    20   days in the Metropolitan Correctional Center in    20       A I do not.
    21   Chicago, Illinois.                                 21       Q Okay. So can we agree that assuming
    22            Do you see that?                          22   Bednarek was a lawful agent of the owner of the
    23      A I do.                                         23   subject home, then he had standing to accuse you
    24      Q So your actual service of the 30-day          24   of trespassing, true?


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     1   sentence in the MCC would have came after July      1      A    I'm not sure.
     2   12th of 2019, true?                                 2      Q    You don't know one way or the other?
     3       A Correct.                                      3      A    Exactly.
     4       Q You were still -- you were on bond at         4      Q    Understood.
     5   the time?                                           5            Do you recall while present at the
     6       A Correct, correct.                             6   scene at the subject home on July 12, 2019 that
     7       Q Once you completed the sentence, you          7   there were certain pieces of paperwork that were
     8   wouldn't have been on bond?                         8   shown to the Cook County Sheriff's officers; do
     9       A Correct.                                      9   you recall that?
    10          MR. BRINDLEY: Wait. Go ahead, I can         10       A I do.
    11   ask you after.                                     11       Q Did you ever have possession of that
    12          MR. COYNE: Either way.                      12   paperwork?
    13          MR. BRINDLEY: I was just going to say,      13       A I did not.
    14   I'm not sure -- I'm not sure the day when you      14       Q Did you ever have a chance to see what
    15   went in to do the 30 days, but -- I just don't     15   that paperwork was?
    16   remember the timing.                               16       A I did not.
    17            Go ahead. Maybe we can clarify it         17       Q All right. Do you recall statements
    18   on redirect.                                       18   made by one or more of the Cook County Sheriff's
    19   BY MR. COYNE:                                      19   officers that that paperwork reflected that
    20       Q All right. I think you clarified             20   Vicky Gow had an ownership interest in the
    21   this, but as far as what, if any, bond             21   subject home?
    22   conditions you were under on July 12, 2019, you    22       A I do not.
    23   don't recall; is that true?                        23       Q And if such a statement were made,
    24       A Correct.                                     24   were you in a position then or are you in a


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     1    position now to say that that statement would be    1            Do you have any reason to believe
     2    incorrect?                                          2   that Mr. Bednarek and Vicky Gow had a romantic
     3       A Can you repeat the question?                   3   relationship as of July 12, 2019?
     4       Q Sure. Yes, I'll represent to you that          4       A I believe at that point, I did know,
     5    there were certain statements made by the           5   yes.
     6    officers on scene, the Cook County Sheriff's        6       Q And the answer was that they did?
     7    officers, that paperwork reflecting that Vicky      7       A Yes, they did.
     8    Gow had an ownership interest in the property,      8       Q As of July 12, 2019, prior to your
     9    that paperwork was shown to the Cook County         9   arriving onto the premises of 7038 West 72nd, at
    10    Sheriff's officers. I'll represent to you that     10   that time did you have a pending complaint
    11    such statements were made in the video in this     11   against Bednarek or had that been withdrawn?
    12    case.                                              12       A That one was withdrawn.
    13             I'm asking you, do you have any           13       Q Do you know whether anyone other than
    14    reason to believe that if such a statement was     14   Bednarek had made any call to the Cook County
    15    made that it would have been factually             15   Sheriff's office on July 12, 2019 regarding your
    16    incorrect?                                         16   presence there?
    17       A Yes.                                          17       A No.
    18       Q What do you base that information on?         18       Q So as to what call, either Ishoo or
    19       A The conversations that I heard with           19   Mercado arrived at the subject home in response
    20    the officers telling Mr. Bednarek that he has no   20   to, you don't know?
    21    ability to press charges or sign a complaint or    21       A The call that Mr. Bednarek made.
    22    anything for any trespassing.                      22       Q And you know for a fact that the Cook
    23       Q You're saying you heard the officers          23   County Sheriff's officer was responding to that
    24    plural or one or more officers say that?           24   particular call that he made as opposed to


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     1       A I heard Sergeant Barloga discussing            1   another?
     2   whatever paperwork that Mr. Bednarek was showing     2       A Correct.
     3   him, and him, it was clear as day, saying, "you      3       Q All right. And what do you base that
     4   know, this isn't the paperwork that would allow      4   on?
     5   for you to sign a complaint or for you to charge     5       A The call, the disconnection of the
     6   them with trespassing;" and that's when the "I       6   call and three minutes later, just me, Mr.
     7   was just trying to scare him" comment came out.      7   Shinstine and Mr. Bednarek standing there;
     8       Q And I recall your testimony on that.           8   nobody else using the phone and him indicating,
     9   You're saying Mr. Bednarek was just trying to        9   "I'm calling the police."
    10   scare you. That was the theory?                     10       Q Okay. So you are not aware of any
    11       A To get the tenant to come back and            11   other call between the time you arrived --
    12   accept the 5-day notice, correct.                   12   between the time you arrived and were accused of
    13       Q Do you believe that Sergeant Barloga          13   trespassing and the time first Cook County
    14   knew or should have known of the ownership          14   Sheriff's officer arrived other than the one
    15   status of that home at any time after he arrived    15   made by Bednarek?
    16   at the subject home?                                16       A Correct.
    17       A I'm not sure.                                 17       Q And did you ever find out the phone
    18       Q Okay. Same question for Officer               18   number he called?
    19   Mercado. Same answer?                               19       A I did not.
    20       A Correct. I am not sure.                       20       Q When -- I think you've answered this,
    21       Q Same question, same answer for Officer        21   but I want to clarify this. To the best of your
    22   Ishoo?                                              22   knowledge, prior to the first Cook County
    23       A Correct.                                      23   Sheriff's officer arriving at the subject home
    24       Q I don't know if you answered this.            24   on July 12, 2019, none of those officers,


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     1   Barloga, Mercado or Ishoo had ever met or spoken    1   handcuffs. Why not assess the situation; hear
     2   to Bednarek before, correct?                        2   from all the parties? I wasn't, you know,
     3       A I don't know.                                 3   angry. I wasn't loud. I wasn't mischievous. I
     4       Q You have no knowledge one way --              4   was none of that, I was conversating.
     5       A I have no knowledge one way or                5            Why the need to immediately put me
     6   another.                                            6   in handcuffs; allow Mr. Bednarek to assist him
     7       Q Do you recall that Mr. Bednarek               7   in putting me in handcuffs, as the video shows;
     8   actually showed his identification to the first     8   putting his hands on me, holding one of my arms
     9   Cook County Sheriff's officer that arrived?         9   behind my back.
    10       A I don't recall.                              10            Why not the ability to kind of talk
    11       Q All right. If I represented to you           11   it out and figure out what's, you know, going on
    12   that that occurred, would you have any reason to   12   and then kind of assess the situation.
    13   disagree with me?                                  13            So that's the idea that I got based
    14       A I would look at the video to confirm         14   on all of that was they had an agenda; and then
    15   it.                                                15   hearing the conversations about, you know, him
    16       Q Actually, you were shown the video           16   not being able to sign a complaint against me
    17   where you actually displayed your driver's         17   for trespassing but yet I still sat.
    18   license to the first Cook County Sheriff's         18            You know, them basically -- him
    19   officer that arrived; do you recall that?          19   asking, you know, "I'm just trying to scare him
    20       A Correct.                                     20   to get the tenant here;" them kind of obliging
    21       Q As far as you know, when the --              21   by it and not stepping in; them allowing him to
    22            Each of the officers first arrived        22   badger me.
    23   at the subject home on July 12, 2019, none of      23            I mean, he opens the door of the
    24   them had any knowledge about the ownership         24   Sheriff's car without any Sheriff there and just


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     1   status of that home, correct?                       1   starts yelling and screaming in my face. I
     2       A Correct.                                      2   mean, that's conspiracy.
     3       Q When you were present and Bednarek was        3            No officers should allow any
     4   present, at least one of the Cook County            4   citizen to do those kinds of things, because I
     5   Sheriff's officers were present, Mr. Bednarek       5   know I wouldn't be able to do it no matter who I
     6   identified himself as a Chicago Police sergeant,    6   was. You know, nobody would -- no normal
     7   correct?                                            7   citizen would be able to do those kinds of
     8       A Correct.                                      8   things that they allowed him to do..
     9       Q And you have alleged in your complaint        9       Q When you say "they," you mean the
    10   the -- I'll tell you the three counts that are     10   Sheriff's officers allowed Bednarek to do?
    11   remaining against the Cook County Sheriff's        11       A Correct.
    12   officers are false imprisonment, intentional       12       Q When you said he was screaming at you,
    13   infliction of emotional distress and civil         13   you're referring to Bednarek?
    14   conspiracy. Does that sound correct to you?        14       A Correct.
    15       A Correct.                                     15       Q It's fair to say that neither Barloga,
    16       Q The other counts having been                 16   Ishoo or Mercado ever screamed at you, correct?
    17   dismissed.                                         17       A Correct.
    18             So I want to ask you the entire          18       Q Okay. So part of the reason why you
    19   list of reasons why you believe that the Cook      19   believe you were arrested without reasonable
    20   County Sheriff's officer who did arrest you did    20   grounds for trespass is because you heard, I
    21   so without reasonable grounds to believe that      21   think you said Sergeant Barloga tell Bednarek
    22   you had committed the offense of trespassing?      22   that he could not sign complaints for trespass
    23   Just tell me?                                      23   against you. Is that your testimony?
    24       A I mean, immediately you put me in            24       A Yes.


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     1       Q Now, is it your --                            1   were placed under arrest by the first Cook
     2            Is the reason you believe that             2   County Sheriff's officer who arrived, at that
     3   supports your false arrest claim because that       3   time Vicky Gow was present?
     4   statement was correct legally or just because       4       A She was.
     5   Barloga said it?                                    5       Q And your belief that you were placed
     6       A Legally because, one, in order to be          6   under arrest or falsely imprisoned, you were
     7   trespassing, I wasn't on the property when the      7   arrested without reasonable grounds is based on
     8   officer came up. I was in the sidewalk in the       8   your belief that Bednarek could not sign a
     9   kind of the runway area there. No -- you know,      9   complaint against you; is that fair or is there
    10   outside of just his word, Bednarek's word, I was   10   another reason?
    11   trespassing. When the officer walked up to us I    11       A Correct. No, that's fair.
    12   wasn't on the property.                            12       Q Is that the only reason?
    13            So he had no knowledge that I was,        13       A Well, the false imprisonment, I mean,
    14   in fact, on the property. He didn't see it. He     14   once -- I believe once an authority, a sergeant
    15   didn't -- you know, he ultimately took             15   of a department says that he legally can't do
    16   Bednarek's word for it; and didn't allow me to     16   it; and then he's told "I just want to scare
    17   do anything, say anything outside of basically     17   him;" and then I sit for two more hours or
    18   begging him as I was being led to the squad car.   18   however long it was -- it felt like ten hours --
    19       Q Okay. Let me clarify. As a factual           19   that that is false imprisonment, yes.
    20   matter, you've testified that you were             20       Q Okay. Any other reasons you have in
    21   physically on that property that day, correct?     21   support of your allegation that you were placed
    22       A Yes.                                         22   under arrest without reasonable grounds other
    23       Q Okay. And you understood that                23   than what you have testified to thus far?
    24   Bednarek had accused you of trespassing in the     24       A No.


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     1   presence of the Cook County Sheriff's officer,      1       Q Okay. And your false imprisonment
     2   correct?                                            2   claim then would apply -- does it apply to
     3      A Correct.                                       3   Barloga and Ishoo and Mercado, or just to the
     4      Q And he did so prior to the Cook County         4   officer who first arrested you and placed you in
     5   Sheriff's officer placing you under arrest,         5   the squad?
     6   correct?                                            6       A All of them.
     7      A Correct.                                       7       Q And what is your basis for all of
     8      Q He also did so in the immediate                8   them?
     9   vicinity of Vicky Gow, correct?                     9       A Somebody has to step up and do the
    10      A Correct.                                      10   right thing. They knew -- they all knew that
    11      Q All of that happened before the first         11   that was the sergeant saying that he can't do
    12   Cook County Sheriff officer placed a hand on       12   that and nobody -- they just kind of sat back
    13   you, true?                                         13   and left me there.
    14      A He -- she -- no. She was not present          14       Q All right. So just so I understand,
    15   when he accused me of trespassing before any       15   your testimony is that one officer, that is the
    16   officer was there. The first time she became       16   first officer who arrived, whether it be Ishoo
    17   aware -- she did not arrive until the officer      17   or Mercado, that officer placed you under arrest
    18   arrives.                                           18   physically and placed you in the squad car,
    19            She basically came around the block       19   correct?
    20   as the officer pulled up. So when she pulled       20       A Correct.
    21   up, they came together in a sense. In her car      21       Q And at the time you were arrested and
    22   she got out and she basically walked up the same   22   placed in the back of the squad car, there was
    23   path that the officer did to me and to Bednarek.   23   only one Cook County Sheriff's officer present,
    24      Q Right. My point is at the time you            24   correct?


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     1      A Correct.                                       1   could have stepped in and said, you know, let's
     2      Q But it's your testimony that the other         2   get him out of there.
     3   two officers, Barloga and then whoever the other    3            You know, they could have --
     4   officer was, those two officers are also            4   somebody could have done something. They just
     5   responsible for placing you under arrest?           5   sat around and led by, what I believe, what
     6      A No, I never -- I didn't say that.              6   Sergeant Barloga was saying.
     7      Q That is what I'm trying to clarify.            7      Q Meaning?
     8      A No.                                            8      A Meaning that he can't sign the
     9      Q But you said your false arrest claim           9   complaint; that, you know, they -- there was no
    10   was against all three of the officers, so that's   10   trespassing ability. He can't do that.
    11   what I'm trying to understand.                     11      Q Other than that, anything else that
    12      A False arrest and false imprisonment, I        12   shows extreme -- or let's just ask, anything
    13   believe are two different things.                  13   else that shows their intention to inflict
    14      Q Let's just refer to the false                 14   severe emotional distress on you?
    15   imprisonment then, okay?                           15      A Yes. I mean, you know, they didn't
    16           So at the time you were falsely            16   allow me to speak. They didn't allow me to
    17   imprisoned, you believe all three officers were    17   talk, have my side of the story. It was one
    18   responsible for the false imprisonment?            18   sided and they just went with it.
    19      A Correct.                                      19            So I feel that with them kind of
    20      Q Okay. And for any other reasons than          20   disregarding me and listening to what I
    21   the reasons you have given thus far?               21   potentially could have had to say or anything,
    22      A No.                                           22   that they didn't care, and so they didn't care
    23      Q Okay, fair enough.                            23   that I sat.
    24           The intentional infliction of              24      Q I'm asking you now in support of your


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     1   emotional distress --                               1   allegation that the officers intended that they
     2            First of all, do you believe that          2   wouldn't actually inflict severe emotional
     3   any of these officers, either Barloga, Ishoo or     3   distress on you. Other than what you've
     4   Mercado ever knew you at any time before July       4   testified to thus far, anything else?
     5   12, 2019?                                           5       A No.
     6       A No.                                           6       Q And anything else, anything in
     7       Q Do you believe any of them had any ax         7   addition to what you've testified to thus far
     8   to grind against you at any time before July 12,    8   regarding any conduct that did, in fact, cause
     9   2019?                                               9   emotional -- severe emotional distress by the
    10       A No.                                          10   officers?
    11       Q Do you believe any of them engaged in        11       A The conversations. The conversations
    12   conduct which they intended to cause you severe    12   with each other about, you know, that's --
    13   emotional distress?                                13   again, I keep going back to it, but that he
    14       A Yes.                                         14   couldn't sign a complaint and, you know; and
    15       Q Okay. And what --                            15   then they just allowed me to sit. For the time
    16            Just give me a specific list of           16   that I did, that's all, you know.
    17   what that conduct consisted of?                    17            And I kind of tried to tell myself
    18       A I mean, just they, you know, making me       18   that I didn't do anything wrong and, you know,
    19   sit in the back seat of a squad car in the         19   I'm sitting back here and I had nothing -- I had
    20   middle of July with it being 80, 90 degrees        20   no bad intentions, no nothing, and yet I'm just
    21   outside knowing that somebody -- one of them       21   sitting. And I continued to sit and sit and sit
    22   could have stepped up; and basically once it was   22   until they just decided to do what they wanted.
    23   determined that he couldn't sign a complaint and   23       Q Wasn't there a time when Officer
    24   then he says he just wants to scare me, somebody   24   Mercado or Officer Ishoo actually removed you


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     1   from the rear of the squad car and released your    1   in this situation between the estate and the
     2   handcuffs in order to put them on again because     2   family. I had no knowledge of any of it.
     3   you were complaining they were too tight?           3            I was simply doing what I had been
     4      A I don't recall that. I recall them             4   always doing, and I wanted away from all of
     5   unhooking my handcuffs for me to make a phone       5   this. I wanted no part of this. I didn't want
     6   call to the tenant.                                 6   to have this happen or anything.
     7      Q You recall --                                  7       Q Do you begrudge the officers for
     8            Say that again. I'm sorry.                 8   arresting you for trespassing if that complaint
     9      A I don't recall them unloosening my             9   was made by a person who owned the property?
    10   handcuffs and re-putting them back on. I recall    10       A No. I mean, that would be their job.
    11   them letting me out of the vehicle,                11       Q Okay. And in fact, once the complaint
    12   unhandcuffing me, making a phone call to the       12   refusal form was signed, they released you from
    13   tenant to ask him to come to the home, and then    13   the squad car, correct?
    14   being put back in handcuffs and back in the        14       A Correct.
    15   vehicle.                                           15       Q Okay. And in fact, you thanked the
    16         MR. COYNE: Max, could you bring up           16   officers. You said, "you won't see me again,"
    17   Unwanted_subject-8. You could go to                17   and you thanked them, correct?
    18   approximately 28:30.                               18       A I did.
    19              (Whereupon the requested                19       Q Are you able to --
    20              video was played.)                      20            Let me ask you about your
    21   BY MR. COYNE:                                      21   allegations of -- you also have a civil
    22      Q Can you see this all right?                   22   conspiracy claim against the three officers,
    23      A I can see it now, yes.                        23   correct?
    24              (Whereupon the video was                24       A Correct.

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     1            played and paused.)                        1      Q And it's your belief that Bednarek was
     2        MR. COYNE: You can stop it. Thank              2   engaged in some sort of a conspiracy with one or
     3   you.                                                3   more of the three officers that you sued?
     4   BY MR. COYNE:                                       4      A Correct.
     5      Q Do you know which officer that you             5      Q And just tell me what evidence you
     6   sued that is who just released your cuffs?          6   have that Mr. Bednarek developed any
     7      A I don't.                                       7   conspiratorial agreement with -- let's start
     8      Q Okay. Can we agree that that officer           8   with Sergeant Barloga, against you?
     9   did, in response to your request to take the        9      A Just all of them sitting around
    10   cuffs off you because you said you were            10   talking about the ability to not be able to sign
    11   uncomfortable?                                     11   a complaint, and that he wanted to scare me, and
    12      A The video would show me that he was           12   they just continued to have conversations and do
    13   changing out his cuffs for another officer's       13   nothing other than just leave me sit there.
    14   cuffs.                                             14      Q Okay. And in fairness to you, you are
    15      Q Do you remember him saying he was             15   referring to earlier testimony you gave?
    16   doing you a solid?                                 16      A Correct.
    17      A I do.                                         17      Q Other than what you have testified to
    18      Q Okay.                                         18   thus far, do you have any other evidence that
    19      A Now I do.                                     19   supports your contention that Sergeant Barloga
    20      Q What were you attempting to explain to        20   was involved in any conspiracy against you with
    21   the officer at that time when you say I won't      21   Bednarek?
    22   come back?                                         22      A No.
    23      A Just let me go. I'm going to get away         23      Q Other than what you have testified to
    24   from this situation because I had no involvement   24   thus far, do you have any other evidence that


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     1   Mercado -- Officer Mercado was involved in any      1   disciplinary action taken, or which occurred,
     2   conspiracy against you with Bednarek?               2   can we agree then you have no valid basis to
     3       A No.                                           3   fear retaliation from any of these three
     4       Q Same question as to Officer Ishoo,            4   officers?
     5   other than what you have testified to thus far?     5       A No.
     6       A No.                                           6       Q You still would?
     7       Q Do you have any fear of retaliation by        7       A It's my opinion. It's my belief.
     8   any of the Cook County Sheriff's officers?          8       Q I know. I'm just trying to get the
     9       A I do.                                         9   basis for that belief.
    10       Q And what is that fear based on?              10       A Yes, I mean, it's just -- it will kind
    11       A This lawsuit.                                11   of just always be in my mind.
    12       Q So it's your belief that because you         12       Q You mean the potential for
    13   filed this lawsuit, you, as a result, have a       13   retaliation?
    14   fear of potential retaliation by either Sergeant   14       A Correct.
    15   Barloga or Officer Mercado or Officer Ishoo?       15       Q Even if no disciplinary action was
    16       A I do.                                        16   taken or resulted, you still think there would
    17       Q And can you tell me what specifically        17   be a risk of retaliation?
    18   that is based on?                                  18       A Correct.
    19       A Just, I guess, common sense, right? A        19       Q All right. And other than what you
    20   lawsuit against them, a disciplinary action        20   have testified to thus far, is there any other
    21   potentially, potential loss of a job. You know,    21   reason you have in support of that?
    22   that affect a family. It could kind of run deep    22       A No.
    23   and, you know, people could do things that --      23       Q You -- was there eventually a
    24   out of retaliation.                                24   conveyance of the property by Vicky Gow to your


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     1             I mean, it happens all time. And          1   father as far as you know?
     2   so I do have fear that this lawsuit and any         2       A Yes, there was, I believe. Actually I
     3   potential disciplinary action that comes from       3   know, yes.
     4   anything could lead to retaliation.                 4       Q Okay. So that would suggest that you
     5       Q Retaliation by one of the officers            5   now have reason to believe that Vicky Gow at
     6   against you?                                        6   least at one point was the owner of the
     7       A Correct.                                      7   property, correct?
     8       Q That would be in the instance where           8       A No.
     9   there were some disciplinary action, first of       9       Q How would she convey it to your father
    10   all, initiated against them; and secondly,         10   if she didn't own it?
    11   successfully, correct?                             11       A Well, she didn't convey it. It seemed
    12       A Correct.                                     12   to have transferred from the other brother, her
    13       Q Are you aware of any disciplinary            13   and my father in an agreement for my father to
    14   action that has been initiated against Sergeant    14   buy the home and then them split the proceeds.
    15   Barloga, Officer Mercado or Officer Ishoo as a     15             So there was never, in my -- again,
    16   result of your allegations against them?           16   my understanding of it; not that I got too in
    17       A I don't.                                     17   detail, was -- is that it was in probate and
    18       Q Would you agree there hasn't been any        18   they had an agreement; and my uncle, my dad and
    19   successful disciplinary action against any of      19   Mrs. Gow were going back and forth on the
    20   them either, correct?                              20   property; and that ultimately they agreed to
    21       A Now that you tell me, yes, but I would       21   allow my dad to purchase the property for the
    22   have no knowledge of it, nor how I would find      22   cost of the house was the end result.
    23   out about the knowledge of that.                   23             They were putting it up for sale;
    24       Q Sure. Assuming there is no such              24   and there was going to be proceeds split between


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     1   the three of them, but my father opted to buy       1   to go home to my wife and kids now.
     2   the home from them; and they had to come to an      2             Who knows how long I'll have to sit
     3   agreement on the price; and he bought the home,     3   in jail because now I've violated my bond. All
     4   and now he is the rightful owner of the home.       4   that basically plays the role in the mental
     5      Q When did that happen? When did he buy          5   anguish that kind of inspired from Sergeant
     6   the home?                                           6   Barloga by not saying hey.
     7      A Maybe a year ago or so; maybe, if not          7             Once he said that he couldn't sign
     8   longer.                                             8   a complaint and that he didn't have the right
     9      Q But regardless, as to the ownership            9   to, I felt and I should have just been
    10   status on July 12, 2019 of the subject home, you   10   immediately removed from the vehicle and sent on
    11   can't speak to that, correct?                      11   my way.
    12      A Correct.                                      12       Q Say that again.
    13      Q Are you able --                               13       A Immediately removed from the vehicle
    14            You testified earlier as to the           14   and kind of sent on my way.
    15   damages in this case, and you testified as to      15       Q Are you able to give any sense of what
    16   PTSD, although you have never been diagnosed       16   portion or how much responsibility he has for
    17   with it. You did suffer from depression? I         17   those injuries you testified to?
    18   wasn't sure. Did you say Dr. Guzman did            18       A I wouldn't be able to do that.
    19   diagnose you with depression or no?                19       Q That's not an effort you can make
    20      A He did.                                       20   successfully?
    21      Q And the other mental, or I should say         21       A Correct.
    22   emotional damages you testified to, are you able   22       Q Fair?
    23   to provide an explanation as to what               23       A Fair.
    24   responsibility Sergeant Barloga has himself        24       Q Give me one second.


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     1   specifically for the mental and emotional           1             You had mentioned -- you stated in
     2   injuries you testified to?                          2   the complaint on Paragragh 43 -- I am just going
     3       A If you are asking me to -- telling me         3   to quote it: Mercado and Ishoo further violated
     4   what I believe he should have done in his role,     4   plaintiff's rights by creating sworn police
     5   yes, I believe he contributed to it.                5   reports containing materially false statements
     6       Q Right. And I'm not asking you for             6   attributing to defendant, Bednarek, the ability
     7   that. I mean, I'm asking you if you can explain     7   to press charges for trespassing, which legally
     8   to me, as counsel for Sergeant Barloga, what        8   -- it says, which legally baseless allegation
     9   portion or how he is specifically responsible       9   was used unlawfully to detain Timothy.
    10   for the emotional injuries that you suffered as    10             Did you hear that?
    11   a result of this episode as distinct from Mr.      11       A I did.
    12   Bednarek or the other actors in this case?         12       Q Okay. And what police reports are you
    13       A By not taking the lead as the sergeant       13   referring to?
    14   of those officers who I believe, you know,         14       A I don't recall exactly which one it
    15   detained me or arrested me unjustly; and once      15   would be. My assumption or guess would be that
    16   hearing basically -- and telling Sergeant          16   it's related to the reports that they made on
    17   Bednarek and the others that there was no          17   this specific incident.
    18   ability to sign a complaint or press charges       18       Q Okay. And was that a police report
    19   against him, that he didn't have that ability      19   that you ever viewed yourself?
    20   based on paperwork that he was trying to show;     20       A I believe I did see it. I believe I
    21   that he would have stepped in and allowed me to    21   did.
    22   be free; not to continue to sit there for the      22       Q All right. You're saying this was a
    23   time I did wondering if I was going to jail, if    23   police report from the July 12, 2019 incident?
    24   I was going to violate my bond, if I'm not going   24       A I believe that's correct.


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     1       Q Did you also see a police report from         1   you were physically present on those premises
     2   the May 2019 incident?                              2   prior to July 12, 2019?
     3       A I don't believe I saw that, no.               3       A No.
     4       Q So the only police report you saw             4       Q And you were asked about conversations
     5   prior to your testimony here today is a police      5   with various people, including your wife and
     6   report from July 12, 2019?                          6   Reyna who was the -- as I understand it, was the
     7       A Correct.                                      7   girlfriend of the occupant as of July 12, 2019,
     8       Q And who was --                                8   correct? Do you recall those questions?
     9            What police agency was that created        9       A Correct.
    10   by?                                                10       Q Did you have any conversations with
    11       A The Cook County Sheriff's agency.            11   any of those persons -- I can go through the
    12       Q Sorry?                                       12   list if you'd like -- regarding the alleged
    13       A The Cook County Sheriff's agency.            13   conduct of Sergeant Barloga, Officer Ishoo or
    14       Q And what was the materially false            14   Officer Mercado on July 12, 2019?
    15   statement or statements contained in that          15       A Just my wife. Everybody else, no.
    16   document?                                          16       Q And you had conversations with your
    17       A That -- I believe, I can't quote it          17   wife about Barloga, Ishoo and Mercado?
    18   correctly or directly or verbatim in a sense,      18       A Correct.
    19   but along the lines of that I was trespassing on   19       Q Just tell me what you said to her
    20   a property, and that was kind of their basis for   20   about those three individuals?
    21   arresting me. But again, I can't recall the        21       A It was just giving, like, the whole
    22   exact word for word, the basis of the report.      22   theory or the whole, like, situation from start
    23       Q Sure. But you were trespassing,              23   to finish, kind of what happened, how it
    24   weren't you?                                       24   happened. But outside of just kind of the whole


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     1      A I was not.                                     1   event that evening.
     2      Q Okay. And you say that based -- on             2      Q Was there anything that you told her
     3   for what reason?                                    3   that you haven't testified to here today?
     4         MR. BRINDLEY: Objection. I think he           4      A No.
     5   asked and answered this question.                   5      Q All right. Anything that she said to
     6   BY MR. COYNE:                                       6   you about any of those three officers?
     7      Q And you can go ahead. You did, I just          7      A No.
     8   want to make sure I understand the specific         8         MR. COYNE: I don't have anything
     9   reason you weren't trespassing.                     9   further. Thank you.
    10      A I wasn't on the property when it's --         10         THE WITNESS: Thank you.
    11   an alleged trespassing. While I admit that I       11         MR. LISY: Want to take a quick break?
    12   was, but -- and also Mr. Bednarek not having the   12         THE VIDEOGRAPHER: The time is 3:14.
    13   ability to do that.                                13   We are going off the record.
    14      Q Okay. Those are the only reasons,             14               (Whereupon a recess was
    15   correct?                                           15               taken after which the
    16      A Correct. Well, and outside of me              16               proceedings resumed as
    17   having the belief that the property was with my    17               follows:)
    18   father. I was at the property 100 million times    18         THE VIDEOGRAPHER: The time is 3:19.
    19   a day back and forth over the last however many    19   We are going back on the record.
    20   years. So I never had the assumption that I        20            Please proceed.
    21   would ever be trespassing at my grandmother's      21                 EXAMINATION
    22   house.                                             22   BY MR. OLSON:
    23      Q Sure. And do you have any reason to           23      Q Good afternoon, Mr. Bednarek -- how
    24   believe that Barloga, Ishoo or Mercado knew that   24   about that.


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     1             Mr. Ferguson, my name is Thomas           1      A Correct.
     2   Olson. I represent Mr. Bednarek and D-Bats in       2      Q You did not know the amount of monthly
     3   this case. I do have follow-up questions for        3   rent, correct?
     4   you. I am going to go through some notes I made     4      A Correct.
     5   during your testimony and then run through some     5      Q Do you know how Mr. Halloron made
     6   questions I have planned before beginning your      6   those payments, like cash, check, credit card,
     7   deposition.                                         7   Zelle, Venmo, PayPal? And I think I have
     8             As we go through it there may be          8   exhausted my list of how to make payments there.
     9   some pauses in time. Forgive me for that. I'm       9      A I would say cash.
    10   just trying to get through notes and not ask you   10      Q Mr. Halloron, as you mentioned, moved
    11   things a second or perhaps third time.             11   into that home because -- or at least due in
    12             That being said, we have been here       12   part of a separation from his wife back around
    13   for a while today. So it will probably             13   that time; is that right?
    14   inevitably happen. I am not trying to keep you     14      A Correct.
    15   here any longer or anybody else any longer. I'm    15      Q And what was his wife's name?
    16   just -- either I missed or need to be reminded;    16      A Stacey.
    17   fair enough?                                       17      Q Do you maintain any type of contact
    18       A Fair enough.                                 18   with Stacey?
    19       Q Okay. Let me just kind of run through        19      A I don't, no.
    20   some notes. I have some follow-up questions.       20      Q Do you know if Stacey has any social
    21             A while ago now you gave some            21   media or anything along those lines?
    22   testimony regarding some research you did,         22      A I don't.
    23   Google-type research on Mr. Bednarek or,           23      Q Any idea where she may live now?
    24   quote-unquote, "unwritten policy" with the         24      A I believe she is still living in


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     1    Police Department. Do you remember that            1   Burbank.
     2    testimony?                                         2      Q Do you know if she still has the name
     3        A I do.                                        3   Halloron or has she changed it?
     4       Q Did you print any of that research            4      A I'm not too sure.
     5    that you found?                                    5      Q Do you know what her maiden name was?
     6        A I did not.                                   6      A I don't.
     7       Q Did you save it any other way, like,          7      Q Forgive me. Is it Shinstine?
     8    you know, copy and paste a link and email it       8      A Shinstine, correct.
     9    yourself so you would find it later?               9      Q Shinstine. You mentioned Mr.
    10        A I don't recall.                             10   Shinstine is self-employed, I guess. He is a
    11       Q Okay. When or about when did Mr.             11   general contractor, owns his own business?
    12    Halloron move in to the subject property?         12      A Correct.
    13        A I would say it would be December of         13      Q What is the business name?
    14    2018-ish.                                         14      A Empire Maintenance.
    15       Q Okay. And who was living at that             15      Q Have you ever worked in any capacity
    16    subject property before he moved in, if anyone.   16   for Empire Maintenance?
    17        A Nobody.                                     17      A Never.
    18       Q Was that property furnished when he          18      Q Okay. Just based on your relationship
    19    moved in? Like was there bedding and couches      19   with Mr. Shinstine, what is your understanding
    20    and other furniture there?                        20   of what the nature of that business is?
    21        A No, it was not.                             21      A Landscaping and wood building decks
    22       Q You mentioned that Mr. Halloron was          22   and fences and kind of that nature.
    23    paying rent to your father. Did I get that        23      Q All right. At the property in July
    24    right?                                            24   12, 2019, a number of people showed up,


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     1    including your sister and brother-in-law, right?    1       A For, like -- on and off, I would go
     2        A Correct.                                      2   across the street and stay over there, but never
     3        Q And how did it come to be they showed         3   legally separated and/or for any long periods of
     4    up; like, did you call them or do you know how      4   time.
     5    it came to be that they appeared at the             5       Q How long have you and Larissa been you
     6    property?                                           6   and Larissa?
     7        A Paul -- Mr. Shinstine, called them.           7       A 13 years.
     8        Q Okay. Ms. Kowalski you've talked              8       Q And you probably told us when you got
     9    about, how did you first meet or come to know       9   married. How long ago was it?
    10    Ms. Kowalski?                                      10       A It will be 10 years in June.
    11        A Through a family friend.                     11       Q Okay. Since being married, the on
    12        Q And about how long had you known Ms.         12   again/off again of, you know, going across the
    13    Kowalski up until July 12, 2019?                   13   street and staying there for a couple nights,
    14        A Maybe six months to a year.                  14   approximately how many times did that happen?
    15        Q Do you recall which family friend it         15   Like 10 times, 20 times, 50 times. Just your
    16    was that introduced you or otherwise --            16   best estimate.
    17        A I don't, no.                                 17       A Less than five times.
    18        Q When or about when is the last time          18       Q Since July 12, 2019, have you received
    19    you had any communication with Ms. Kowalski        19   any threats, verbal threats, physical threats,
    20    about anything?                                    20   anonymous letters or email threats from anyone
    21        A That evening, July 12, 2019.                 21   that you understood to be some sort of
    22        Q You mentioned the night of the July          22   retaliation or result of you filing this
    23    12, 2019 incident, you had a -- or you described   23   lawsuit?
    24    as a long conversation with your wife Larissa,     24       A No.


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     1    right?                                              1       Q Earlier you testified that you didn't
     2       A Correct.                                       2   have -- you haven't had any discussions with
     3       Q Give or take about how long? Hour,             3   your father about the May 2019 or July 12, 2019
     4    three hours?                                        4   incident; is that right?
     5       A Three hours, I think. We drank some            5       A Regarding the incident itself,
     6    wine and -- yes, about or three, four hours, I      6   correct.
     7    would say.                                          7       Q And, likewise, you haven't had
     8       Q And that took the --                           8   discussions with him about this lawsuit, true?
     9       A Well in the night.                             9       A Outside of him knowing I was coming
    10       Q I'm sorry. I didn't mean to cut you           10   for a deposition; but the details and kind of
    11    off. Go ahead.                                     11   the fruit of the lawsuit, no.
    12       A Well into the night.                          12       Q And you asked him about a week ago if
    13       Q And that conversation took place at           13   he could drive you here today, right?
    14    Larissa's grandmother's house?                     14       A Correct.
    15       A Correct.                                      15       Q So prior to a week ago, as far as you
    16       Q Okay. Prior to July 12,2019, it's my          16   know, did your father have any knowledge about
    17    understanding --                                   17   this lawsuit?
    18            Well, let me just ask you -- -             18       A He did. But just the nature, that
    19            Were you and Larissa living in the         19   it's -- I have a lawsuit, yes, but nothing -- no
    20    same residence?                                    20   deep -- no conversations about the basis of it
    21       A We were.                                      21   or anything.
    22       Q Okay. Had you ever --                         22       Q So he knew the lawsuit existed?
    23            Had you and Larissa ever separated         23       A Correct.
    24    before July 12, 2019?                              24       Q And did he know it existed through


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     1   communications with you, or do you not have any     1   Golden Ferguson. Was he --
     2   knowledge if he got that knowledge somewhere        2           Let me ask you to go through it
     3   else?                                               3   quickly.
     4      A I think through --                             4           Was he present at the May 2019 or
     5            I would say through me when I began        5   July 2019 incident?
     6   the process.                                        6      A Neither.
     7      Q Outside of telling him or generally            7      Q Okay. Have you ever spoken to him
     8   making him aware that you are filing this           8   about any of those incidents?
     9   lawsuit, is it your testimony that you did not      9      A None.
    10   go into any details with him about what happened   10      Q Have you ever spoken about the
    11   or why or what your allegations were going to      11   lawsuit?
    12   be?                                                12      A Nothing.
    13      A Correct.                                      13      Q Have you ever spoken him about the
    14      Q Did he ask you for that information           14   nature of the property dispute of who claims
    15   and you respond by saying, "I don't want to talk   15   what?
    16   about it," or did it even come up?                 16      A Nothing.
    17      A No, he didn't ask really. No.                 17      Q Does -- where does Golden live?
    18      Q It's my understanding that this May 9,        18      A Last I knew, probably five years
    19   2019 incident is the first time you ever           19   ago-plus, that he lived in Florida.
    20   remember ever seeing or interaction with Mr.       20         MR. BRINDLEY: Where else would You
    21   Bednarek; is that right?                           21   expect with a name like Golden.
    22      A That's correct.                               22         MR. OLSON: California.
    23      Q And this initial interaction came             23   BY MR. OLSON:
    24   about because a neighbor of yours, Mr. Ramos,      24      Q From what it sounds like, you don't

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     1   made you aware that someone come up to the door     1   have a close relationship with your Uncle Golden
     2   and had a gun and was kind of driving around        2   Ferguson; is that true?
     3   back and forth or staying in the area; is that      3      A Absolutely.
     4   fair?                                               4      Q Okay. The May 2019 incident, was your
     5       A That's fair.                                  5   Aunt Vicky Gow ever present?
     6       Q And you did not call 911, correct?            6      A No.
     7       A Correct.                                      7      Q Had the Cook County Sheriff's
     8       Q And is there any reason why you               8   Department responded to this property for any
     9   wouldn't call 911 given that someone you don't      9   reason before May of 2019?
    10   know is going up to the house who is armed?        10      A Not to my knowledge.
    11       A No. There isn't any reason. I                11      Q Just through history of a long
    12   probably should have.                              12   relationship with Mr. Halloron, you, after
    13       Q About May of 2019, it had probably           13   conversing with your father, agreed to let him
    14   been going on probably for years by then, you      14   move into the property and pay some sort of
    15   were aware that there was some sort of property    15   rent, right?
    16   dispute between Vicky Gow and your father about    16      A Correct.
    17   this home, right?                                  17      Q And it was never reduced to writing,
    18       A And my uncle as well, correct.               18   meaning a lease, correct?
    19       Q And uncle?                                   19      A Correct.
    20       A Golden.                                      20      Q Do you know if there is any writings
    21       Q I'm sorry. You said Golden?                  21   or documentation, even just emails, text message
    22       A Yes, and then last name is Ferguson.         22   or anything regarding the nature of how long he
    23       Q Golden Ferguson, okay. Forgive me, my        23   might be there or how much rent be would pr
    24   memory is off. I don't remember hearing about      24   anything like that?


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     1      A There is none.                                  1   negatively saying -- I think her words were
     2      Q Earlier when discussing the July 12,            2   "fuck you," and saying "go get him, Rich" or
     3   2019 incident, you mentioned that Mr. Bednarek       3   something like that, right?
     4   had a save the blue or some sort of t-shirt on       4       A Correct.
     5   along those lines, right?                            5       Q After she made the comment, you know,
     6      A Correct.                                        6   "get him, Rich," or I think you said earlier,
     7      Q And I think you mentioned that there            7   you know, "lock him up, Rich" or something like
     8   was a CPD star on that shirt; is that right?         8   that, did Mr. Bednarek do anything to you?
     9      A After watching the video, I believe it          9       A He did not.
    10   was, like, a badge. I don't believe it was tied     10       Q Did he make a move toward you that,
    11   directly to CPD after watching the video, but it    11   you know, made you think he might do something
    12   was, like, a black the blue t-shirt.                12   like, you know, take a couple steps, charge at
    13      Q And that's kind of what I want to make         13   you, look, anything like that?
    14   sure I'm understanding you right. The, what we      14       A I don't recall.
    15   will call a badge on a shirt that there was         15       Q Okay. Do you recall him saying
    16   actually a print on the shirt as opposed to a       16   anything to Vicky in response like, you know,
    17   badge he could take off and remove like a police    17   "we'll handle it later; don't worry about it
    18   officer badge, correct?                             18   anymore," any type of response to her?
    19      A I believe, in watching the video               19       A No.
    20   again, he did have a badge in his belt, but the     20       Q You were mentioning that there is at
    21   badge was printed on this shirt as anybody could    21   least a consideration from what it sounded like
    22   probably buy the shirt.                             22   with Mr. Halloron suing you because of the
    23      Q Okay. So the CPD badge, you recall             23   problems he was having at the property; is that
    24   both memory and from what you seen in the video     24   right?


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     1    today, that he had it around his waist like         1       A Correct.
     2    where you put a belt?                               2       Q It never came to fruition, correct?
     3        A I believe so.                                 3       A Correct.
     4        Q Okay. Did you ever ask your Aunt              4       Q What is your understanding of what Mr.
     5    Vicky to provide you with any sort of               5   Halloron would sue you for?
     6    documentation indicating her ownership interest     6       A Basically renting him a home because
     7    or rights to do anything with the property?         7   the way he was -- the way he was taking it was
     8        A I did not.                                    8   that he was going to ultimately be in trouble
     9        Q Did she ever try to give you any of           9   for illegally occupying a home that we -- my
    10    that, send it to you in the mail or ask if you     10   father and then I giving him permission to stay
    11    wanted it or offer to show it to you?              11   in the home.
    12        A No.                                          12            The money that he paid, there was a
    13        Q Before May of 2019, how would you            13   concern that basically he would have owed the
    14    describe your relationship with your Aunt Vicky    14   money somewhere else based on this information.
    15    Gow? Is it distant before that?                    15   So it was a variety of different kind of reasons
    16        A Yes, it has been distant for years.          16   where he felt he needed to protect himself
    17        Q Okay. It sounded like towards the end        17   potentially.
    18    of the July 2019 incident, you were walking past   18       Q And you and Mr. Halloron are still
    19    your Aunt Vicky, and you said that you said that   19   close friends, right?
    20    -- made a comment to her that you will do          20       A Correct.
    21    whatever that needs to be done to get rid of the   21       Q And your friendship goes back decades,
    22    situation; is that fair?                           22   true?
    23        A Correct.                                     23       A True.
    24        Q And Vicky responded I'll say                 24       Q In terms of the physical injuries you


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     1   described, some swelling and bruising or some       1   basically just paying the mortgage payment, the
     2   sort of discoloration of a thumb, correct?          2   low mortgage payment on the home.
     3      A Correct.                                       3      Q Uh-huh.
     4      Q And you mentioned taking some                  4      A And the agreement is he keeps the
     5   ibuprofen, using some ice, and about 24 hours or    5   upkeep. He cuts the grass; he, you know, fixes
     6   so that had all subsided, right?                    6   the fence; he fixed the soffits. We haven't
     7      A Correct.                                       7   gotten to a roof issue or any major issue, but
     8      Q Did you at any time take any                   8   appliances, he buys his own appliances. So
     9   photographs of your thumb when it was swollen or    9   everything that would come with the upkeep of a
    10   discolored in any way?                             10   landlord, I don't have to do.
    11      A I did not.                                    11      Q Okay. In terms of the sleeplessness
    12      Q You mentioned that after this, you            12   that you mentioned, have you ever gone to a
    13   moved out of your home and went to live with       13   sleep study where you have to go to a medical
    14   your wife in a separate residence, right?          14   office and they put all sorts of sensors on you
    15      A Correct.                                      15   and you have, like, an overnight sleep study?
    16      Q And that you now rent your prior              16      A I have not.
    17   house, true?                                       17      Q Has any treatment provider, whether it
    18      A True.                                         18   be Dr. Guzman, Dr. Siegel or anyone else,
    19      Q And who do you rent it to?                    19   recommended to you that have you have a sleep
    20      A Anthony Dorman.                               20   study done?
    21      Q Can you spell that one for me?                21      A No.
    22      A Anthony and then Dorman, D-o-r-m-a-n.         22      Q Did you ever ask them about having a
    23      Q And what is your relationship with Mr.        23   sleep study done?
    24   Dorman?                                            24      A No.


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     1       A He is my cousin.                              1      Q The prescription that you had,
     2       Q Like does it go back decades?                 2   Sertraline, did I say that right?
     3       A He's my cousin, my first cousin.              3      A I believe that's how it is said.
     4       Q And for how long has Mr. Dorman been          4      Q Okay. Where did you have that
     5   renting your prior residence?                       5   prescription filled?
     6       A Since September of 2019, so almost            6      A In Dr. Guzman's office. They double
     7   coming up four years.                               7   as a pharmacy.
     8       Q And do you sometimes go to your prior         8      Q And I'm sorry. Where is Dr. Guzman's
     9   residence to fix anything that may be wrong with    9   office located?
    10   it as a landlord or anything like that?            10      A 63rd Street and I think it's Kolin
    11       A No.                                          11   Avenue. I believe that's either Stickney or
    12       Q When was the last time you went to           12   Chicago. I'm not sure one of -- which side it's
    13   your prior residence?                              13   on.
    14       A It's at least been a few years, couple       14      Q Is it, you know, like an affiliation
    15   years.                                             15   like, you know, Methodist Hospital and that's
    16       Q When there is a problem there --             16   where he's at, or is that his own office?
    17             Well, let me strike that and start       17      A No, no, he is affiliated, I believe,
    18   over?                                              18   with either OSF or Advocate, one of the two.
    19             If or when there is a problem there      19      Q Okay. We're talking about some
    20   that needs to be handled, a leaky roof, you        20   problems that you have had since July of 2019.
    21   know, a problem with the downspout, a problem      21   You mentioned, you know, withdrawing socially
    22   with an appliance or something, how do you         22   and not wanting to go out as much and things of
    23   handle that?                                       23   that nature, right?
    24       A He -- it's an agreement. He is               24      A Correct.


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     1       Q Has there been any event specifically         1   2020 because of the pandemic?
     2   that you missed because of those issues, such as    2       A Correct.
     3   you didn't attend your nephew's wedding or          3       Q Yes in 2021?
     4   something like that? Any kind of event like         4       A Correct.
     5   that stands out that you did not go to because      5       Q And you have returned or started
     6   of these issues?                                    6   going --
     7       A No major event. Nobody has gotten             7       A Starting to slowly get back to normal
     8   married or anything in this time frame.             8   and up to date. So between 2022 and to the
     9       Q Outside of weddings, have there been          9   current date.
    10   any major events that you have gone to since       10       Q Okay. Have you taken any family
    11   July of 2019?                                      11   trips, whether it be Florida, the Dells, Italy,
    12       A I went to a concert in Tinley Park           12   anything like that since July 2019?
    13   maybe twice over the last couple years, but        13       A I did go to Florida, Panama City
    14   other than that, I can't think of any big events   14   Beach, Florida in 2021.
    15   that I would -- I usually do go to Cubs games,     15       Q With whom?
    16   but I haven't gone. I would take the train. I      16       A My wife and my children.
    17   haven't done that. So outside of any other big     17       Q You stayed at a hotel down there?
    18   events, I can't think of any.                      18       A We went, like, an Airbnb.
    19       Q Not to make them sound like small            19       Q Okay. Fly or drive there?
    20   events, but maybe smaller events that you were     20       A We drove.
    21   able to attend, things like family birthdays or    21       Q How long was the time in Panama City
    22   other holidays and things of that nature, right?   22   Beach? A week?
    23       A That has started to come around now,         23       A Seven days.
    24   yes. Prior to -- after the incident, like, you     24       Q You mentioned that before the

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     1   know, even family events were just no longer        1   interactions with Mr. Bednarek you had good or
     2   appeasing to me. I would just stay home and my      2   otherwise positive interactions with the Chicago
     3   wife and kids would go. You know, I missed a        3   Police Department, right?
     4   couple Christmases, Thanksgivings, stuff like       4      A With all law enforcement, correct.
     5   that.                                               5      Q All right. And just specifically CPD,
     6       Q What Christmases have you missed?             6   what were the positive interaction before this
     7       A 2019, 2020 -- or 2020, there was none,        7   that you had with them?
     8   and '21. 2022 was the first Christmas that I        8      A Just outside Cubs games, you know,
     9   went back.                                          9   laughing with them, seeing them at parades, you
    10       Q And back where? Where were --                10   know, just downtown, the beaches, everything I
    11       A To my mother's. They have basically          11   did before this.
    12   -- on both sides, actually. My wife's mother's,    12      Q Okay. You've mentioned Mr. Bednarek
    13   they have both sides of her family, and then my    13   identified himself at some point on July 2019 as
    14   mother has both side of our family.                14   a sergeant with the CPD, right?
    15       Q And would that be the same travel            15      A Correct.
    16   situation for other holidays like Thanksgiving     16      Q Do you recall him ever identifying
    17   and things like that?                              17   himself or making it known that he is a special
    18       A Correct.                                     18   process server?
    19       Q Same type of situation with 4th of           19      A I don't recall.
    20   Julys or Memorial Days? Have you refrained from    20              (Whereupon a discussion
    21   going to any parties or gatherings on those        21              was held off the record.)
    22   days?                                              22         THE VIDEOGRAPHER: Let me take this
    23       A Correct.                                     23   time to change the media file.
    24       Q Same time period, basically 2019; not        24         MR. OLSON: Sure.


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     1         THE VIDEOGRAPHER: We have reached the          1      Q And were you taken --
     2   conclusion of Media File No. 2. We are going         2            Do you remember which Police
     3   off the record.                                      3   Department you were taken to? Was it Cook
     4   (Whereupon a recess was taken after which            4   County Sheriff's?
     5              the proceedings resumed                   5      A Maywood.
     6              as follows:)                              6      Q Maywood. All right.
     7         THE VIDEOGRAPHER: The time is 3:49.            7            From what I saw in the document,
     8   This is Media File No. 3. We are continuing the      8   the charges at least were for domestic battery,
     9   deposition of Timothy Ferguson.                      9   right?
    10            Please proceed.                            10      A That appears correct.
    11   BY MR. OLSON:                                       11      Q And it looks like the name of the
    12      Q Mr. Ferguson, I am going to hand you           12   person is Donte?
    13   what has been marked as Exhibit No. 4 for your      13      A Correct.
    14   deposition. For purposes of identification,         14      Q Okay. What was your relationship with
    15   these are Bates stamped Nos. FCRL 1 through 5.      15   Donte?
    16              (Whereupon Deposition                    16      A She's my oldest daughter's mom.
    17              Exhibit No. 4 was marked                 17      Q At the time of the arrest, was it
    18              for identification; said                 18   oldest daughter's mom or was there a
    19              exhibit was tendered to                  19   relationship; you guys were still dating or?
    20              the witness.)                            20      A She -- we -- she is from Arizona. She
    21            Take a second and just thumb               21   came here from Arizona. She had nowhere to go
    22   through it and let me know when you're through      22   so she stayed in the back room of the home.
    23   and ready for questions about it?                   23      Q So she was --
    24      A Okay.                                          24            She came for a visit with the


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     1        Q This is an arrest record pertaining to        1   daughter?
     2    you in a December 7, 2010 arrest in Stickney,       2       A No, no. She was, like, here then and
     3    Illinois. Do you remember that event?               3   we were ultimately separated at that point; and
     4        A I do.                                         4   then she was debating whether she was going back
     5        Q Okay. And that --                             5   to Arizona, as I had, one, custody of our
     6              Did the arrest occur at your home?        6   daughter, and these allegations and stuff were
     7        A It did.                                       7   all dismissed because -- and that's why I have
     8        Q And is this actually your first               8   custody of my daughter, and she's gone and
     9    arrest?                                             9   hasn't been around since.
    10        A Yes, this would be, yes.                     10       Q Got it. That will make the next few
    11        Q I know we're going back about a little       11   questions are a little faster and easier then.
    12    over 12 years here. Do you recall who else         12            Was there, in fact, some sort of
    13    other than yourself and authorities were present   13   battery, touching incident between you and
    14    at that location at the time of the arrest?        14   Donte?
    15        A I don't. I believe it was just me.           15       A There wasn't.
    16        Q Okay. I take it when you were                16       Q What, at least as far as you
    17    arrested you were placed in handcuffs, right?      17   understand, led to police being called? Was it
    18        A Correct.                                     18   Donte was mad at you and made up a false
    19        Q And placed into a police vehicle,            19   allegation, for lack of a better --
    20    true?                                              20       A Correct. She -- it was false
    21        A Correct.                                     21   allegations. She was -- had nowhere to go. She
    22        Q And the taken to a Police Department,        22   was basically being forced to go back to
    23    right?                                             23   Arizona; and this was kind of the start of it.
    24        A I was.                                       24       Q So you have custody of the daughter


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     1   you have with Donte, right?                         1   right after this happened.
     2      A Correct.                                       2       Q Okay. With respect to this particular
     3      Q And is it full custody or does Donte           3   arrest, you mentioned you were taken to the
     4   ever have any sort of visitations, summers,         4   police station. Were you held there overnight,
     5   anything?                                           5   for a few hours, a week, or how long were you
     6      A It's full custody.                             6   there?
     7      Q When was the last time you had any             7       A I believe it was just -- I was -- I
     8   contact with Donte?                                 8   bonded out. I believe it was right away.
     9      A Periodically, I have contact and so            9       Q Okay. And how long did it take to
    10   does my daughter. They are on a -- my daughter     10   bond -- I mean, is that minutes, hours?
    11   doesn't want to have anything to do with her,      11       A A couple hours; yeah, a couple hours.
    12   but I try to convince my daughter -- she is        12       Q Did you have to go to a criminal court
    13   going to be 16 -- that that's her mom, and it      13   in relation to this arrest and enter a plea or
    14   will always be her mom, and maybe at some point    14   anything like that, or did you just --
    15   down the road they could salvage their             15       A I think I showed up to court; and she
    16   relationship.                                      16   didn't show up; and they gave another court
    17      Q Is Donte back in Arizona now?                 17   date; and she didn't show up again; and they
    18      A She is. She's been for 11 years now,          18   just dismissed it.
    19   12 years.                                          19       Q Okay.
    20      Q And do you --                                 20       A I believe was the outcome of that.
    21           What is the contact information you        21       Q What was the courthouse that you went
    22   have for Donte? Do you have her phone number or    22   to? Is that the 26th and California or was
    23   email?                                             23   that --
    24      A She uses, like, a text app or email.          24       A Bridgeview.

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     1   She doesn't have nothing. It's like -- she          1       Q Bridgeview. For purposes of
     2   texts us off of, like, a wi-fi thing.               2   identification, I am going to mark Exhibit 5,
     3   Donte_Cruz@gmail.com.                               3   documents Bates stamped FCRL 6 through 10.
     4       Q And there's a narrative in there, just        4               (Whereupon Deposition
     5   generally speaking, that Donte said she was on      5               Exhibit No. 5 was marked
     6   the phone; you were mad and for some reason         6               for identification; said
     7   slapped the phone, struck her.                      7               exhibit was tendered to
     8             Without going into every single           8               the witness.)
     9   detail there, it's your testimony that this         9         MR. COYNE: I'm sorry. The exhibit you
    10   altercation didn't happen. She was just upset      10   marked, was it 4?
    11   with you and decided to call the police, I         11         MR. OLSON: Yes.
    12   guess, as a revenge act?                           12   BY MR. OLSON:
    13       A Correct.                                     13       Q And like the last time, Mr. Ferguson,
    14       Q Other than this arrest, were there           14   thumb through and let me know when you're ready
    15   any -- I'll call them follow-up activities, like   15   for questioning about it. I don't want to rush
    16   did Donte get a restraining or try to get a        16   you.
    17   restraining order against you or vice versa,       17               (Whereupon the witness
    18   anything like that that you can remember?          18               examines a document.)
    19       A I believe there was one; and then I          19       A Okay.
    20   appeared and ultimately they -- it was removed     20       Q So this particular exhibit is --
    21   because she was going to agree to basically sign   21   refers to an arrest on July 4, 2014 at a
    22   over custody and move back to Arizona. So they     22   residence in Nottingham Park. Do you recall
    23   lifted it. I don't even believe it was active      23   this?
    24   for -- it was a small period of time. I believe    24       A I do.


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     1       Q And that residence, is that somewhere         1   or how it came to be that they showed up there
     2   you lived?                                          2   about the volume?
     3       A It was. It was my home.                       3      A Yes. We had a nosy neighbor a couple
     4       Q Okay. And you own the home?                   4   of houses down that we discovered after a few of
     5       A I do.                                         5   our 4th of July parties.
     6       Q Okay. It's July 4th. I'm taking               6      Q Okay. Do you remember the nosy
     7   there were more than just a couple of people        7   neighbor's name?
     8   present, probably some sort of July 4th party;      8      A I don't.
     9   is that right?                                      9      Q How long were you at the police
    10       A Correct.                                     10   station in relation to this particular arrest?
    11       Q Who in particular do you remember            11   Was it a couple hours?
    12   being present? I'm not going to ask you to give    12      A Two hours. Yeah, I think it cost me
    13   the names.                                         13   100 bucks and that was the end of it.
    14       A I mean, there was a bunch of people.         14               (Whereupon a discussion
    15       Q Okay. And this particular incident,          15               was held off the record.)
    16   like the one we just discussed, were you           16   BY MR. OLSON:
    17   handcuffed, put in a vehicle and taken to the      17      Q Just for purposes of identification,
    18   police station?                                    18   we marked Exhibit 6 for the deposition pages
    19       A I don't believe I was handcuffed. I          19   Bates stamped FCRL 30 through 67.
    20   was -- I agreed to walk with them. I believe he    20               (Whereupon Deposition
    21   said instead of in front of, like, the kids that   21               Exhibit No. 6 was marked
    22   were at the party and stuff like that, he just     22               for identification; said
    23   asked me to walk with him out.                     23               exhibit was tendered to
    24       Q Okay. What happened to the party?            24               the witness.)


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     1   Did everybody disperse? Was somebody in charge      1          MR. LISY: For the record, this was
     2   of the home?                                        2   produced pursuant to the confidentiality order.
     3       A No. My wife was still there. My mom           3   For ease of today, can we just put this on the
     4   and them were still there. It was a 4th of July     4   confidential record; and then we can discuss
     5   party, and everybody kind of stayed.                5   later if you have an objection to that; or at
     6       Q The police station you were taken to,         6   least say the City is going to request that this
     7   was that Bridgeview again?                          7   be put on the confidential record.
     8       A It was Maywood.                               8          MR. OLSON: All right. So you don't
     9       Q Maywood, I mean. Maywood?                     9   want it attached, obviously?
    10       A Maywood.                                     10          MR. LISY: You can attach it. We'll
    11       Q Okay. Generally speaking, the                11   attach it to the confidential record.
    12   narrative states that you were arrested for        12          MR. OLSON: All right.
    13   refusing to turn down music after being warned     13          MR. LISY: And if you're going to ask
    14   or instructed or requested several times.          14   questions about it, and then once we move on we
    15            Were you instructed or asked at           15   will go off the confidential record.
    16   least a couple of times before actually being      16          MR. OLSON: Okay, all right. Ready to
    17   arrested?                                          17   proceed then?
    18       A I don't recall. I don't believe it           18          MR. LISY: Good, unless there is an
    19   was me, but I was the homeowner, so...             19   objection from somebody else.
    20       Q Okay. How big was the party? I mean,         20          MR. COYNE: No, there is none.
    21   are you talking like 20 people, 50 people?         21          THE VIDEOGRAPHER: Can we pause for a
    22       A I mean, we're talking probably 100           22   moment? We're going to go off the record.
    23   people-plus.                                       23               (Whereupon a recess was
    24       Q Okay. Any idea who contacted police          24               taken after which the


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     1              proceedings resumed as           1   BY MR. OLSON:
     2              follows:)                        2      Q On May 9, 2019, as we have seen you
     3                                               3   have talked about, you told Reyna not to open
     4                                               4   the door, not to accept the paper Mr. Bednarek
     5                                               5   was trying to hand her and things of that
     6                                               6   nature, correct?
     7                                               7      A Correct.
     8                                               8      Q And why did you not want Reyna to
     9                                               9   accept that document?
    10                                              10      A I had no idea who he was. I had no
    11                                              11   idea if, you know, he would identify as working
    12                                              12   on behalf the estate or who he was, what he was
    13                                              13   about. I mean, somebody just randomly knocking
    14                                              14   on your door.
    15                                              15            I don't even believe in the video
    16                                              16   we watched he identified himself as his name,
    17                                              17   his position, his title and what he was there
    18                                              18   for outside of, "I'm giving you this 5-day
    19                                              19   notice."
    20                                              20      Q You served similar notices?
    21                                              21      A I have.
    22                                              22      Q And when you serve them, do you
    23                                              23   identify yourself, who you are, what you're
    24                                              24   doing, give everybody your name, or did you just


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     1                                               1   give it to them?
     2        THE VIDEOGRAPHER: The time is 4:02.    2      A They would -- I don't just because
     3   We are going back on the record.            3   they -- I mean, I'm around the properties all
     4          CONFIDENTIAL RECORD BEGINS           4   the time so they know who I am versus, again, if
     5          CONTAINING PAGES 291 to 296          5   Vicky thought she had the ability to do it, I
     6          IN A SEPARATE TRANSCRIPT.            6   would have known it was her and what she was
     7                                               7   doing.
     8                                               8      Q Are you aware of any rule, regulation,
     9                                               9   law or anything that requires a special process
    10                                              10   server to provide their name, why they're there,
    11                                              11   what is going on or anything in addition to what
    12                                              12   you wanted Mr. Bednarek to do?
    13                                              13      A No.
    14                                              14      Q Did you have any suspicion that Mr.
    15                                              15   Bednarek was there in May 2019 because of the
    16                                              16   property dispute that had been ongoing between
    17                                              17   your aunt, brother and uncle -- I'm sorry --
    18                                              18   your aunt, father and uncle?
    19                                              19      A I did not.
    20                                              20      Q Would it be fair to say that on May
    21                                              21   2019 you felt Mr. Bednarek was aggressive in
    22                                              22   some way?
    23                                              23      A Absolutely.
    24                                              24      Q He did not physically contact or hit


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     1   you though, correct?                                 1   that are probably starting to sound familiar to
     2      A Correct.                                        2   you now. You have had a chance to go through
     3      Q Did he take a kind of menacing                  3   this document; is that correct?
     4   approach to you, run at you, lunge at you,           4       A Correct.
     5   anything like that?                                  5       Q And you had a chance to go over these
     6      A Outside of the aggressive tone, no.             6   answers with your counsel before the document
     7      Q Okay. So it was the tone of voice               7   was finalized and created, correct?
     8   that communicated the aggression to you; is that     8       A Correct.
     9   right?                                               9       Q And are the answers in this document
    10      A Correct.                                       10   true and correct to the best of your knowledge
    11      Q Just as a general statement, would you         11   as you sit here today?
    12   agree that you don't have the authority to          12       A To the best of my knowledge, correct.
    13   interfere or block any court ordered activities,    13       Q Okay. Give me a moment. I'm skipping
    14   correct?                                            14   ahead in my outline here because I had a lot of
    15      A Correct.                                       15   questions about the people on there, but Mr.
    16      Q Have you ever seen any document,               16   Lisy has already gone over it all. So I'll save
    17   meaning a title, a deed or some sort official       17   a little time there.
    18   document stating who owned this property at any     18              All right. Can you jump to -- it's
    19   time after your grandmother's death?                19   Page 2, Interrogatory No. 5. It asks you names
    20      A I did not.                                     20   and addresses of persons who has knowledge of
    21      Q With respect to your grandmother's             21   the facts in the complaint, so on and so forth.
    22   will, have you ever read it?                        22       A Correct.
    23      A I did not.                                     23       Q And you listed Jerry Porzemsky, PhD,
    24      Q You mentioned earlier that you chose           24   and the address as indicated, right?


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     1    not to pursue any complaint in relation to this     1       A Correct.
     2    May 9, 2019 incident, and you made that choice      2       Q Who is Jerry Porzemsky?
     3    before the July 12, 2019 incident, correct?         3       A It goes kind of along the lines of
     4        A I don't recall.                               4   talking on the phone, trying to get into a
     5       Q Okay. Had the July 2019 incident not           5   counselor, therapist, psychiatrist, psychologist
     6    occurred, would it be fair to say that you would    6   type thing, and did a phone interview, but
     7    not have pursued this court case or any types of    7   ultimately the insurance at my prior company did
     8    complaints against any of the defendants            8   not accept -- they didn't pay for that; and it
     9    involved in this case?                              9   was $175, I believe, an hour; and unfortunately,
    10        A Correct.                                     10   I had to cut it off right there.
    11       Q Now, let's mark those interrogatory           11       Q You say "right there." After one
    12    answers I asked you to review.                     12   initial conversation?
    13            So Exhibit 7 are the answers to            13       A We basically started to discuss; he
    14    interrogatories propounded by D-Bats -- and I'm    14   said okay; then he took some insurance
    15    looking for my copy -- and Mr. Bednarek.           15   information; and then got back to me and said
    16               (Whereupon Deposition                   16   that, you know, ultimately the insurance
    17               Exhibit No. 7 was marked                17   declined everything; and so if I wanted to
    18               for identification; said                18   continue it would be $175 or so an hour for the
    19               exhibit was tendered to                 19   hour, but unfortunately I couldn't do it.
    20               the witness.)                           20       Q Okay. Would you say yes or no to
    21            Do you have that document in front         21   whether -- did Mr. Porzemsky ever provide you
    22    of you, sir?                                       22   with treatment or counseling of any sort?
    23        A I do.                                        23       A Yes and no. Yes, I was able to kind
    24       Q Okay. I still have a couple questions         24   of start -- he was more or less the first person


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     1   that I was able to kind of discuss things with,     1   beginning, that was the night of the July 12,
     2   get a couple things off my chest. Obviously I       2   2019 incident; is that right?
     3   had a lot more to discuss; but no, because I        3       A That's when basically everything kind
     4   didn't get any result from it.                      4   of started falling in my lap, as I like to call
     5       Q All right. And if we flip -- just             5   it.
     6   flip the pages, Interrogatory No. 7. It's got       6       Q And prior to July 12, 2019, how would
     7   subparagraphs A through F. Looking at your          7   you describe your relationship with your wife,
     8   answer, kind of almost all the way at the end,      8   let's say in the last 6 to 12 months before
     9   again we see Dr. Porzemsky's name there. Do you     9   that?
    10   see where I'm looking?                             10       A I would say good. I would say, you
    11       A Uh-huh.                                      11   know, we had a lot going for us. We were in a
    12       Q It indicates that treatment was              12   good spot. Everybody has their kind of hiccups
    13   approximately April or May 2020; is that right?    13   along the way, but there was no major problems.
    14       A That's right.                                14       Q So it was going along good for at
    15       Q So Dr. Porzemsky was the first person        15   least about 6 to 12 months before July 12, 2019;
    16   you talked to in terms of treatment, correct?      16   and after that incident she kind of gave you an
    17       A Correct.                                     17   ultimatum like, you know, leave the house or I'm
    18       Q And that was, I guess, give or take a        18   out of here; is that right?
    19   year after the May 2019 incident and about ten     19       A Correct.
    20   months or so after the July 2019 incident,         20       Q I'm looking at Interrogatory No. 9;
    21   right?                                             21   and the answer there talks about inability to
    22       A Correct.                                     22   work. And the name and address of the employer
    23       Q And how many --                              23   is Warrior Invictus. Who or what is Warrior
    24            Did you ever meet Dr. Porzemsky           24   Invictus?


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     1   face to face for any type of therapy or             1       A That's the holdings company. It's for
     2   counseling?                                         2   First Chicago Insurance.
     3      A Never.                                         3       Q Okay.
     4      Q Okay. It was just on the phone?                4       A That was who -- it's, like, their
     5      A Correct.                                       5   holding company.
     6      Q And how many phone conversations or            6       Q Okay. So that's the same employer you
     7   communications did you have with Dr. Porzemsky      7   have had for a long time, right?
     8   that you would consider treatment? I don't mean     8       A From 2007-ish, I believe, so yes,
     9   like the last call where he said "hey, this         9   basically. Yes, prior to this last two years,
    10   doesn't work; you got to pay out of pocket?"       10   it was my prior long-term employer.
    11      A All in the same day. One time. That           11       Q And are you salaried or hourly?
    12   was it.                                            12       A Salary.
    13      Q How did it come to be that you got in         13       Q It says you had to miss multiple days
    14   touch with Dr. Porzemsky? Like, did a friend       14   off of work.
    15   recommend him?                                     15            As you sit here now, because there
    16      A I was actively trying to find a               16   is no indication of how many days, how many days
    17   different -- you know, during the pandemic, I      17   did you miss or about how many days? Are we
    18   wasn't able to get anybody who had availability;   18   talking two to three, 20 to 30?
    19   and he was one that had some availability to do    19       A I would say probably roughly two to
    20   over the phone only; no in-person.                 20   three weeks in total; not consecutive, you know,
    21      Q All right. You have told us about the         21   multiple days here or there, the inability to
    22   effects of the sort of combination --              22   want to go to work, want to even get up, want to
    23            Well, let me strike that.                 23   do anything. So in total I would say, you know,
    24            In terms of marital problems              24   three weeks-ish combined a good number.


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     1       Q Okay. So from July 12, 2019 until             1   Tyler, Gene, Sharon or all three?
     2   when we sit here today, you would estimate the      2      A Gene.
     3   amount of time you missed from work on account      3      Q Okay. Do the psychological effects
     4   of this accident and not being sick, you know,      4   that you told us about, the anxiety and other
     5   physical ailment, to be about two to three          5   effects, do they manifest physically in any way,
     6   weeks?                                              6   like do you shake, do you sweat, do you pass
     7       A Correct.                                      7   out, you know, anything physically happen?
     8       Q And who is your current supervisor?           8      A Yes. The first time I ever had one, I
     9   Who do you report to?                               9   had no idea what it was; and I was driving; and
    10       A Her name is Sharon.                          10   I kind of started to pass out, sweating. I felt
    11       Q Sharon. And what is her last name?           11   like I wasn't able to function. I had to pull
    12       A Harmillo. Harmillo, H-a-r, I believe,        12   over into the Walmart parking lot and kind of
    13   m-i-l-l-o.                                         13   stay there and call.
    14       Q And was Sharon your supervisor back in       14            I called my wife and I kind of
    15   July of 2019?                                      15   started to get some fresh air. It was cold
    16       A She was not, no.                             16   outside, so I was able to roll down the window,
    17       Q Okay. Back in July of 2019, who was          17   get some fresh air; and ultimately, they came
    18   your supervisor?                                   18   and by then I felt like I was better and kind of
    19       A Tyler Steffens and Gene Donchez.             19   in control of myself.
    20   Tyler Steffens, S-t-e-f-f-e-n-s, I believe it      20      Q You mentioned one of the issues that
    21   is; and Gene Donchez, D-o-n-c-h-e-z.               21   came up after this was high blood pressure,
    22       Q Are Tyler or Gene still with that same       22   right?
    23   employer?                                          23      A Correct.
    24       A I believe they both are, yes.                24      Q Did you ever take any medications for


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     1       Q Okay. Have you had any problems at            1   high blood pressure?
     2   work that you attribute to the effects of this      2      A I did.
     3   incident? Let me be more specific. By               3      Q And what medication was that?
     4   problems, you know, fights or arguments with        4      A I have no idea the name of it, to be
     5   coworkers that you wouldn't have had in the past    5   honest with you.
     6   before July 12, 2019?                               6      Q Do you still take it?
     7       A Specifically fights and stuff, no, but        7      A I don't.
     8   the inability to produce work at a high rate        8      Q About, give or take, how long did you
     9   like I used to went down, you know, being at        9   take it?
    10   work all the time went down. So it did affect      10      A I took it for about a year maybe;
    11   my work and job itself.                            11   about a year.
    12       Q Did you get reprimanded or disciplined       12      Q And would that year be 2019, 2020,
    13   at work for any shortcomings or drop in            13   2021?
    14   production since July 12, 2019?                    14      A I would say 2020-ish to 2021,
    15       A I guess maybe it reflected in my             15   2022-ish. Maybe like a year and a half or so.
    16   annual raises.                                     16      Q And was that a prescribed by Dr.
    17       Q Did any of your supervisors tell you         17   Guzman?
    18   hey, you know, you would be getting more but,      18      A It was.
    19   you know, you're missing too much time or your     19      Q And where did you get that
    20   work product has dropped? Did any supervisors      20   prescription from?
    21   tell you that?                                     21      A In his office.
    22       A Yes, I mean, ultimately that is what         22      Q Did you do anything else after being
    23   they, you know, attribute a percentage to.         23   told of the high blood pressure, like change
    24       Q And which supervisors told you that,         24   your diet, start exercising more, lifestyle


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     1   changes, things like.                               1   far as you know, unable or unwilling to act as a
     2       A Just kind of was aware of things that         2   personal representative?
     3   could decrease the blood pressure, you know,        3       A I believe there is history of, like,
     4   trying to not stress, trying to not have high       4   the taxes owed on the property she was to pay or
     5   anxiety, trying to kind of breathe and did some     5   -- and wasn't paying them, the maintenance on
     6   breathing exercises and stuff like that, eating     6   the property. That's kind of my knowledge of it
     7   right, trying to change the diet.                   7   or what was told to me in a sense.
     8       Q In terms of diet change, what did you         8       Q And those are the things that your
     9   cut out of or what did you add in? What kind        9   father did do, the taxes and the maintenance and
    10   of --                                              10   things of that nature, right?
    11       A Like the fried foods and stuff. You          11       A Correct.
    12   know, I wanted to be sure I did everything I       12       Q In terms of renting that property to
    13   could to, you know, kind of identify the problem   13   Shaun, we know you talked to your dad about it.
    14   itself.                                            14   Did you ever talk with your Aunt Vicky about it?
    15       Q All right.                                   15       A No.
    16       A Me taking my diet seriously and stuff        16       Q To the best of your knowledge, did
    17   allowed me to kind of pinpoint.                    17   your dad ever talk to your Aunt Vicky about it?
    18       Q Were you ever at work and, like, had         18       A Not that I know of.
    19   to leave, you know, after a half day or a few      19       Q How long had that property been vacant
    20   hours because a panic attack came on or anything   20   before Shaun moved in? Are we talking years,
    21   like that and just say hey, I got to leave         21   just a couple months?
    22   today?                                             22       A Yes, I would say years, a couple
    23       A Yes, several times.                          23   years. I believe, 2016 -- '15, '16 is when my
    24       Q When was the last time that happened?        24   uncle died. I don't know the exact time, but


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     1       A I don't even know, to be honest with          1   yes, I would say a couple years.
     2   you.                                                2       Q And from what it sounds like, you
     3       Q Would you say it's within the last six        3   haven't talked to Reyna in a long time; is that
     4   months?                                             4   right?
     5       A More recent. Yes, I would say                 5       A Correct.
     6   probably 6 to 12 months.                            6       Q In the complaint at least, you allege
     7       Q And you told me already that you              7   that Reyna was traumatized by what happened.
     8   didn't read your grandmother's will. So would       8   What is the basis of saying Reyna was
     9   it be fair to say that your understanding of        9   traumatized?
    10   what she left or what she wanted done with her     10       A I mean, you can see it in the video
    11   property would all be secondhand; meaning, like,   11   when she comes out. She's crying; she upset;
    12   your father told you or someone told you what      12   she's yelling. Just me kind of talking to her
    13   was in there?                                      13   about calling the police and telling them what
    14       A Correct.                                     14   happened. You can just see the, you know,
    15       Q In the complaint, it is alleged that         15   inevitable on her face that she was scared.
    16   Ida appointed Vicky Gow, your aunt, as personal    16            She was traumatized is how I put it
    17   representative of the estate. Do you recall        17   based on what I saw; and ultimately just her
    18   that?                                              18   kind of not understanding. Again, she was just
    19       A Yes, it was my understanding.                19   a girlfriend of Shaun; and she had no idea that
    20       Q And you alleged that Vicky was               20   these kinds of things were going on. So she
    21   unwilling and unable to act as a personal          21   probably had no, you know, knowledge of
    22   representative. Do you recall that allegation?     22   anything. And so, like I said, you could just
    23       A Correct.                                     23   tell.
    24       Q And what was it that made Vicky, as          24       Q All right. To the best of your


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     1   knowledge, did Reyna get any psychological          1   accused or was alleged at one time that he
     2   treatment, any type of medical treatment in         2   failed or intentionally failed to secure medical
     3   relation to this, if you know?                      3   attention for someone. Do you recall that?
     4       A I don't know.                                 4       A Correct.
     5       Q You alleged in relation to the May 9,         5       Q And in your opinion, what connection,
     6   2019 incident that Mr. Bednarek falsely advised     6   if any, does that incident have with what
     7   that he was a process server.                       7   happened with you?
     8            As you sit here today, do you have         8       A Just shows the pattern.
     9   any understanding as to whether or not he was a     9       Q I take it that you never interviewed,
    10   special process server in May of 2019?             10   talked to or tried to talk to anyone involved
    11       A Are you asking me if I know today if         11   with any prior incident that you found regarding
    12   he was or wasn't?                                  12   Mr. Bednarek; is that correct?
    13       Q Yes.                                         13       A Correct.
    14       A I know now today that apparently he          14       Q In May of 2019, the Cook County
    15   is.                                                15   Sheriff's Office responded, right?
    16       Q Okay. And in May of 2019, to the best        16       A Correct.
    17   of your knowledge based on what you know, was he   17       Q And at that incident, you were not
    18   a special process server when he came to the       18   handcuffed; is that correct?
    19   property that day?                                 19       A Correct.
    20       A If you're asking me that day, I did          20       Q I know you have been shown excerpts of
    21   not know, no.                                      21   videos here today; and I think you said you have
    22       Q On that day, you didn't know?                22   watched them all in their entire duration, but
    23       A Correct. And by his 5-day notice, I          23   it has been, what, a year or a couple years?
    24   would have never guessed.                          24       A A few years, correct.

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     1      Q But today you know that he was a               1       Q In terms of managing the property that
     2   special process server in May of 2019, correct?     2   you were doing for your father, were you
     3      A As a job today, yes, I do know.                3   compensated for that in any way?
     4      Q Okay. After the --                             4       A No.
     5            Let me strike?                             5       Q By the time the first Cook County
     6            Well, when is the first time you           6   Sheriff arrived in May 2019 -- it doesn't matter
     7   looked into Mr. Bednarek's background as you        7   to me which one it was or which one we think it
     8   have described? Was it after the May 2019           8   was -- would it be fair to say that it was
     9   incident or after the July 2019 incident?           9   already a heated or tense situation between
    10      A The May incident.                             10   yourself, Mr. Bednarek based on what had
    11      Q Is that the first time you ever looked        11   happened with Mr. Shinstine and what was going
    12   into any officer's background or disciplinary      12   on?
    13   record?                                            13       A I think maybe you got the dates mixed
    14      A Correct.                                      14   up because the May 9th -- the May of 2019 only
    15      Q And that was all stuff you did or             15   -- Reyna called the Cook County Sheriff's Office
    16   found on-line correct?                             16   and only one officer arrived, and Mr. Shinstine
    17      A Correct.                                      17   was not present.
    18      Q Okay. And in terms of what you found          18       Q You're correct. Thank you for that.
    19   on Mr. Bednarek's record or background, did you    19   I did transpose the dates here. So let me clean
    20   print or otherwise save anything you found         20   that question up.
    21   on-line?                                           21             The July 12, 2019 incident, would
    22      A I don't believe so.                           22   it be fair to say that it was already a heated
    23      Q According to the complaint, one of the        23   or tense situation when the Cook County Sheriffs
    24   things you found was Mr. Bednarek was at least     24   -- when the first one arrived at the scene?


                                                                       79 (Pages 315 to 318)
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     1       A No.                                          1   correct.
     2       Q As of that date, you were aware that         2      Q You would agree that sometimes people
     3   Mr. Bednarek was a police officer, a Chicago       3   make those types of stories up because it
     4   Police officer, right?                             4   actually happened to you, right?
     5       A Correct.                                     5      A Correct.
     6       Q And as of July 12, 2019, were you            6      Q I have handed you what has been marked
     7   aware by that time that he also had a job as a     7   as Exhibit 8.
     8   special process server?                            8              (Whereupon Deposition
     9       A Correct.                                     9              Exhibit No. 8 was marked
    10       Q Do you know where Reyna was at during       10              for identification; said
    11   the July 12, 2019 incident?                       11              exhibit was tendered to
    12       A I believe they were no longer -- like       12              the witness.)
    13   I said, she was kind of here and there, but I     13           I apologize for the legibility
    14   believe they were no longer together.             14   issues.
    15       Q All right. To your understanding, on        15         MR. LISY: I got a copy for you if you
    16   July 12, 2019, an eviction notice was served,     16   want.
    17   correct?                                          17              (Whereupon a discussion
    18       A To my knowledge.                            18              was held off the record.)
    19       Q Okay. Do you challenge the validity         19   BY MR. LISY:
    20   of that eviction notice in any way?               20      Q Mr. Ferguson, you have been handed
    21       A For the July one or the May one?            21   what has been marked as Exhibit 8 for your
    22       Q The July.                                   22   deposition. Do you see, like, a court stamp on
    23       A No. I never saw it. I can't comment         23   there indicating June 29, 2018?
    24   on it.                                            24      A I do.

                                                   320                                                    322
     1       Q Okay. One of the parts in your               1      Q Okay. Have you ever seen this order
     2   complaint goes over a November 2017 incident       2   before today, Mr. Ferguson?
     3   that involved or concerned Mr. Bednarek and his    3      A I have not.
     4   wife at that time. Do you recall that?             4      Q Generally speaking, the document
     5       A I do.                                        5   indicates that Vicky Gow was appointed executor
     6       Q Is that also information you found           6   of your grandmother's estate, correct?
     7   on-line?                                           7      A I can't read what it says. It looks
     8       A It is.                                       8   like "executor" is crossed out and some other
     9       Q And generally speaking, the incident         9   words are accompanied by it. I'm not sure what
    10   is an accusation that Mr. Bednarek struck or      10   those two that she was appointed, but it looks
    11   battered his wife somehow, right?                 11   like independent executor has been crossed out.
    12       A Correct.                                    12      Q Okay. So it says: Independent
    13       Q Okay. You -- obviously you weren't          13   special administrator? Are you able to make it
    14   there when any interaction occurred between       14   out after I say that or you're still not sure?
    15   them, right?                                      15      A Special administrator, no, I wouldn't
    16       A Correct.                                    16   say that's what it says, but.
    17       Q And you never spoke to his wife or          17      Q Okay.
    18   followed up with her in any regard, true?         18      A It looks like S-o-p-a-r.
    19       A True.                                       19      Q In any event, do you see your father's
    20       Q So it would be fair to say you don't        20   name on that order anywhere?
    21   know one way or the other the truth or falsity    21      A I do not.
    22   of any type of allegation of him beating or       22      Q And it being June 2018, this order was
    23   striking his wife?                                23   entered a little under a year before the May
    24       A Outside of the reports that I read,         24   2019 incident and a little over a year before


                                                                      80 (Pages 319 to 322)
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     1    the July 2019 incident, right?                     1       Q Now, all this discussion about
     2        A Yes, that's correct.                         2   trespassing. And I heard you say when the
     3        Q Do you recall having any conversation        3   police arrived you were not in the driveway; is
     4    with your father about who was appointed           4   that right?
     5    administrator or special administrator or          5       A Correct.
     6    executor or anything along those lines?            6       Q When the police arrived, you were not
     7        A I do not.                                    7   on the porch; is that right?
     8          MR. OLSON: Those are all the follow-up       8       A Correct.
     9    questions I have. I don't know if counsels have    9       Q You were on a public sidewalk; is that
    10    anything to go.                                   10   right?
    11          MR. LISY: I have nothing based on           11       A Correct.
    12    that.                                             12       Q And so you indicated that you had been
    13          MR. COYNE: Nothing further.                 13   on the property earlier. Was Vicky Gow there to
    14          MR. BRINDLEY: Tim, I'm going to ask         14   see you when you were actually on the property?
    15    you a handful of questions. I will be quick.      15       A No.
    16    As a criminal practitioner I'm not used to as     16       Q And when the police officers arrived,
    17    much detail.                                      17   did you refuse to leave after they got there?
    18                  EXAMINATION                         18       A No.
    19    BY MR. BRINDLEY:                                  19       Q Standing on the sidewalk, you never
    20        Q So a couple of questions I am going to      20   refused to leave, did you?
    21    have. There was discussion about your uncle       21       A I did not.
    22    living in the residence in question. Now the      22       Q Were you given the opportunity to
    23    uncle, is it fair to say he was very disabled?    23   leave?
    24        A Very much so.                               24       A No.

                                                    324                                                     326
     1      Q Did he require constant care?                  1       Q Now, the --
     2      A 24/7.                                          2           Who was giving the directions about
     3      Q Nursing care in his home?                      3   arresting you that night?
     4      A Absolutely.                                    4       A Mr. Richard Bednarek.
     5      Q Okay. And do you know who it was that          5       Q Okay.
     6   paid for and provided every bit of care for your    6       A It was a lawful order to leave was
     7   uncle when he lived in that home?                   7   what he called it.
     8      A My father, Terry Ferguson.                     8         MR. OLSON: I'm sorry. I didn't hear
     9      Q And do you know -- and I think the             9   your answer.
    10   answer is -- let me put it to you this way:        10         THE WITNESS: He said he was giving me
    11            You don't know what agreements the        11   a lawful order to leave the property.
    12   there were between Terry and his mom and Vicky     12   BY MR. BRINDLEY:
    13   Gow about the impact of what Terry did             13       Q And so he was ordering you to leave
    14   financially to care for his disabled brother?      14   and then when you were -- and when he was giving
    15      A I don't.                                      15   you that order, where were you standing? On the
    16      Q Okay. Now, you were given a document          16   property or on the sidewalk?
    17   a minute ago about a -- some kind of executor      17       A On the sidewalk.
    18   that's crossed out. Whatever it is, do you have    18       Q Okay. Do you have any familiarity
    19   any information of what the limits of this order   19   with Richard Bednarek's special authority to
    20   might have been?                                   20   oust people from public sidewalks in Chicago, do
    21      A I don't.                                      21   you?
    22      Q Or any agreements between the -- your         22       A No.
    23   father and Vicky Gow that related to this?         23       Q Okay. Now, when --
    24      A I don't.                                      24           There was some discussion about


                                                                       81 (Pages 323 to 326)
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     1    Barloga telling Bednarek you don't have the         1      Q Now, with all this discussion, were
     2    authority to do this or some comment to that        2   the officers, the ones that put you in
     3    effect. And when Bednarek said, "I'm just           3   handcuffs? Did you watch the video where you
     4    trying to scare him," did any officer then          4   were handcuffed?
     5    immediately try to take steps to intervene and      5      A I did.
     6    get you out of that car?                            6      Q Did Mr. Bednarek have his hands on
     7           MR. COYNE: Objection; form;                  7   your arms during the time when you were
     8    foundation.                                         8   handcuffed?
     9    BY MR. BRINDLEY:                                    9      A He did.
    10         Q Did any officer --                          10      Q Okay. And was Mr. Bednarek yelling at
    11           MR. OLSON: I didn't hear the answer.        11   you during the time when he had his hands on
    12           MR. BRINDLEY: He didn't answer yet.         12   your arms as you were being handcuffed by
    13    I'll rephrase the question to make it easier.      13   another officer?
    14    BY MR. BRINDLEY:                                   14      A He was.
    15         Q What, if any, officer took any steps        15      Q And did Officer Barloga or anybody
    16    to intervene and try to get you out of that car    16   else -- I don't know if he was even on the scene
    17    that you observed?                                 17   yet, Barloga.
    18         A None.                                       18             Let me ask you this way:
    19         Q Were you left in the car after he said      19             Did any officer tell him to back
    20    "I'm just trying to scare him?"                    20   away from you?
    21         A I was.                                      21      A No.
    22         Q Okay. And as a --                           22      Q Did any other officer tell him to
    23             As far as you understand it, Mr.          23   knock it off?
    24    Ferguson, are police officers allowed to hold      24      A No.

                                                     328                                                     330
     1    people in custody or frighten them at the           1       Q Did any other officer tell him: Hey,
     2    direction of off-duty cops?                         2   you're not allowed to put your hands on somebody
     3           MR. OLSON: Form and foundation.              3   when we're putting them under arrest?
     4           MR. LISY: Join.                              4       A No.
     5    BY MR. BRINDLEY:                                    5       Q Okay. And you said that you were
     6        Q Let me ask you a question. You have           6   sitting in the car and Bednarek came and opened
     7    been asked a whole lot of questions about your      7   up the Sheriff's car door, right?
     8    opinions about all kinds of stuff today. So         8       A Correct.
     9    let's get down to this.                             9       Q So you were in a police vehicle; and
    10              Okay. In your experience, had you        10   this guy, Bednarek, is permitted to open the
    11    ever heard of a situation in which police          11   door?
    12    officers were permitted to hold people in          12          MR. OLSON: Objection; form.
    13    custody just to scare them?                        13   BY MR. BRINDLEY:
    14        A No.                                          14       Q Let me ask you, did he open the door?
    15        Q And certainly, have you ever heard of        15       A He did.
    16    a situation where police officers were permitted   16       Q Were the other officers around at the
    17    to hold people in custody to scare them at the     17   time?
    18    direction of an off-duty cop?                      18       A They were.
    19           MR. COYNE: Objection; form;                 19       Q Did you see anyone intervene to try to
    20    foundation; speculation --                         20   suggest that no off-duty person, citizen,
    21           THE WITNESS: No.                            21   process server should be allowed to bring open
    22           MR. COYNE: -- incomplete hypothetical.      22   the door to a police vehicle that's got somebody
    23           MR. BRINDLEY: His answer was no.            23   handcuffed inside?
    24    BY MR. BRINDLEY:                                   24       A No.


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     1        Q Okay. And when Officer Barloga told          1   Reporters. We are going off the record.
     2    Mr. Bednarek, "you can't do this," do you have     2       AND FURTHER DEPONENT SAYETH NAUGHT
     3    any reason for thinking -- anything you heard      3
     4    that day give you a reason for thinking that       4
     5    either of the other officer had any reason to      5
     6    disbelieve Barloga?                                6
     7           MR. COYNE: Objection; form;                 7
     8    foundation.                                        8
     9           THE WITNESS: No.                            9
    10           MR. BRINDLEY: The answer was no.           10
    11    BY MR. BRINDLEY:                                  11
    12        Q You said that Bednarek told the             12
    13    officer that he was just trying to scare you.     13
    14    Is it fair to say that he succeeded?              14
    15        A He did.                                     15
    16        Q Is that why you brought this lawsuit        16
    17    because of the consequences of his decision to    17
    18    say he was going to scare you that night?         18
    19        A Absolutely.                                 19
    20        Q And the other officers were there when      20
    21    he uttered those words: I'm just trying to        21
    22    scare him so I can get somebody or another --     22
    23    the tenant to come, did anyone take any step      23
    24    that you observed to help you, these other        24


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     1   officers?                                           1   STATE OF ILLINOIS )
     2       A No.                                           2             )
     3       Q Did you hear any of them tell him that        3   COUNTY OF COOK      )
     4   he was out of line or he was wrong?                 4
     5       A No.                                           5
     6       Q Outside of when Officer Barloga told          6             I, Izetta White-McGee, a Notary
     7   him you don't have the authority to do this or      7   Public and Certified Shorthand Reporter within
     8   something to that effect; am I right?               8   and for the County of Cook and State of
     9       A Correct.                                      9   Illinois, do hereby certify that heretofore, to
    10         MR. BRINDLEY: That's all. Thank you.         10   wit: on March 27, 2023, appeared before me
    11         MR. COYNE: I don't have anything             11   Timothy Ferguson, Plaintiff in the
    12   further.                                           12   above-captioned matter, which cause is now
    13         MR. LISY: I don't have anything              13   pending and undetermined in the above-captioned
    14   further. No questions. With that, your             14   court.
    15   deposition is concluded.                           15             I further certify that the said
    16            Are you waiving or reserving              16   witness was by me first duly sworn to testify to
    17   signature.                                         17   the truth, the whole truth and nothing but the
    18         MR. BRINDLEY: We'll waive.                   18   truth in the cause aforesaid; that the testimony
    19         MR. LISY: Signature has been waived.         19   then given by the witness was reported
    20         THE VIDEOGRAPHER: All right. The time        20   stenographically by me in the presence of the
    21   is 4:50. We have reached the conclusion of the     21   witness and afterwards reduced to writing and
    22   deposition of Timothy Ferguson. The deposition     22   the foregoing deposition is a true and correct
    23   took place on three media files. Custody of the    23   transcription of my shorthand notes so taken as
    24   original video record will remain with DCM Court   24   aforesaid.


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     1            The signature of the witness to the
     2   foregoing deposition was waived.
     3            I further certify that this
     4   deposition was taken pursuant to notice and that
     5   there were present at the taking of the
     6   deposition the appearance as heretofore noted.
     7            I further certify that I am not
     8   counsel for nor in any way related to any of the
     9   parties to this lawsuit, nor am I in any way
    10   interested in the outcome thereof.
    11            IN WITNESS WHEREOF, I have hereunto
    12   set my hand this date, April 3, 2023.
    13
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     1            ***********************
     2            I, Izetta White-McGee, certified
     3   legal videographer and Notary Public, do hereby
     4   certify that the above-captioned deposition was
     5   videotaped by me. That said video deposition
     6   took place on March 27, 2023; said video
     7   deposition began at 10:15 a.m.; and concluded at
     8   4:50 p.m. total run time was 6 hours and 35
     9   minutes.
    10            Said videotape is a true and
    11   accurate record of the deposition so taken.
    12            I further certify that I am not
    13   counsel for nor in any way related to any of the
    14   parties to this lawsuit, nor am I in any way
    15   interested in the outcome thereof.
    16            The original audio-visual record
    17   will remain with DCM Court Reporting, Inc.
    18            IN WITNESS WHEREOF, I have hereunto
    19   set my hand this date, April 3, 2023.
    20
    21            ---------------------------
    22            Izetta White-McGee, CSR, CCVS
    23            Certified Shorthand Reporter
    24            No. 084-003958


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